Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 1 of 178




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION

    UNITED STATES OF AMERICA,               Case No. 23-80101-CR
                                            CANNON/REINHART
    vs.

    DONALD J. TRUMP,
    WALTINE NAUTA, and
    CARLOS DE OLIVEIRA,

                Defendants.
    _____________________________________




          PRESIDENT TRUMP’S MOTION TO DISMISS THE INDICTMENT BASED ON
                     SELECTIVE AND VINDICTIVE PROSECUTION
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 2 of 178




                                                          TABLE OF CONTENTS

   INTRODUCTION ...........................................................................................................................1
   DISCUSSION ..................................................................................................................................1
      I.         Relevant Facts ..................................................................................................................... 1
            A.      President Joseph Biden ................................................................................................... 2
            B.      Former Vice President Mike Pence ................................................................................ 5
            C.      Former President Bill Clinton ......................................................................................... 6
            D.      Hillary Clinton ................................................................................................................ 7
            E.      James Comey ................................................................................................................ 10
            F.      General David Petraeus................................................................................................. 11
            G.      Samuel “Sandy” Berger ................................................................................................ 12
            H.      John Deutch .................................................................................................................. 12
            I.      Deborah Birx ................................................................................................................. 13
      II.        Applicable Law ................................................................................................................. 13
            A.      Selective Prosecution .................................................................................................... 13
            B.      Vindictive Prosecution .................................................................................................. 14
      III.          Discussion ..................................................................................................................... 15
            A.      Impermissible Bias And Animus .................................................................................. 16
            B.      Similarly Situated Cases Support Defendants’ Motion ................................................ 19
   CONCLUSION ..............................................................................................................................24




                                                                             i
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 3 of 178




                                           INTRODUCTION

            President Donald J. Trump respectfully submits that the Indictment must be dismissed on

   the basis of the Office’s selective and vindictive prosecution.1 “With one exception, there is no

   record of the Department of Justice prosecuting a former president or vice president for

   mishandling classified documents from his own administration.” Hur Report at 10-11.2 The

   exception is President Trump. The basis is his politics and status as President Biden’s chief

   political rival. Thus, this case reflects the type of selective and vindictive prosecution that cannot

   be tolerated. Accordingly, further discovery and a hearing are necessary, and the Superseding

   Indictment must be dismissed. 3

                                              DISCUSSION

       I.   Relevant Facts

            American history is chock full of public examples involving alleged mishandling of

   classified information and documents, which did not result in the type of politically motivated

   charges that the Special Counsel’s Office has brought against President Trump and his co-

   defendants. Set forth below are some of the most glaring and egregious examples.



   1
    President Trump reserves the right to supplement this motion and file any other motions based
   on discovery provided as a result of the motions to compel. See ECF No. 314.
   2
     U.S. Dep’t of Justice Special Counsel’s Office, Report on the Investigation Into Unauthorized
   Removal, Retention, and Disclosure of Classified Documents Discovered at Locations Including
   the Penn Biden center and the Delaware Private Residence of President Joseph R. Biden, Jr., (Feb.
   5, 2024) (the “Hur Report”), available at www.justice.gov/storage/report-from-special-counsel-
   robert-k-hur-february-2024.pdf.
   3
    For purposes of this motion, President Trump respectfully incorporates by reference Part I of the
   Discussion Section from the Defendants’ reply in further support of the Defendants’ motion to
   compel discovery (“Compel Reply”), ECF No. 300. Certain authorities cited in the Compel Reply
   are included below for purposes of clarity. “Compel Mot.” refers to the Defendants’ opening
   motion to compel discovery, ECF No. 262. “Compel Oppn.” refers to the Special Counsel’s
   Office’s response to the Compel Motion, ECF No. 277.
                                                     1
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 4 of 178




               A. President Joseph Biden

           After President Biden concluded his term as vice president in January 2017, “boxes

   containing classified documents, vice presidential records, and other items were stored in three

   different locations around the Washington, D.C. area, including an office near the White House,

   an office in Chinatown, and eventually the Penn Biden Center” in Washington, D.C. Ex. 1. The

   boxes at the Penn Biden Center “were not in a ‘locked closet’ . . . and remained accessible to Penn

   Biden employees as well as potentially others with access to the office space.” Id.

           On May 24, 2022—the same month that DOJ issued a grand jury subpoena to President

   Trump’s Office—White House counsel Dana Remus instructed Kathy Chung, President Biden’s

   former executive assistant, to retrieve the boxes from the Penn Biden Center. See Ex. 2 at 2; see

   also Hur Report at 257. On June 28, 2022, Ms. Chung packed 13 boxes at the Penn Biden Center,

   which “would later be found to have contained classified materials.” Ex. 2 at 5; see also Hur

   Report at 259, 262 (Chung emailed Remus “13 boxes. There are clearly marked boxes with

   correspondence throughout 4 years.”).

           On October 13, 2022, Ms. Chung sent text messages to one of President Biden’s personal

   attorneys indicating that the 13 boxes remained at the Penn Biden Center. Ex. 2 at 6-7. The

   messages indicated that “Dana” Remus “went there in June, but decided it was too much to take .

   . . .” Id. at 7; see also Hur Report at 262. The attorney responded that another lawyer for President

   Biden, who was based in Boston, had “begun to sort through” the boxes. Ex. 2 at 7; see also Hur

   Report at 258 (“Remus decided to ship material that could be relevant to future congressional

   inquiries to Patrick Moore . . . in Boston . . . .”).

           In early November 2022, President Biden’s personal attorneys turned over classified

   documents that they claimed had been “discovered” at one of President Biden’s personal offices.



                                                           2
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 5 of 178




   Ex. 3 at 1. According to the Hur Report, on November 2, 2022, President Biden’s attorneys found

   a “manila envelope marked ‘EYES ONLY’ for the Vice President” that contained “documents

   with classification markings.” Hur Report at 266. The attorney contacted the White House

   Counsel’s Office, which “notified” NARA’s General Counsel, Gary Stern. Id. NARA determined

   that the boxes from the Penn Biden Center “included nine documents with classification markings

   totaling 44 pages.” Id. at 271. The FBI later determined that the boxes contained 10 “classified

   or potentially classified” documents rather than nine. Id. at 273.

          On January 12, 2023, President Biden disclosed that private attorneys had located another

   classified document in a garage at one of his residences in Delaware.4 The same day, the Attorney

   General appointed Mr. Hur as Special Counsel to investigate these circumstances.5 Two days later,

   the White House Counsel’s Office disclosed that five additional classified documents had been

   recovered from one of President Biden’s “Delaware residences.” Ex. 4 at 2. On January 20, the

   FBI seized additional classified documents during a consensual search of President Biden’s home

   in Delaware.6 Whereas NARA issued a public statement regarding the illegal Mar-a-Lago raid,

   NARA General Counsel Gary Stern acknowledged during an interview later in January 2023 that




   4
     Brett Samuels, Five More Classified Documents Found at Biden’s Wilmington Home, Lawyer
   Says, THE HILL (Jan. 14, 2023, 12:02 pm), https://thehill.com/homenews/administration/3813424-
   five-more-classified-documents-found-at-bidens-wilmington-home-lawyer-says/.
   5
     U.S. Dep’t of Justice, Appointment of Robert K. Hur As Special Counsel (Jan. 12, 2023),
   available                        at                      https://www.justice.gov/d9/2023-
   01/Order.Appointment%20of%20Robert%20Hur.11223%20%28002%29.pdf.
   6
    Zeke Miller, Michael Balsamo, and Colleen Long, FBI Searched Biden Home, Found Items
   Marked Classified, AP NEWS (Jan. 21, 2023, 11:34 PM), https://apnews.com/article/biden-
   politics-delaware-0827b59ee141b33af95023377713e075.

                                                    3
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 6 of 178




   “someone outside of NARA” had blocked NARA’s release of a public statement relating to the

   investigation of President Biden. Ex. 5 at 1.

          In January 2023, the FBI found “roughly a dozen marked classified documents that are

   currently classified at the Secret level” in the garage of President Biden’s home in Delaware. Hur

   Report at 175.

          Between January and February 2023, the FBI also found seven “marked classified

   documents” in a collection of President Biden’s Senate-era papers at the University of Delaware’s

   Biden Institute. Hur Report at 318. In February 2023, the FBI retrieved a two-page State

   Department cable from 1987, which was marked classified but “determined” to have been

   “declassified in 2012,” from President Biden’s Senate papers at a University of Delaware library.

   Hur Report at 314. In June 2023, the FBI identified five additional “marked classified documents”

   during a consent search at the library. Id. at 315. The FBI also found additional “marked classified

   documents” in three notebooks, two binders, and a free-standing document at President Biden’s

   home in Delaware. E.g., Hur Report at 326-33.

          Further, President Biden talked to Mark Zwonitzer, his ghost writer, about the contents of

   notebooks that contained information “classified up to the Top Secret level.” Id. at 101. “[D]uring

   his dozens of hours of interviews with Zwonitzer, Mr. Biden read from notebook entries related to

   many classified meetings, including National Security Council meetings, CIA briefings.

   Department of Defense briefings, and other meetings and briefings with foreign policy officials.”

   Id. at 106; see also id. at 103 (“Mr. Biden read his notes from classified meetings to Zwonitzer

   nearly word-for-word.”). For example, during a February 2017 meeting at President Biden’s rental

   home in Virginia, President Biden explained to Zwonitzer that he “just found all the classified stuff

   downstairs.” Id. at 110.



                                                    4
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 7 of 178




           In 2023, Zwonitzer “deleted digital audio recordings of his conversations with President

   Biden.” Hur Report at 334. During a subsequent interview in 2023, Zwonitzer told Mr. Hur that

   “he ‘was aware that there was an investigation’ when he deleted the recordings and continued,

   ‘I’m not going to say how much of the percentage it was of my motivation.’” Id. at 337-38.

                 B. Former Vice President Mike Pence

           On January 18, 2023, counsel for Mike Pence disclosed to NARA that “a small number of

   documents bearing classified markings . . . were inadvertently boxed and transported to the

   personal home of the former Vice President at the end of the last Administration.” Ex. 6. Pence

   had undertaken a search for those records in response to reports relating to President Biden’s

   mishandling of classified information. Id. The following day, DOJ “bypassed the standard

   procedures” under the Presidential Records Act (“PRA”), “requested direct possession” of the

   documents, and sent FBI agents to Pence’s Indiana residence to collect the documents late at night.

   Ex. 7 at 1.

           On January 20, 2023, Pence’s counsel agreed to turn over to NARA four additional boxes

   “containing copies of Administration papers”: two boxes “in which a small number of papers

   appearing to bear classified markings had been found, and two separate boxes containing courtesy

   copies of Vice Presidential papers.” Ex. 7 at 2. On February 10, 2023, the FBI conducted a

   consensual search of Vice President Pence’s residence, which resulted in the seizure of an




                                                   5
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 8 of 178




   additional classified document.7 On June 2, 2023, DOJ reportedly notified Pence that no charges

   would be filed related to the classified documents.8

               C. Former President Bill Clinton

           As discussed above in connection with the Judicial Watch litigation, 845 F. Supp. 2d 288,

   290-91 (D.D.C. 2012), President Clinton worked with historian Taylor Branch on a “secret

   project” to record President Clinton’s observations and work as president between 1993 and 2001.

   Taylor Branch, The Clinton Tapes: Wrestling History With the President (2009) (the “Clinton

   Tapes”).

           President Clinton relied on the tapes for his 2004 autobiography, My Life, and Branch

   described them in The Clinton Tapes. The tapes obviously contain classified information, but

   President Clinton has been permitted to maintain them personally as a “unique verbatim record

   under his control.” Id. at 13. Branch’s published account confirms that the tapes contain the type

   of information that the Special Counsel’s Office and the Intelligence Community have repeatedly

   contended are classified and sensitive, such as military operations, intelligence assessments,

   communications with foreign leaders, and the dates on which President Clinton was briefed on

   particular issues.

           For example, according to Branch, the recordings reflect the following:

           •       During a meeting in 1996, President Clinton explained that, “[w]ith support only
                   from England, [President] Clinton attacked [Iraq’s] capability for larger military
                   offensives. . . . [H]e sent cruise missiles against air-defense installations. B-52


   7
    Ximena Bustillo, FBI Finds an Additional Classified Document During ‘Consensual’ Search of
   Pence’s       Home,         NPR         (Feb.        11,      2023,       7:14       AM),
   https://www.npr.org/2023/02/10/1154177170/mike-pence-fbi-search-home-office.
   8
    Jeremy Herb and Katelyn Polantz, Justice Department Will Not Seek Criminal Charges in Pence
   Classified    Document      Probe,      CNN      (June      2,     2023,     10:46     AM),
   https://www.cnn.com/2023/06/02/politics/mike-pence-justice-department-documents/index.html.

                                                    6
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 9 of 178




                 bombers, flying round-trip from Guam, reinforced the missile strikes near Baghdad
                 for two days.” Clinton Tapes at 393.

          •      During a meeting in early 2000, President Clinton explained that “[o]ur experts . .
                 . were convinced that an Algerian recently arrested in Seattle with bomb materials
                 was a bin Laden disciple, indicating that bin Laden was ‘up to stuff’ in the United
                 States. And India asserted that Pakistan was behind a spectacular Christmas Eve
                 hijacking of an Indian jetliner into Kandahar, Afghanistan . . . .” Id. at 581.

          •      In late 2000, “on tape,” President Clinton “discussed the October 12[, 2000] suicide
                 attack against the Cole in the port of Aden, Yemen . . . The president said they
                 thought the instigator was bin Laden. Our people knew where part of the bomb
                 was made.” Id. at 627.

          •      During a meeting in January 2001, President Clinton told Branch that President
                 Bush “had listened without comment to most of Clinton’s extensive briefing on
                 foreign affairs. Unexpectedly, when asked, [President Bush] encouraged Clinton
                 to seize any opening to stop the North Korean missile program. Bush said he could
                 not imagine going there for at least the first year of his presidency, and if it took a
                 presidential trip to seal the deal, he would hold no ill will toward Clinton for
                 stealing the limelight or boxing in the new administration. Id. at 639.

   As discussed in more detail in President Trump’s motion to dismiss pursuant to the PRA, despite

   all of this, neither DOJ nor NARA even thought it possible to try to recover the tapes. There was

   no criminal investigation. There was no prosecution.

              D. Hillary Clinton

          Hillary Clinton was the Secretary of State between January 2009 and February 2013. In

   2014, the House Committee investigating the September 2012 terrorist attack at the CIA Annex in

   Libya, which killed four Americans, requested records from the State Department. Horowitz OIG

   Report at 37.9 While preparing to respond to the congressional inquiry, the State Department (and

   later DOJ) learned that Clinton had used a personal email account and three servers stored at her




   9
    Office of the Inspector General, U.S. Dep’t of Justice, A Review of Various Actions by the
   Federal Bureau of Investigation and Department of Justice in Advance of the 2016 Election (June
   2018) (the “Horowitz OIG Report”), available at https://www.justice.gov/file/1071991/download.
                                                   7
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 10 of 178




    private residence to conduct official business in that role. See, e.g., Horowitz OIG Report at 76-

    77.

           The first server was abandoned in March 2009 and “ultimately discarded,” along with the

    records and data it contained. See id. Between March 2009 and June 2013, the second server was

    used to store data relating to email accounts used by Secretary Clinton and certain other State

    Department personnel for official business. See id. In December 2013, at Secretary Clinton’s

    direction, a private vendor “migrated” the email accounts to a third server and removed Microsoft

    Exchange from the device. See id. This process involved the use of a laptop and a thumb drive to

    transfer the data, which Secretary Clinton’s staff instructed the vendor to “wipe” and were never

    recovered. See id. at 78. By the time the FBI got access to the second server, the records and data

    were stored in the server’s “unallocated space.” Id at 77. The location was consistent with data

    deletion, and the FBI found that emails on the second server were “were often fragmented and

    difficult to reconstruct.” Id.; see also United States v. Rivenbark, 748 F. App’x 948, 952 (11th Cir.

    2018) (“Deleted files go into unallocated space on the hard drive . . . .”).

           The handling of data from the third server reflects even more astonishing levels of

    obstruction and evidence destruction. In December 2014, Clinton provided the State Department

    with hard copies of approximately 30,490 emails from her personal email account, which her

    attorneys recovered from the third server. Horowitz OIG Report at 1. Secretary Clinton’s counsel

    claimed they had determined that those emails were “work related.” Id. Around the same time—

    after the congressional inquiry was public—Secretary Clinton “decided she no longer wished to

    retain on her [third] server emails that were older than 60 days,” and Secretary Clinton’s staff

    accessed the vendor to “remove former Secretary Clinton’s emails from their laptops.” Id. at 38.




                                                      8
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 11 of 178




    The technician used a program called “BleachBit” to “permanently remove or wipe” the emails

    from the laptops. Id.

           On March 3, 2015, Congress sent a preservation order to Secretary Clinton. Horowitz OIG

    Report at 39. Secretary Clinton’s attorneys advised the vendor of the order. Id. The technician

    told the FBI that, “despite the intervening issuance of a congressional preservation order,” “he ‘had

    an oh shit moment’” and “wiped” Secretary Clinton’s emails from the third server at a point

    “between March 25 and March 31, 2015.” Horowitz OIG Report at 79. By using “BleachBit”—

    a program designed to “shred” files and “prevent recovery”—Secretary Clinton’s vendor

    “permanently remove[d]” approximately 31,830 emails from the third server. Id. at 38 n.48 and

    39.

           During the investigation that followed, the FBI, “with the assistance of other USIC

    agencies, identified 81 email chains containing approximately 193 individual emails that were

    classified from the CONFIDENTIAL to TOP SECRET levels at the time the emails were drafted

    on UNCLASSIFIED systems and sent to or from Clinton’s personal server.’” Id. at 74 (cleaned

    up).

           In other words, the USIC agencies determined that these 81 email chains, although not
           marked classified, contained information classified at the time the emails were sent and
           should have been so marked. Twelve of the 81 classified email chains were not among the
           30,490 that Clinton’s lawyers had produced to the State Department, and these were all
           classified at the Secret or Confidential levels. Seven of the 81 email chains contained
           information associated with a Special Access Program (“SAP”), which witnesses told us is
           considered particularly sensitive. The emails containing Top Secret and SAP information
           were included in the 30,490 provided to the State Department.

    Horowitz OIG Report at 74. The FBI also “assess[ed] that hostile actors gained access to the

    private commercial email accounts of people with whom Secretary Clinton was in regular contact

    from her personal account,” and that it was “possible that hostile actors gained access to Secretary

    Clinton’s personal email account.” Id. at 75-76.

                                                     9
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 12 of 178




           During the summer of 2016, through consultation with the Attorney General, a team of

    DOJ prosecutors led by George Toscas—who is also participating in this prosecution, see, e.g.,

    Compel Mot. Ex. 35—decided not to charge Secretary Clinton (or anyone else) with crimes

    relating to (1) the use of private email accounts and a private server to transmit classified

    information, (2) the subsequent deletion of classified information and official State Department

    records, and (3) obstruction of the congressional inquiry, including by violating the preservation

    order. See Horowitz OIG Report at 253-57.

               E. James Comey

           Between January and April 2017, former FBI Director James Comey wrote seven emails

    or memoranda that he claimed memorialized interactions with President Trump. JC OIG Report

    at 1.10 The FBI later determined that four of the documents contained information that was

    classified at the Secret and Confidential levels. See id. at 1, 42-46. Comey wrote one of the

    classified memoranda on his personal computer. Id. at 11 (Memo 2).

           On May 9, 2017, President Trump removed Comey from his position.                   Comey

    subsequently used a personal scanner and his personal email account to send two of the classified

    memoranda to his personal attorneys. JC OIG Report at 12, 36-37 (Memos 2, 7). On May 12, FBI

    agents went to Director Comey’s residence to “inventory and retrieve all FBI property from

    Comey’s home SCIF.” Id. at 34. “Comey did not tell the FBI that he had copies of” four of the

    memoranda, including two classified documents, “in his personal safe.” Id. (Memos 2, 4, 6, 7).




    10
       Office of the Inspector General, U.S. Department of Justice, Report of Investigation of Former
    Federal Bureau of Investigation Director James Comey’s Disclosure of Sensitive Investigative
    Information and Handling of Certain Memoranda (Aug. 2019) (the “JC OIG Report”), available
    at https://www.oversight.gov/sites/default/files/oig-reports/o1902.pdf.

                                                   10
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 13 of 178




    Comey had previously provided copies of the memoranda to FBI personnel, and they preserved

    those documents. Id. An FBI whistleblower provided the memoranda to DOJ-OIG. Id. at 37.

           On June 7, 2017, when the FBI informed Director Comey of its classification decisions, he

    “provided the [FBI agent] who came to his home” with “signed originals” of the four memoranda

    he had “retained at his residence”—including the two classified documents. JC OIG Report at 48

    (Memos 2, 4, 6, 7). Director Comey “never informed the FBI” that he had used his private scanner

    and private email account to transmit the same four memoranda, including the two classified

    documents, to his personal attorneys. JC OIG Report at 49. Rather, the FBI learned of that conduct

    through another witness.

               F. General David Petraeus

           In 2015, former CIA Director General David Petraeus was permitted to plead guilty to a

    misdemeanor violation of 18 U.S.C. § 1924 based on his handling of eight notebooks that

    “contained classified information regarding the identities of covert officers, war strategy,

    intelligence capabilities and mechanisms, diplomatic discussions, [and] quotes and deliberative

    discussions from high-level National Security Council meetings.” Ex. 8 ¶ 17. General Petraeus

    “personally retained” the notebooks rather than turning them over to a Defense Department

    historian, and he later maintained the materials at private residences. Id. ¶ 20. In 2011, General

    Petraeus told his “biographer” that the notebooks were “highly classified” and contained “‘code

    word’ information,” and he allowed the “biographer” to access the notebooks at his private

    residence in Washington, D.C. Id. ¶¶ 22, 24-25. The FBI seized the notebooks from General

    Petraeus’s home. Id. ¶ 29. Based on the misdemeanor guilty plea, General Petraeus was sentenced

    principally to two years’ probation.




                                                   11
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 14 of 178




               G. Samuel “Sandy” Berger

           Sandy Berger, President Clinton’s National Security Advisor, was also permitted to plead

    guilty to a misdemeanor violation of § 1924, even though NARA has listed Berger’s case on its

    website as one of the “Notable Thefts From The National Archives.”11

           In 2003, Berger stole five classified Presidential Records from NARA relating to the 9/11

    Attack. Ex. 9 at ¶ 3-5. Berger concealed the records at an office, and he “cut three of the

    documents into small pieces and discarded them.” Id. ¶ 4. When NARA confronted Berger, he

    “[i]nitially . . . did not tell NARA that he had taken the documents.” Id. ¶ 6. Berger later claimed

    that “he had accidentally misfiled documents and had found two.” Id. Based on the misdemeanor

    guilty plea, Berger was sentenced principally to two years’ probation.

               H. John Deutch

           John Deutch served as CIA Director for President Clinton between 1995 and 1996. In that

    role, Deutch “continuously processed classified information on government-owned desktop

    computers configured for unclassified use,” which “were connected to or contained modems that

    allowed external connectivity to computer networks such as the Internet” and thus “vulnerable to

    attacks by unauthorized persons.” Ex. 10 at 3. In addition, while working at the Defense

    Department between 1993 and 1994, Deutch “routinely entered data on Government-owned

    computers, at his office and home not designated to process classified information,” including “a




    11
           Notable     Thefts     from     the     National     Archives,     NAT’L      ARCHIVES,
    www.archives.gov/research/recover/notable-thefts.html (“During his visits to the Archives, it was
    determined that Berger folded the documents in his clothes, walked out of the National Archives
    building in Washington, D.C., and placed them under a nearby construction trailer for retrieval
    later on. Two years later Berger was sentenced to 100 hours of community service and probation
    and fined $50,000.”).

                                                    12
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 15 of 178




    daily journal containing classified information that was almost 1,000 pages in length, [maintained]

    on computer memory cards, that he reportedly transported in his shirt pocket.” Ex. 11 at 2.

           Although Deutch had reportedly agreed to plead guilty to a misdemeanor violation of §

    1924, President Clinton pardoned Deutch on his last day in office.12

               I. Deborah Birx

           Deborah Birx acted as the White House Coronavirus Response Coordinator between 2020

    and 2021. On September 6, 2021, NARA’s General Counsel wrote in an internal email that NARA

    was “arranging to pick up the PRA materials from Dr. Birx on Tuesday (tomorrow).” Ex. 12. A

    separate internal NARA email thread on September 16 noted that Birx had at least “six boxes,”

    and that “[s]canning Dr. Birx’[s] correspondence has been slowed because they found a classified

    document in the mix.” Ex. 13. To our knowledge, Dr. Birx is not under investigation and is not

    being prosecuted.

     II.   Applicable Law

               A. Selective Prosecution

           The government may not pursue cases “with an evil eye and an unequal hand so as

    practically to make unjust and illegal discrimination between persons in similar circumstances . .

    . .” Yick Wo v. Hopkins, 118 U.S. 356, 373-74 (1886). Prosecutors “must exercise their charging

    discretion within constitutional constraints, including those imposed by the equal protection

    component of the Due Process Clause of the Fifth Amendment.” United States v. Smith, 231 F.3d

    800, 807 (11th Cir. 2000) (cleaned up). Under the Due Process Clause, a prosecution decision

    “may not be based on an unjustifiable standard . . . or arbitrary classification.” Id. “In order to


    12
       Bill Miller and Walter Pincus, Deutch Had Signed Plea Agreement, Sources Say, WASH. POST
    (Jan. 23, 2001, 7:00 PM), https://www.washingtonpost.com/archive/politics/2001/01/24/deutch-
    had-signed-pleaagreement-sources-say/dcebcd40-24d5-47e9-8c3c-6fe2c3c3c8a0/.

                                                    13
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 16 of 178




    establish unconstitutional selective prosecution, the claimant must show [1] that the prosecution

    has a discriminatory effect and [2] that it was motivated by a discriminatory purpose.” United

    States v. Emmanuel, 2007 WL 9705934, at *2 (S.D. Fla. July 3, 2007) (cleaned up).

           “The first prong, discriminatory effect, is demonstrated by a showing that similarly-situated

    individuals were not prosecuted for the same crime.” Id. (cleaned up). “[A] ‘similarly situated’

    person for selective prosecution purposes as one who engaged in the same type of conduct . . . .”

    Smith, 231 F.3d at 810.

           “The second prong, discriminatory purpose, is demonstrated by a showing that the decision

    to prosecute was invidious or in bad faith.” Emmanuel, 2007 WL 9705934, at *2 (cleaned up).

    This includes prosecutions “predicated on a constitutionally impermissible motive, such as on the

    basis of race or religion, or in retaliation for her exercise of constitutional rights.” United States

    v. Ndiaye, 434 F.3d 1270, 1288 (11th Cir. 2006).

           “A defendant may obtain discovery in support of a selective prosecution claim where the

    defendant provides some evidence tending to show the existence of the essential elements of the

    defense.” United States v. Williams, 684 F. App’x 767, 777 (11th Cir. 2017) (cleaned up).

               B. Vindictive Prosecution

           “The government violates a defendant’s due process rights when it vindictively seeks to

    retaliate against him for exercising his legal rights.” United States v. Schneider, 853 F. App’x 463,

    469 (11th Cir. 2021). “A defendant can establish actual prosecutorial vindictiveness if he can

    show that the government’s justification for a retaliatory action is pretextual.” Id.

           “To establish prosecutorial vindictiveness, a defendant must show, through objective

    evidence, that (1) the prosecutor acted with genuine animus toward the defendant and (2) the




                                                     14
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 17 of 178




    defendant would not have been prosecuted but for that animus.” United States v. Simbaqueba

    Bonilla, 2010 WL 11627259, at *5 (S.D. Fla. May 20, 2010) (cleaned up).

    III.   Discussion

           “Nothing is so politically effective as the ability to charge that one’s opponent and his

    associates are not merely wrongheaded, naive, ineffective, but, in all probability, ‘crooks.’ And

    nothing so effectively gives an appearance of validity to such charges as a Justice Department

    investigation and, even better, prosecution.” Morrison v. Olson, 487 U.S. 654, 713 (1988) (Scalia,

    J., dissenting). Through two lawless prosecutions initiated at the express urging of the Biden

    Administration, including this case, the Special Counsel’s Office seeks to “become a de facto

    campaign voice for the Democrats in the general election,” and Jack Smith is “probably less

    concerned now with whether a Trump conviction will survive appeal than with whether Trump

    can be convicted ahead of the November 2024 election.”13

           Despite decades of similar conduct, no former president has been charged with the crimes

    the Special Counsel’s Office has alleged in this case. Dozens of public officials have faced

    allegations relating to the handling of classified information without being charged with the types

    of felonies alleged in the Superseding Indictment. In this case, the record adequately demonstrates



    13
       See, e.g., Opinion, Jack Smith and the Supreme Court, WALL ST. J. (Dec. 15, 2023, 6:40 PM),
    https://www.wsj.com/articles/jack-smith-and-the-supreme-court-57d78846 (“If that trial date [in
    the District of Columbia] holds, Mr. Smith will . . . then become a de facto campaign voice for the
    Democrats in the general election. This is one of the reasons that trying to disqualify Mr. Trump
    by prosecution was such a mistake.”); see also Steven Calabresi, Donald Trump is the Victim of
    Selective      Prosecution,     THE      VOLOKH          CONSPIRACY        (Feb.    10,     2024),
    https://reason.com/volokh/2024/02/10/donald-trump-is-the-victim-of-selective-prosecution/;
    Jason Willick, Politics Are Now Clearly Shaping Jack Smith’s Trump Prosecution, WASH. POST
    (Dec. 12, 2023, 1:33 PM), https://www.washingtonpost.com/opinions/2023/12/12/special-
    counsel-jack-smith-politicized-prosecution (“Smith is probably less concerned now with whether
    a Trump conviction will survive appeal than with whether Trump can be convicted ahead of the
    November 2024 election.”).

                                                    15
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 18 of 178




    impermissible prosecutorial motives, driven in an unprecedented fashion by a sitting president to

    serve his political objective of prosecuting his predecessor and opponent. The selective and

    vindictive prosecution doctrines forbid such behavior. Accordingly, the Court require the Special

    Counsel’s Office to produce relevant discovery, hold a hearing, and then dismiss the Superseding

    Indictment. See, e.g., Williams, 684 F. App’x at 777 (reasoning that the threshold for a hearing on

    selective and vindictive prosecution is a defense proffer of “some” evidence).

               A. Impermissible Bias And Animus

           With respect to selective prosecution, there is ample evidence that this case has been

    brought based on impermissible considerations relating to President Trump’s candidacy and First

    Amendment-protected speech relating to his campaign. See United States v. Falk, 479 F.2d 616,

    620 (7th Cir. 1973) (“[J]ust as discrimination on the basis of religion or race is forbidden by the

    Constitution, so is discrimination on the basis of the exercise of protected First Amendment

    activities, whether done as an individual or, as in this case, as a member of a group unpopular with

    the government.”); United States v. Crowthers, 456 F.2d 1074, 1079 (4th Cir. 1972) (“What the

    government has done here is to undertake to suppress a viewpoint it does not wish to hear under

    the guise of enforcing a general regulation prohibiting disturbances on government property.”);

    United States v. Judd, 579 F. Supp. 3d 1, 4 (D.D.C. 2021) (“[T]he Government cannot base its

    decision to prosecute on some unjustifiable standard, such as a defendant’s political beliefs.”). The

    prosecution is “vindictive” because it has been brought in an effort to punish President Trump for

    exercising those rights on behalf of the American people. See United States v. Barner, 441 F.3d




                                                     16
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 19 of 178




    1310, 1315 (11th Cir. 2006) (“Vindictiveness in this context means the desire to punish a person

    for exercising his rights.”).14

            The record contains much more than “some” evidence on this issue. Williams, 684 F.

    App’x at 777. In April 2022, the Biden Administration leaked to the New York Times President

    Biden’s view that President Trump “should be prosecuted” and his instruction that Attorney

    General Garland should “take decisive action.” Compel. Mot. Ex. 62. The following month, DOJ

    issued a grand jury subpoena to President Trump’s Office seeking additional records. Less than

    four months later, DOJ worked with the FBI to raid Mar-a-Lago, with Toscas—the same DOJ

    official who helped oversee the non-prosecution of Hillary Clinton—declaring that he did not

    “give a damn about the optics.” Compel. Mot. Ex. 35.

            After President Biden’s subordinates had started to gather classified records from the Penn

    Biden Center during the summer of 2022, Biden endorsed the Mar-a-Lago raid during a September

    2022 60 Minutes interview in which he presumed President Trump guilty. In that session, with

    unappreciated irony, President Biden characterized the circumstances as “totally irresponsible,”




    14
       With respect to the First Amendment freedoms implicated by this impermissible prosecution,
    see, for example, Snyder v. Phelps, 562 U.S. 443, 451-52 (2011) (“[S]peech concerning public
    affairs is more than self-expression; it is the essence of self-government.” (cleaned up));
    Rosenberger v. Rector & Visitors of Univ. of Virginia, 515 U.S. 819, 829 (1995) (“When the
    government targets not subject matter, but particular views taken by speakers on a subject, the
    violation of the First Amendment is all the more blatant.”); Meyer v. Grant, 486 U.S. 414, 425
    (1988) (reasoning that speech “at the core of our electoral process” is “an area … where protection
    of robust discussion is at its zenith” (cleaned up)); see also Packingham v. North Carolina, 582
    U.S. 98, 104 (2017) (recognizing the right to “speak and listen, and then . . . speak and listen once
    more,” as a “fundamental principle of the First Amendment”); Virginia State Bd. of Pharmacy v.
    Virginia Citizens Consumer Council, Inc., 425 U.S. 748, 757 (1976) (“Freedom of speech
    presupposes a willing speaker. But where a speaker exists, . . . the protection afforded is to the
    communication, to its source and to its recipients both.”).

                                                     17
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 20 of 178




    asked “[h]ow that could possibly happen[?],” and expressed concern about “[w]hat data was in

    there that may compromise sources and methods?” See Hur Report at 7.15

           In November 2022, through remarks that were plainly timed based on rumors of President

    Trump’s candidacy, President Biden declared just days before that announcement that he was

    “making sure” President Trump “will not take power” and “does not become the next President

    again.” In stark contrast, and without credibility, Attorney General Garland claimed at the time

    that Smith’s appointment “underscore[d]” DOJ’s “commitment” to “independence.”16 The same

    Attorney General confirmed DOJ’s backing of Smith’s improper actions during an interview last

    month in which he inappropriately sought to place DOJ’s imprimatur behind the Office’s untenable

    demand for a “speedy trial” in this case and on the lawless charges filed in the District of

    Columbia.17

           Without question, this is a “high-profile prosecution with international ramifications no

    less,” which has a “far greater potential to give rise to a vindictive motive.” United States v.

    Slatten, 865 F.3d 767, 799-800 (D.C. Cir. 2017). Thus, the record is sufficient to establish—on a

    prima facie basis, at minimum—that Jack Smith “was prevailed upon to bring the charges by

    another with animus such that the prosecutor could be considered a ‘stalking horse.’” United

    States v. Sanders, 211 F.3d 711, 717 (2d Cir. 2000).


    15
       See Scott Pelley, President Joe Biden: The 2022 60 Minutes Interview, CBS NEWS (Sept. 18,
    2022, 7:43 PM), https://www.cbsnews.com/news/president-joe-biden-60-minutes-interview-
    transcript-2022-09-18.
    16
           DOJ,     Appointment      of    a     Special     Counsel        (Nov.     18,     2022),
    https://www.justice.gov/opa/pr/appointment-special-counsel-0.
    17
       Evan Perez, Holmes Lybrand and Hannah Rabinowitz, Exclusive: Attorney General Merrick
    Garland Says There Should Be ‘Speedy Trial’ of Trump as 2024 Election Looms, CNN (Jan. 19,
    2024, 8:25 AM), https://www.cnn.com/2024/01/19/politics/merrick-garland-trump-speedy-
    trial/index.html.

                                                   18
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 21 of 178




                B. Similarly Situated Cases Support Defendants’ Motion

           There are several “similarly situated individuals [who] were not prosecuted.” Smith, 2321

    F.3d at 810.    The comparators were alleged to have “committed the same basic crime in

    substantially the same manner” as the allegations in the Superseding Indictment, which President

    Trump disputes, and “the evidence was as strong or stronger than” than what the Special Counsel’s

    Office has collected in this case during an investigation that involved abusing the grand jury,

    raiding Mar-a-Lago in an unconstitutional fashion, and illegally violating President Trump’s

    attorney-client privilege. Id.

           In 2015, the Society of American Archivists observed that, “[d]espite the fact that records

    management laws and regulations have been on the books for decades, non-compliance with the

    letter and spirit of accountability and transparency, which are inherent in these statutes, is a regular

    occurrence.” In February 2022,                         Per. 53                    , told the FBI that “it

    is not uncommon for NARA to receive materials, over time, from senior US Government leaders

    which contain some level of classified materials and information.” Compel Mot. Ex. 2 at USA-

    00813152.      During congressional testimony in March 2023, Mark Bradley from NARA’s

    Information Security Oversight Office explained that, since 2010, NARA has received “over 80

    calls” from libraries where “mostly Members of Congress have taken papers” that included

    classified information. Intelligence Committee Tr. 12-13.18 At the same hearing, Bosanko

    explained that for “every PRA administration from Reagan forward,” NARA has “found classified

    information in unclassified boxes.” Id. at 63. Bosanko added that “[c]lassified [information] has




    18
       Transcript – U.S. House of Rep., Permanent Select Comm. on Intelligence, Washington, D.C.
    (Mar.       1,     2023)     (the    “Intelligence     Committee      Tr.”),      available at
    https://intelligence.house.gov/uploadedfiles/3.1.23_nara_briefing_transcript.pdf.
                                                      19
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 22 of 178




    been going outside of government control for an extended period of time,” and that “[m]ore often

    than not it is not due to a lack of care or respect for classified [information.” Id. at 32.

            Evidence of non-prosecution in instances of high-profile mishandling of classified

    information dates back to at least New York Times v. United States, 403 U.S. 713 (1971). There,

    Chief Justice Burger noted that the New York Times had “unauthorized possession” of a “classified

    study entitled ‘History of U.S. Decision-Making Process on Viet Nam Policy’” for “three to four

    months.” 403 U.S. at 750 (Burger, C.J., dissenting); id. at 714. No charges resulted, and we are

    unaware of the federal government using criminal processes such as subpoenas or search warrants

    to recover the materials.

            A congressionally commissioned study found in 1977 that, when leaving office, past
            presidents routinely took national security files including briefing materials for the
            President, records of negotiations with foreign governments, correspondence with foreign
            heads of state or governments, and correspondence with or directives to agencies within
            the Executive branch on foreign affairs.

    Hur Report at 192 (cleaned up). No prosecutor brought charges, under the Espionage Act or

    otherwise, based on this established practice.

            “[T]here is some reason to think” that diaries authored by Presidents Carter and Geroge

    H.W. Bush during their presidencies, and subsequently retained as their personal records,

    “contained classified information.” Hur Report at 194 n.783. They were not prosecuted. The

    “historical record is clear” that President Reagan’s diaries contained classified information “up to

    the Top Secret/Sensitive Compartmented Information level.”              Id. at 194 & n.783.    “The

    Department of Justice, the National Archives, and others knew that President Reagan treated

    [President Reagan’s] diaries (containing classified information) as personal property, but no

    agency took action to recover the classified materials or to investigate or prosecute the former

    president.” Id. at 193-94. It was common knowledge that President Reagan kept the diaries “at



                                                      20
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 23 of 178




    his private home, apparently outside of facilities that were authorized to store Top Secret

    information.” Id. at 196. No charges were filed, and it does not appear that there was even an

    investigation. After President Reagan died, NARA confirmed through work with the National

    Security Council that several pages of material from President Reagan’s diaries was “still classified

    up to the Top Secret/Sensitive Compartmented Information level.” Id. at 198.

           More recently, President Biden spread out classified documents across non-SCIF

    residences, garages, and private office space in three states and the District of Columbia dating

    back decades to his time in the Senate. In contrast to President Biden’s 60 Minutes interview

    following the Mar-a-Lago raid, he joked to the press that he had stored classified documents “in a

    locked garage” with his “Corvette.”19       The photographs of that garage in the Hur Report

    demonstrate that it was far less secure than Mar-a-Lago, which is and was under the constant

    protection of the United States Secret Service and private security. And Mr. Hur found that

    President Biden acted “willfully”:

           There is evidence that, after his vice presidency, Mr. Biden willfully retained marked
           classified documents about Afghanistan and unmarked classified handwritten notes in his
           notebooks, both of which he stored in unsecured places in his home. He had no legal
           authority to do so, and his retention of these materials, and disclosure of classified
           information from his notebooks to his ghostwriter, risked serious damage to America's
           national security.

    Hur Report at 200. Yet there will be no charges. See id. (“The Department's prior treatment of

    former presidents and vice presidents who kept national security materials also counsels against

    prosecution of Mr. Biden.”).



    19
       Kelly Hooper, Additional Documents Marked Classified Found in Biden’s Wilmington Garage,
    POLITICO (Jan. 12, 2023, 10:39 AM), https://www.politico.com/news/2023/01/12/additional-
    documents-marked-classified-found-in-bidens-wilmington-garage-00077680;      Biden     Says
    Classified Documents Were in Locked Garage With His Corvette, YOUTUBE (Jan. 12, 2023),
    https://www.youtube.com/watch?v=J5qrb0NsF9U.

                                                     21
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 24 of 178




           The same result for Vice President Pence, following an investigation by DOJ that

    concluded—coincidentally or not—just in time for Pence to declare his since-terminated

    candidacy in the 2024 election. Both President Biden and former Vice President Pence returned

    classified documents during an iterative process, but no one inferred obstructive intent from the

    multiple disclosures. Unlike President Trump, both men were offered an opportunity to consent

    to FBI searches rather than being forced to face the public spectacle of having their private homes

    raided by armed agents.

           Despite prolonged mishandling of classified information and extensive deletion of

    evidence, no member of the Clinton family has been charged with a crime. Hillary Clinton led the

    State Department using a private email account, routed over servers at her private residence, to

    communicate regarding the type of foreign affairs matters the Special Counsel’s Office and the

    Intelligence Community relegate to basement SCIFs in this case. The FBI identified 193 classified

    emails in the data that Clinton did not cause to be deleted, and we will never know the extent of

    the classified information in the data she caused to be destroyed using “BleachBit,” at least “two

    instances” where an aid “destroyed Clinton’s old mobile devices by breaking them in half or hitting

    them with a hammer,”20 and other methods. But no charges followed. The decision was supported

    by the same George Toscas who did not “give a damn about the optics” of the Mar-a-Lago raid.

    Compel Mot. Ex. 35 at USA-00940276.

           Former President Clinton possessed, and may still possess, tapes that obviously contain

    classified information. The tapes serve as conclusive evidence that he disclosed classified

    information to Branch. But no one in the government lifted a finger. Not even NARA. Years



    20
       U.S. Dep’t of Justice Fed. Bureau of Investigation, Clinton E-Mail Investigation (July 2016),
    available                           at                            https://vault.fbi.gov/hillary-r.-
    clinton/Hillary%20R.%20Clinton%20Part%2001/view.
                                                    22
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 25 of 178




    later, however, Archivist Ferriero would run “out of patience” with President Trump within six

    months of the end of his term. Branch’s book regarding Clinton’s presidency, the Clinton Tapes,

    contains details that would almost certainly be deemed classified if they had been revealed by

    President Trump and were subject to a classification review by the biased Intelligence Community

    operatives supporting this prosecution.

           James Comey disseminated classified information to private parties regarding meetings

    with President Trump. Like President Biden and the Clintons, he maintained classified records

    regarding those communications at his residence and faced no charges for that decision. It does

    not appear that Dr. Birx faced charges or even an investigation despite the fact that she (1) retained

    possession of “PRA materials” until at least September 2021, long after Ferriero was “out of

    patience” with President Trump, and (2) those materials contained at least one classified document.

    General Petraeus, Sandy Berger, and John Deutch all mishandled extremely sensitive classified

    information. See Hur Report at 251 n.958 (explaining that “there was stronger evidence of

    willfulness in Petraeus's case, in light of his lies and obfuscations,” General Petraeus “was charged

    only with a misdemeanor”). Deutch, for example, “continuously processed classified information”

    on an unclassified computer. Each of these three was permitted to plead guilty to a misdemeanor.

           Finally, the unproven obstruction allegations by the Special Counsel’s Office cannot save

    this prosecution. Hillary Clinton and her colleagues deleted 31,830 emails and destroyed data on

    numerous electronic devices, including after a congressional preservation order. Comey hid from

    the FBI that he had used a private scanner and his personal email account to transmit at least two

    classified documents to his personal attorneys. Berger stole documents from NARA and cut three

    of them “into small pieces,” which resulted in NARA having informal “‘Sandy Berger’ rules.” Ex.




                                                     23
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 26 of 178




    13. None of these individuals faced a charge under the Espionage Act or was prosecuted for

    obstruction.

           Collectively, this history of non-prosecution and leniency for similarly situated individuals

    and others strongly supports President Trump’s motion based on intolerable and unconstitutional

    selective and vindicative prosecution. Discovery and a hearing are necessary, and the Court should

    dismiss the Superseding Indictment.

                                            CONCLUSION

           For the foregoing reasons, President Trump respectfully submits that the Court should

    order necessary discovery and a hearing, and thereafter dismiss the Superseding Indictment.

     Dated: February 22, 2024                         Respectfully submitted,

                                                      /s/ Todd Blanche
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                                                      Coral Gables, Florida 33134
                                                      (305) 677-2707

                                                      Counsel for President Donald J. Trump




                                                    24
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 27 of 178




                                   CERTIFICATE OF SERVICE

           I, Christopher M. Kise, certify that on February 22, 2024, I filed the foregoing document

    and served it on the Special Counsel’s Office via email, or CM/ECF to the extent possible, as

    required by the Court’s February 20, 2024 Order. ECF No. 320.

                                                    /s/ Christopher M. Kise
                                                    Christopher M. Kise
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 28 of 178




            EXHIBIT 1
     Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 29 of 178




https://oversight.house.gov/release/chairman-comers-statement-on-transcribed-interview-with-kathy-chung/
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 30 of 178




            EXHIBIT 2
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 31 of 178




                                                       May 5, 2023

    Dana Remus
    Covington & Burling LLP
    850 10th St. NW
    Washington, D.C. 20268

    Dear Ms. Remus:

            The Committee on Oversight and Accountability is investigating President Biden’s
    mishandling of highly classified documents.1 The Committee has obtained information that
    contradicts important details from the White House’s and President Biden’s personal attorney’s
    statements about the discovery of documents at the Penn Biden Center, including the location
    and security of the classified documents. The Committee has learned that you were a central
    figure in the early stages of coordinating the packing and moving of boxes that were later found
    to contain classified materials. Following a recent transcribed interview with Ms. Kathy
    Chung—the President’s former assistant from when he was Vice President and subsequent
    employee of then former Vice President Biden’s company, CelticCapri—the Committee has
    identified you as a witness with potentially unique knowledge about this matter and requests
    information from you.

            The Committee’s interview with Ms. Chung raised several questions to which the
    Committee believes you possess certain answers. Generally, these questions involve differences
    between Ms. Chung’s account and the statements released separately by the White House and
    President Biden’s personal attorney. Specifically, the Committee seeks clarification regarding
    the timeline of events prior to November 2, 2022 (the day, according to the White House and the
    President Biden’s personal attorney, documents were discovered at Penn Biden Center), the
    security of the documents in the Penn Biden Center before and after Ms. Chung packed them,
    and President Biden’s history of potentially mishandling classified material.

        A. The Committee seeks additional information about why in May 2022 you chose Ms.
           Chung—an employee at the Department of Defense who did not work for the Penn
           Biden Center—to do what she believed was a personal task for the President.

            The President’s personal attorney, Mr. Bob Bauer, has released a statement that includes
    a timeline of events relevant to President Biden’s mishandling of classified documents. That

    1
      See, e.g., Alexander Mallin, et al., Key events in the Biden classified documents probe: Updated
    timeline, ABCNews.com (Feb. 1, 2023).
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 32 of 178

    Ms. Dana Remus
    May 3, 2023
    Page 2 of 12

    timeline begins on November 2, 2022, with the “unexpected[] discover[y]” of classified
    materials at the Penn Biden Center.2 Additionally, the White House has stated the “documents
    were discovered when the President’s personal attorneys were packing files housed in a locked
    closet to prepare to vacate office space at the Penn Biden Center in Washington, D.C.”3

           The supposed timeline omitted nearly six months of communications between the White
    House and President Biden’s personal attorney and Ms. Chung—an employee of the Department
    of Defense—to pack up and move documents located in the Penn Biden Center that began in
    May 2022. According to Ms. Chung and an email produced to the Committee, you contacted her
    on May 24, 2022, after not having spoken to Ms. Chung for approximately a year and a half,
    when she worked for the Biden presidential campaign.4 Ms. Chung stated:

            Q        It appears from the email that White House counsel Dana Remus
                     called you prior to emailing you. Do you remember if she called
                     you on your government phone or on your private phone?

            A        My private phone.

            Q        When she asked you if there was something -- or when she
                     referenced here that she had something to run by you, at this point
                     did you have any indication or did you have any knowledge of
                     what it was that she wanted to talk about?

            A        No.

            Q        Prior to receiving the voicemail and this email, when was the last
                     time you had spoken to Dana Remus?

            A        A long time. Probably during the campaign.

            Q        And, again, this is approximate, but approximately when do you
                     think that was? You can give a year.

            A        A year and a half.5

            Ms. Chung previously worked for President Biden as his assistant when he was Vice
    President. During the final days of the Obama-Biden Administration, Ms. Chung packed up
    several moving boxes with materials from the West Wing, including files that she did not review
    and personal items. She stated:



    2
      Statement from Bob Bauer, Personal Attorney for the President.
    3
      Statement of Richard Sauber, Special Counsel to the President.
    4
      Transcript of H. Comm. on Oversight & Accountability interview with Kathy Chung (“Transcript”), p. 15.
    5
      Id.
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 33 of 178

    Ms. Dana Remus
    May 3, 2023
    Page 3 of 12

               Q        Going back to initially when these documents were being packed
                        up in the West Wing, can you explain that process for us as to how
                        they were packed up and what the documents were that you can
                        remember?

               A        We did it by -- we had -- he had a lot of stuff, primarily, you know,
                        a lot of mementos, photos, framed photos, a lot of books.

                        We had to keep the office sort of functioning, so we just, you
                        know -- so we packed those up. And then the documents or any
                        files we just -- you know, we gathered and put in a box for moving.

               [….]

               Q        Okay. And what type of activities did you undertake? So, for
                        example, did you sort through files and pack boxes?

               A        No.

               Q        No[?]

               A        We did not sort through files.6

           Ms. Chung worked as then Vice President Biden’s assistant from July 2012 to the end of
    the Obama-Biden Administration:

               Q        What was your position with the Vice President?

               A        Assistant to the Vice President.

               Q        And as the Assistant to the Vice President, what were your job
                        duties?

               A        Primarily is -- was going through his day-to-day calendar with
                        him, schedule.

               Q        When did you begin that job?

               A        July of 2012.

               Q        And how did you come to interview for that position?



    6
        Transcript, p. 20-21, 56-57.
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 34 of 178

    Ms. Dana Remus
    May 3, 2023
    Page 4 of 12

               A         I was -- I was -- Hunter Biden called me and asked me if I was
                         interested in the position.

               Q         And Hunter Biden is now-President Biden’s son, correct?

               A         Yes.

               Q         And how long did you have that position with Vice President
                         Biden at the time?

               A         I started there at July 2012, and I finished the administration with
                         him.7

            After the Obama-Biden Administration ended, Ms. Chung was employed by then former
    Vice President’s corporate entity, CelticCapri. Employees of CelticCapri (including Ms. Chung)
    worked out of and had access to the Penn Biden Center:

               Q         What did you do after the Obama-Biden administration
                         transitioned?

               A         After we left office, the Vice President had a- opened up a private
                         entity, and I went with him.

               Q         Do you remember the name of that private entity?

               A         CelticCapri.

               Q         Where was that located?

               A         We ended up in Penn Biden Center.8

           In May 2022, you contacted Ms. Chung about packing and moving materials in the
    President’s office at the Penn Biden Center, but she was not aware—contrary to the explanation
    given by the White House in January 2023—of any plan to vacate the office. Ms. Chung
    explained:


               Q         Now, in May of 2022, when Ms. Remus first reached out to you
                         about those documents, was it surprising to you that the White
                         House was reaching out to make sure that those documents were
                         properly packed up and -- I'm sorry. Let me restart that question.



    7
        Transcript, p. 7-8.
    8
        Transcript, p. 11.
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 35 of 178

    Ms. Dana Remus
    May 3, 2023
    Page 5 of 12

                      In May 2022, when Ms. Remus first reached out to you, was the
                      vice -- were plans in progress to close down the Penn Biden
                      Center now that the Vice President was in the White House?

             A        No. Not that I’m aware of.9

            Instead, according to Ms. Chung, you contacted her to pack up the Penn Biden Center
    documents because “they were his documents, [and] they wanted to take possession of them.”10
    You contacted Ms. Chung on her personal email account from your White House email
    account—not her Department of Defense email account.11 On June 28, 2022, Ms. Chung entered
    the Penn Biden Center and packed up 13 boxes that would later be found to have contained
    classified materials. She stated:

             Q        So is it fair to say that you arrived on the morning of June 28th of
                      2022 to pack up the boxes at Penn Biden Center?

             A        Yes, I believe so. Yep.

             Q        And then if you go to exhibit 1, Bates number 98, did you write an
                      email to Dana Remus, White House counsel, on that date?

             A        The 98?

             Q        Yes, so Exhibit 1.

             A        From -- yes, I did.

             Q        And what’s the date of that email?

             A        Tuesday, June 28, 2022.

             Q        So this was the same day that you’re packing up the boxes at Penn
                      Biden Center?

             A        Yes.

             Q        And what time did you send this email?

             A        5:28.

             Q        Did you send this email when you had completed packing up the
                      boxes?
    9
      Transcript, p. 119.
    10
       Transcript, p. 18.
    11
       Transcript, p. 14-15.
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 36 of 178

    Ms. Dana Remus
    May 3, 2023
    Page 6 of 12


               A         It was later that day.

               Q         Sorry. What was later that day?

               A         Oh, when I wrote this email.

               Q         So how much later that day did you write this email from when
                         you finished completing packing up the boxes?

               A         Hours later. Hours later.

               Q         And there you wrote how many boxes?

               A         Thirteen boxes.12

            You left the White House in July 2022. On October 4, 2022, Ms. Chung was notified by
    a Penn Biden Center employee that no one had picked up the boxes that Ms. Chung had packed
    in June 2022:

               Q         Then if we can go to Bates number 115 on exhibit 1, and then if we
                         could start from the second from the bottom, the October 4, 2022,
                         email at 10:32 a.m. from [Penn Biden Center employee 1] to you.
                         What does she write?

               A         “Hi, Kathy. Checking in to see if the below mentioned boxes will
                         be picked up soon. Thanks, [Penn Biden Center employee 1].”

               Q         And what was your response?

               A         “Wait. Did they not pick up back in June?”

               Q         And as you discussed with my colleagues, you were surprised at
                         this point that the items had not been picked up, correct?

               A         Correct.13

            On October 13, 2022, Ms. Chung notified Mr. Bauer, the President’s personal attorney,
    that boxes remained at the Penn Biden Center:

               Q         And in this text message dated October 13 of 2022, you send a text
                         to Mr. Bob Bauer, correct?

    12
         Transcript, p. 87-88.
    13
         Transcript, p. 94.
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 37 of 178

    Ms. Dana Remus
    May 3, 2023
    Page 7 of 12

            A        Yes.

            Q        And you’ve said this before, but you knew Mr. Bauer from
                     previously working in the administration and other government
                     jobs; right?

            A        Yes.

            Q        Can you please read your text to him?

            A        “Bob, one thing I forgot to ask you today. There are still boxes of
                     materials at the Penn Biden Center. They are wondering if
                     someone is going to pick up. Dana went there in June, but decided
                     it was too much to take I was told.”14

             Mr. Bauer responded via text message the same day that “Pat has begun to sort through
    them and so we should get this organized in the near future.”15 According to Ms. Chung, “Pat”
    is a reference to Mr. Patrick Moore, a former personal attorney of President Biden.16 The Penn
    Biden Center is located in Washington D.C. Mr. Moore’s office is in Boston. The National
    Archives has acknowledged it retrieved boxes from Mr. Moore’s Boston office.17

             The Committee believes you have direct knowledge of certain events relevant to this
    investigation prior to your departure from the White House in July 2022. The Committee
    questions why you, as White House Counsel, would task Ms. Chung, an employee at the
    Department of Defense, to do what was then believed to be a personal errand of the President—
    packing personal items not subject to the Presidential Records Act. The Committee questions
    why—if there is a valid reason why White House Counsel would be the appropriate coordinator
    of this task—the President’s personal attorneys assumed responsibility for the task after your
    departure in July 2022, instead of your successor as White House Counsel. The Committee
    questions why you contacted Ms. Chung on her personal telephone and email account.

         B. Ms. Chung’s account complicates the White House’s description of where and how
            classified documents were stored in the Penn Biden Center.

            During her interview with the Committee, Ms. Chung provided information that
    potentially conflicts with the White House’s characterization of how and where documents were
    stored. According to the White House’s statement, in November 2022 the President’s personal
    attorneys discovered the documents in a “locked closet” at the Penn Biden Center while
    preparing to vacate the space.18 As described above, the Committee’s interview with Ms. Chung

    14
       Transcript, p. 95.
    15
       Transcript, p. 96.
    16
       Id.
    17
       Letter from Ms. Debra Steidel Wall, Acting Archivist, Nat’l Archives and Records Admin., to Sen. Ron Johnson
    & Sen. Charles E. Grassley (Mar. 7, 2023).
    18
       Supra, fn. 3.
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 38 of 178

    Ms. Dana Remus
    May 3, 2023
    Page 8 of 12

    showed Ms. Chung—not President Biden’s personal attorneys—packed boxes of documents in
    June 2022, not November 2022. The 13 boxes Ms. Chung packed, as well as additional boxes
    that were never unpacked from the Obama-Biden Administration, were not in a locked closet.
    She stated:

                Q        These boxes, when you went there on June 28th of 2022, and the
                         items, were they in a locked closet?

                A        No.

                Q        Were any of the boxes in a locked closet at all?

                A        No.

                Q        Were any of the items that you boxed up and then put them in the
                         13 boxes so now you’ve boxed them up and packaged them up.
                         Were those boxes placed in a locked closet?

                A        No.

                Q        Would you have even had the ability to lock them in a closet
                         yourself without getting [Penn Biden employees] involved?

                A        No.19

           Additionally, according to Ms. Chung, documents were in multiple places and were not
    secured:

                Q        When you first go into Penn Biden Center, I believe you said you
                         need a fob to get in. Do I remember that correctly?

                A        Yes.

                Q        Do you need a fob to access any other part of Penn Biden Center
                         once you go through the entrance?

                A        No.

                Q        So the fob is just to get you in the entranceway?

                A        Yes, to the suite.



    19
         Transcript, p. 88.
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 39 of 178

    Ms. Dana Remus
    May 3, 2023
    Page 9 of 12

            Q        Okay. In order to get into the storage room, was the storage room
                     locked?

            A        I’m trying to think if [Penn Biden employe 2] or [Penn Biden
                     employee 1] had to unlock -- no, I believe not.

            Q        It’s fair to say since it wasn’t locked, you didn't have a key for the
                     storage room then?

            A        No.

            Q        Did you have any other keys or fobs or anything else related to
                     Penn Biden Center to get in any other areas that could be locked in
                     Penn Biden Center?

            A        I had a fob and a key. I had a key to his office, which was not
                     locked. No.20

            The Committee believes you may possess knowledge or information that would inform
    its investigation into how and where documents were stored at the Penn Biden Center after these
    items were packed by Ms. Chung at your direction on June 28, 2022, and your subsequent
    attempt to retrieve them on June 30, 2022. Additionally, the Committee believes you may
    possess information that would provide important insight regarding the discrepancies between
    Ms. Chung’s explanation and the official account released by the White House after your
    departure from the White House in July 2022.

         C. The timing of your initial outreach to Ms. Chung regarding documents at the Penn
            Biden Center coincides with important dates in the federal government’s subpoena
            for documents at former President Trump’s residence at Mar-a-Lago.

            In January 2022, representatives from the National Archives and Records Administration
    (NARA) retrieved 15 boxes of presidential records from former President Trump’s home at Mar-
    a-Lago, in Florida.21 The boxes reportedly contained classified materials, and in February 2022,
    the FBI opened a criminal investigation of the matter.22 On April 12, 2022, NARA informed
    former President Trump that it would provide the boxes to the FBI in furtherance of the FBI’s
    investigation.23 On April 29, 2022, and May 1, 2022, former President Trump requested an
    extension on NARA taking the documents to the FBI, citing the possibility of the applicability of
    executive privilege to the documents.24


    20
       Transcript, p. 82-83.
    21
       Jill Colvin & Lindsay Whitehurst, A timeline of the investigation into Trump’s Mar-a-Lago docs, AP (Aug. 31,
    2022).
    22
       Id.
    23
       Id.
    24
       Id.
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 40 of 178

    Ms. Dana Remus
    May 3, 2023
    Page 10 of 12

            On May 10, 2022, Acting U.S. Archivist Debra Steidel Wall wrote to Mr. Evan Corcoran,
    a personal attorney for former President Donald Trump, regarding the claim of executive
    privilege.25 In her letter, Ms. Wall noted that “Counsel to the President has informed me that, in
    light of the particular circumstances presented here, President Biden defers to my determination,
    in consultation with the Assistant Attorney General for the Office of Legal Counsel, regarding
    whether or not I should uphold the former President’s purported ‘protective assertion of
    executive privilege.’’26 Ms. Wall “decided not to honor the former President’s ‘protective’ claim
    of privilege” and provided the FBI access to records in NARA’s custody “as early as Thursday,
    May 12, 2022.”27 On May 11, 2022, a grand jury issued a subpoena “directed to the custodian of
    records for the Office of Donald J. Trump” requesting all documents bearing classification
    markings.28 The subpoena return was dated for May 24, 2022—notably, the same day you first
    contacted Ms. Chung to begin coordinating the moving of President Biden’s documents from
    Penn Biden Center.29

         D. The Committee is concerned about the President’s history of not exercising proper
            care toward classified materials.

            Ms. Chung provided valuable insight into the President’s past handling of classified
    material. The Committee is troubled to learn that the President’s irresponsible handling of
    sensitive documents did not begin recently. As described above, the classified documents found
    at the Penn Biden Center on November 2, 2022, were packed originally in the West Wing in
    2017 in part by Ms. Chung.30 The Vice President’s Office did have a secured storage area for
    classified materials, but then Vice President Biden did not use it. Ms. Chung explained:

            Q        And was there a safe in the Vice President’s suite?

            A        Yes, there was. Uh-huh.

            Q        And could the safe have been used to store classified materials?

            A        Yes.

            Q        To your knowledge, was the safe used to store classified materials?

            A        No.




    25
       Letter from Ms. Debra Steidel Wall, Acting Archivist, Nat’l Archives and Records Admin., to Mr. Evan Corcoran
    (May 10, 2022).
    26
       Id.
    27
       Id.
    28
       Supra, fn. 21.
    29
       United States’ Response to Motion for Judicial Oversight and Additional Relief. Trump v. United States, Case No.
    22-CV-81294-CANNON (S.D. FL), p. 8.
    30
       Transcript: p. 22.
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 41 of 178

    Ms. Dana Remus
    May 3, 2023
    Page 11 of 12

             Q         Okay. To your knowledge, is a safe an appropriate place to store
                       classified materials?

             A         Yes, of course.31

           Additionally, Ms. Chung stated that when the Obama-Biden Administration ended on
    January 20, 2017, the boxes she and two other employees of the Office of the Vice President had
    packed with then-undiscovered classified materials were transported to a General Services
    Administration (GSA) facility for approximately six months.32 Then, those materials were
    transported to a temporary office space in Washington, D.C. by Ms. Chung and others:

             Q         Who moved the boxes from the first temporary office to the second
                       temporary office?

             A         From the GSA office, we all put it in our cars and moved it.

             Q         Who’s “we all”?

             A         Oh, Steve, myself, Sam and Melinda.

             Q         And I think you’ve said their last names already, but would you
                       mind just repeating their last names?

             A         Oh, Steve Ricchetti, Melinda Medlin, Sam [Salk], Richard Ruffner
                       and myself.33

            These are disturbing revelations. The President’s haphazard handling of classified
    materials raises many additional questions about the repercussions of these actions, including
    possible threats to national security. As you are aware, additional classified material has been
    discovered at the President’s home in Wilmington, Delaware, including in his garage. The
    Committee believes you may possess information or knowledge that is crucial to understanding
    how those documents arrived in Delaware, as you played a primary role in the events
    precipitating the discovery of documents in the President’s CelticCapri corporate headquarters at
    the Penn Biden Center in Washington, D.C.

            To assist the Committee with this investigation, please provide the following information
    no later than May 19, 2023:

           1. All communications between yourself and Ms. Chung or any employee of CelticCapri
              since May 24, 2022 regarding President Biden’s documents and other items that were
              stored at Penn Biden Center;


    31
       Transcript, p. 113.
    32
       Transcript: p. 32.
    33
       Transcript, p. 33.
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 42 of 178

    Ms. Dana Remus
    May 3, 2023
    Page 12 of 12

            2. All communications between yourself and any employee of the University of
               Pennsylvania or the Penn Biden Center from January 20, 2021 to when you departed
               the White House in July 2022; and

            3. All documents and communications in your possession regarding President Biden’s
               documents and other items that were stored at Penn Biden Center dated prior to your
               departure from the White House in July 2022.
           The Committee has provided instructions regarding how these materials should be
    produced and defined certain terms in the accompanying attachment.34

            Additionally, the Committee requests that you make yourself available for a transcribed
    interview with Committee staff. To arrange the transcribed interview, please contact either
    James Mandolfo or Jake Greenberg with the Committee at (202) 225-5074 by May 30, 2023.

           The Committee on Oversight and Accountability is the principal oversight committee of
    the U.S. House of Representatives and has broad authority to investigate “any matter” at “any
    time” under House Rule X.

          Thank you for your prompt attention to this important investigation.

                                           Sincerely,



                                           ___________________________
                                           James Comer
                                           Chairman
                                           Committee on Oversight and Accountability

    cc:       The Honorable Jamie B. Raskin, Ranking Member
              Committee on Oversight and Accountability




    34
         Attachment A.
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 43 of 178




            EXHIBIT 3
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 44 of 178




                                                 January 10, 2023
    Ms. Debra Steidel Wall
    Acting Archivist of the United States
    700 Pennsylvania Avenue, NW
    Washington, DC 20408

    Dear Ms. Steidel Wall:

            The Committee on Oversight and Accountability is investigating whether there is a
    political bias at the National Archives and Records Administration (NARA). For months,
    NARA failed to disclose to Committee Republicans or the American public that President
    Biden—after serving as Vice President—stored highly classified documents in a closet at his
    personal office. 1 NARA learned about these documents days before the 2022 midterm elections
    and did not alert the public that President Biden was potentially violating the law. Meanwhile,
    NARA instigated a public and unprecedented FBI raid at Mar-a-Lago—former President
    Trump’s home—to retrieve presidential records. NARA’s inconsistent treatment of recovering
    classified records held by former President Trump and President Biden raises questions about
    political bias at the agency.
            In the aftermath of the FBI’s August 8, 2022, raid of Mar-a-Lago, NARA attempted to
    both minimize its role in the matter and explain that the Obama-Biden Administration’s handling
    of documents was proper and complete. In an October 11, 2022, statement, NARA claimed it
    had assumed physical custody of all Obama-Biden Administration records when the President
    and Vice President left office. 2 NARA claimed, “[r]eports that indicate or imply that those
    Presidential records were in the possession of the former Presidents or their representatives, after
    they left office, or that the records were housed in substandard conditions, are false and
    misleading.” 3 NARA’s statement was apparently false and never corrected after learning that
    President Biden stored classified documents at Penn Biden Center. 4
           On November 2, 2022, a week before the midterm elections, President Biden’s personal
    attorneys—whose level of security clearance remains unknown—“discovered” classified
    Obama-Biden Administration documents that were quietly handed off to the U.S. Department of


    1
      Shawna Chen, Classified docs from Biden’s VP days found in private office, AXIOS (Jan. 9, 2023).
    2
      Statement, NATIONAL ARCHIVES (Oct. 11, 2022), available at https://www.archives.gov/press/press-
    releases/2022/nr22-001.
    3
      Id.
    4
      Id.
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 45 of 178




    Justice without executing a residential search warrant. 5 The documents retrieved from President
    Biden’s personal office included documents designated as “sensitive compartmented information
    . . . which is used for highly sensitive information obtained from intelligence sources.” 6
            NARA’s public enforcement of the Presidential Records Act against former President
    Trump while failing to disclose violations by President Biden to Committee Republicans and the
    American public raises concerns about inconsistent policy and procedures at the agency that
    creates the appearance of political bias. As such, please provide the following documents and
    information as soon as possible, but no later than January 24, 2023:
            1. All documents and communications between NARA and the White House related to
               classified documents at the Penn Biden Center;

            2. All documents and communications between and among NARA employees,
               including Gary Stern and John Hamilton related to classified documents at the Penn
               Biden Center;

            3. All documents and communications between NARA and the Department of Justice
               related to classified documents at the Penn Biden Center; and

            4. All documents and communications between NARA and any outside entity, including
               President Biden’s attorneys, related to classified documents at the Penn Biden Center.
          Additionally, we request that you make Gary Stern, NARA General Counsel, and John
    Hamilton, NARA Director of Congressional Affairs, available for transcribed interviews with
    Committee staff regarding this matter. Please schedule these interviews no later than January 17,
    2023.
            The Committee on Oversight and Accountability has specific jurisdiction over NARA
    under House Rule X. Additionally, the Committee on Oversight and Accountability is the
    principal oversight committee of the U.S. House of Representatives and has broad authority to
    investigate “any matter” at “any time” under House Rule X. If you have any questions about this
    request, please contact Committee on Oversight and Accountability staff at (202) 225-5074.
            Thank you for your prompt attention to this important investigation.




    5
      Jamie Gangel, Marshall Cohen, Evan Perez & Phil Mattingly, Classified documents from Biden’s time as VP
    discovered in private office, CNN.COM (Jan. 9, 2023).
    6
      Id.
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 46 of 178




                                    Sincerely,


                                    __________________________
                                    James Comer
                                    Chairman
                                    Committee on Oversight and Accountability


    cc:   The Honorable Jamie B. Raskin, Ranking Member
          Committee on Oversight and Accountability
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 47 of 178




            EXHIBIT 4
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 48 of 178




                    Post

             \9   lanSams


            Statement from White House Counsel's Office clarifying a prior
            statement, releasing additional information about the process, and
            stressing ongoing direct cooperation with DOJ and the Special Counsel:


                                           Statement (Tom Riclmrd Sn11ber, SptocL'II ComW!:l t o I.he Pn_.ldt-nt

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Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 49 of 178




                           Statement from Richard Sauber, Special Counsel to tl1e President
      President Biden's personal attorneys have followed a process, coordinated with the Archives and the Department of
      Justice, to review documents at the Penn Biden Center and the President's Delaware residences. The President's
      personal attorneys conducting the searches do not have active security clearances, so if they identified a document
      \\1th a classified marking, they stopped and did not review it, and suspended any further search in that box, file or
      other specific space where the document was found, as appropriate. Since the DOJ made contact with the President's
      personal attorneys, the next step in the process was to notify DOJ and to arrange for DOJ to take possession of the
      document. This is what occurred in Wilmington on Wednesday when the President's personal attorneys discovered
      one document with a classified marking consisting of one page in a room adjacent to the garage. At that point, the
      President's personal attorneys stopped searching the immediate area where the document was found.

      Because I have a security clearance, I went to Wilmington Thursday evening to facilitate providing the doctm1ent the
      President's personal counsel found on Wednesday to the J ustice Department. While I was transferring it to the DOJ
      officials who accompanied me, five additional pages \\1th classification markings were discovered among the material
      "1th it, for a total of six pages. The DOJ officials with me immediately took possession of them.

      The President's lawyers have acted immediately and voluntarily to provide the Penn Biden documents to the Archives
      and the Wilmington documents to DOJ. We have now publicly released specific detaHs about the documents
      identified, how they were identified, and where they were found. The appointment of the Special Counsel in this
      matter this week means we will now refer specific questions to the Special Counsel's office moving forward. As I said
      Thursday, the White House\\~ cooperate with the newly-appointed Special Counsel.
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 50 of 178




            EXHIBIT 5
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 51 of 178




                                                 March 7, 2023
    Mr. Jeff Zients
    White House Chief of Staff
    1600 Pennsylvania Avenue, NW
    Washington, DC 20500

    Dear Mr. Zients,

            The Committee on Oversight and Accountability continues to investigate President
    Biden’s mishandling of highly classified documents. The Committee has previously written the
    White House regarding this matter on January 10, 2023; January 13, 2023; and January 15, 2023.
    However, the White House has produced no documents and neglected to provide a substantive
    response to the Committee’s requests. Meanwhile, reports indicate the Federal Bureau of
    Investigation continues its search for more classified documents, most recently at the University
    of Delaware.1 The Committee is concerned about President Biden’s lack of transparency given
    the serious national security implications of his conduct.

           On January 31, 2023, the Committee conducted a transcribed interview with National
    Archives and Records Administration’s (NARA) general counsel, Gary Stern. The interview
    revealed information regarding President Biden’s mishandling of classified documents and
    NARA’s response. During questioning by Committee counsel, Mr. Stern acknowledged that on
    January 9, 2023, when CBS broke the news that President Biden stored classified materials at
    Penn Biden Center, 2 NARA drafted a public statement in response. Mr. Stern disclosed to the
    Committee that someone outside of NARA withheld its release. In complete contrast, on
    February 7, 2022, when the Washington Post broke the story that classified documents were
    found in President Trump’s Mar-a-Lago home, NARA employees, including Gary Stern, drafted
    and published a statement on the agency’s website that same day.3 Mr. Stern stated:




    1
      Paula Reid, First on CNN: FBI searched University of Delaware for Biden documents, source says, CNN (Feb. 15,
    2023).
    2
      Adriana Diaz, Amdres Triay, Arden Farhi, U.S. attorney reviewing documents marked classified from Joe Biden’s
    vice presidency found at Biden think tank, CBS Evening News (updated Jan 10, 2023).
    3
      Jacqueline Alemany, Josh Dawsey, Tom Hamburger, and Ashley Parker, National Archives had to retrieve Trump
    White House records from Mar-a-Lago, WASH. POST (Feb. 7, 2022).
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 52 of 178

    Mr. Jeff Zients
    March 7, 2023
    Page 2 of 4

           Q.         On January 9th of 2023, CBS broke the story that President Biden
                      stored documents at Penn Biden Center that were subject to the
                      Presidential Records Act and also contained classified material.

                      Did you draft a statement in response to that CBS report?

           A.         NARA did draft a statement.

           Q.         Did it go public?

           A.         No.

           Q.         Who prevented that statement from going public?

           A.         According to the DOJ guidance, I’m not supposed to talk about the,
                      you know, content of our communications with other parties.

           Q.         So I just want to be clear. You published, being National Archives,
                      a statement regarding President Trump’s alleged possession of these
                      materials at Mar-a-Lago the same day that the Washington Post
                      story breaks, correct? Is that right?

           A.         We did, yes.

           Q.         You drafted it. You developed it.

           A.         I helped draft it, yes.

           Q.         But then, on January 9th of 2023, when the story breaks with CBS
                      that President Biden has materials that are classified and subject to
                      the Presidential Records Act, the National Archives actually drafted
                      a press statement that has never made it to light?

           A.         Yes.

            Congressman Jim Jordan asked Mr. Stern whether someone within NARA instructed that
    the statement not be released publicly. Mr. Stern asserted it was not a person at NARA who was
    responsible for blocking the statement:

           Mr. Jordan.        So I’m not talking about communications outside NARA.
                              I’m talking about inside NARA. Did someone tell you not
                              to put it out within the National Archives.
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 53 of 178

    Mr. Jeff Zients
    March 7, 2023
    Page 3 of 4


           Mr. Stern.         No.

           In addition, Mr. Stern confirmed with Committee counsel that President Biden can
    publicly release his communications between his attorneys and NARA. Indeed, the Committee
    learned that President Biden is “free to release” all of his representatives’ communications and
    be completely transparent with the American people, if he chooses. Mr. Stern stated:

           Q.         Couldn’t President Biden just release the emails from his attorneys
                      and his representatives who contacted National Archives, himself,
                      so that it would be public for everyone to view?

           A.         Yeah, I can’t speak for other parties. I mean, again, you’ve asked
                      for our communications, you know, including internal
                      communications and with all those parties, which are still under
                      review. And, I mean, it is quite possible that I will be able to provide
                      you that information; I’m just not able to do that right at this
                      moment.

           Q.         But there’s nothing preventing the President of the United States
                      from releasing the emails from his representatives and his attorneys
                      to the National Archives for the public to view. In other words, the
                      National Archives isn’t preventing President Biden from releasing
                      those documents, correct?

           A.         That is correct. And that’s the same with President Trump and his
                      representatives.    They are free to release, you know, the
                      communications they receive from us. We treat them as – we treat
                      them as confidential, but the recipients, you know, can act
                      independently if they want to.

             The Committee’s transcribed interview with NARA General Counsel Gary Stern raises
    more questions regarding the Biden Administration’s involvement in suppressing information
    related to President Biden’s mishandling of classified documents. The Committee reiterates its
    previous requests to the White House for documents and information outlined in our January 10,
    2023, January 13, 2023, and January 15, 2023, letters. Further, please provide the following
    answers, documents, and communications no later than March 21, 2023:

       1) Did any White House staff member or representative of President Biden inform any
          employee of NARA to withhold any public statements regarding President Biden’s
          mishandling of classified documents? If so, who?
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 54 of 178

    Mr. Jeff Zients
    March 7, 2023
    Page 4 of 4

          2) All documents and communications regarding the withholding of NARA’s statement it
             intended to issue on January 9, 2023, related to President Biden’s mishandling and
             storage of classified documents at Penn Biden Center; and

          3) Mr. Stern stated President Biden is “free to release” his emails between his attorneys/
             representatives and NARA. Will President Biden release his attorneys’ and
             representatives’ communications with NARA for the public to view?4

            The Committee has provided instructions regarding how these materials should be
    produced and defined certain terms in the accompanying attachment.5 To make arrangements to
    deliver documents or ask any related follow-up questions, please contact Committee on
    Oversight and Accountability staff at (202) 225-5074.
           The Committee on Oversight and Accountability is the principal oversight committee of
    the U.S. House of Representatives and has broad authority to investigate “any matter” at “any
    time” under House Rule X.
             Thank you for your prompt attention to this important investigation.
                                               Sincerely,


                                               __________________________
                                               James Comer
                                               Chairman
                                               Committee on Oversight and Accountability


    cc:      The Honorable Jamie B. Raskin, Ranking Member
             Committee on Oversight and Accountability




    4
      NARA has made only one production of materials related to this matter that cover communications between
    President Biden’s personal attorneys and NARA from November 7, 2022 to November 10, 2022. See
    https://www.archives.gov/foia/biden-vp-records-covered-by-pra.
    5
      See Attachment A.
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 55 of 178




            EXHIBIT 6
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 56 of 178



    O’Melveny & Myers LLP                 T: +1 202 383 5300                                                         File Number:
    1625 Eye Street, NW                   F: +1 202 383 5414
    Washington, DC 20006-4061             omm.com




                                                                                                                     Greg Jacob
    January 18, 2023                                                                                                 D: +1 202 383 5110
                                                                                                                     gjacob@omm.com
    Kate Dillon McClure
    Acting Director, White House Liaison Division
    National Archives and Records Administration
    700 Pennsylvania Avenue, NW
    Washington, DC 20408-0001

    Dear Ms. McClure:

    As Vice President Mike Pence’s designated representative to the National Archives, I write to
    request your assistance with collecting and transferring to the custody of the National Archives
    an additional set of Vice Presidential records. The additional records appear to be a small
    number of documents bearing classified markings that were inadvertently boxed and
    transported to the personal home of the former Vice President at the end of the last
    Administration. Vice President Pence was unaware of the existence of sensitive or classified
    documents at his personal residence. Vice President Pence understands the high importance
    of protecting sensitive and classified information and stands ready and willing to cooperate fully
    with the National Archives and any appropriate inquiry.

    Following press reports of classified documents at the personal home of President Biden, out of
    an abundance of caution, on Monday, January 16, Vice President Pence engaged outside
    counsel, with experience in handling classified documents, to review records stored in his
    personal home. Counsel identified a small number of documents that could potentially contain
    sensitive or classified information interspersed throughout the records. Vice President Pence’s
    counsel, however, is unable to provide an exact description of the folders or briefing materials
    that may contain sensitive or classified information because counsel did not review the contents
    of the documents once an indicator of potential classification was identified. Vice President
    Pence immediately secured those documents in a locked safe pending further direction on
    proper handling from the National Archives.

    Vice President Pence has directed his representatives to work with the National Archives to
    ensure their prompt and secure return. Vice President Pence appreciates the good work of the
    staff at the National Archives and trusts they will provide proper counsel in response to this
    letter.




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Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 57 of 178




                                Sincerely,



                                /s Greg Jacob
                                Gregory F. Jacob
                                Designated Representative
                                Pence Vice Presidential records




                                                                              2
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 58 of 178




            EXHIBIT 7
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 59 of 178



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                                                                                                                     Greg Jacob
    January 22, 2023                                                                                                 D: +1 202 383 5110
                                                                                                                     gjacob@omm.com
    William “Jay” Bosanko
    Chief Operating Officer
    National Archives and Records Administration
    700 Pennsylvania Avenue, NW
    Washington, DC 20408-0001

    Dear Mr. Bosanko:

    Thank you for your prompt response to my letter dated January 18, 2023 concerning the
    collection of certain papers containing what appeared to be classified markings found at the
    residence of Vice President Pence on January 16. When we spoke at noon on January 19, you,
    together with National Archives General Counsel Gary Stern, explained to me the procedures
    by which the National Archives has historically taken custody of potential Presidential or Vice
    Presidential Records—including, most recently, those of President Biden and of former
    President Trump. You also explained to me the standard procedures by which the Department
    of Justice has thereafter requested and obtained access to such documents pursuant to the
    Presidential Record Act (“PRA”).

    As you are aware, on the evening of January 19, the Department of Justice bypassed the
    standard procedures and requested direct possession. Even though the Vice President was in
    Washington, D.C. to attend the March for Life, he still immediately agreed in the interest of
    ensuring an expeditious collection. FBI agents came to the Indiana residence of Vice President
    Pence at 9:30 p.m. to collect the documents that had been secured in his safe. The transfer
    was facilitated by the Vice President’s personal attorney, who has experience in handling
    classified documents, and who conducted the prior review on January 16.

    Prior to the Department of Justice’s intervention, on our noon phone call on January 19, you
    suggested that Vice President Pence consider voluntarily providing to the Archives the two
    boxes in which the records had been found, as well as any other boxes containing copies of
    Administration papers. You stated this voluntary transfer of papers would permit the Archives to
    conduct a PRA review to ensure the boxes did not contain any original documents that could
    qualify as Presidential Records, that the Archives had not already obtained through the records
    transmission process at the end of the Administration. You assured me that all personal papers
    and effects of the Vice President would be returned once this review is complete, subject to any
    legal holds that might temporarily limit their return.

    I promptly called you back on the afternoon of January 19 and advised you that the Vice
    President had agreed to allow the Archives to collect the boxes at the same time that it collected
    the papers appearing to bear classified markings that had been placed in the Vice President’s



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Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 60 of 178




    safe, so that the Archives could conduct the recommended review. I confirmed that four boxes
    contained copies of Administration papers: the two boxes in which a small number of papers
    appearing to bear classified markings had been found, and two separate boxes containing
    courtesy copies of Vice Presidential papers. The Vice President is, of course, permitted to
    obtain and retain copies of his own Vice Presidential records at any time. I expressed to you my
    expectation that the substantial majority of the documents in the four boxes would, upon
    examination, be found to be personal copies of other records that were previously transmitted to
    the Archives.

    Following the Department of Justice’s unexpected collection of the documents from the safe on
    the night of January 19, I contacted you again on January 20 to reiterate the offer the Vice
    President had made the day before to transfer the four boxes containing copies of
    Administration papers to the Archives for a PRA review. You indicated that the Archives did not
    have the capacity to arrange for the logistics of a near-term collection in Indiana, but that the
    Archives had determined it would be appropriate for the Vice President’s agents to transport the
    four boxes to Washington, DC.

    I will personally deliver the boxes to the Archives between 10:00 and 11:00 a.m. on Monday,
    January 23. The boxes were sealed at the Vice President’s residence in Indiana, following a
    final review by the Vice President’s personal attorney during which attorney-client privileged
    materials related to personal capacity attorneys, and Article I legislative branch materials, were
    placed in sealed and clearly labeled envelopes. All of the documents within the boxes, and
    within the sealed envelopes, remain in the exact place and order in which they were discovered
    on January 16. The Vice President is not waiving any privileges pertaining to the clearly labeled
    materials.

    The Vice President has requested that I convey his thanks to you for your responsiveness and
    professionalism throughout your handling of this matter.

                                        Sincerely,



                                        /s Greg Jacob
                                        Gregory F. Jacob
                                        Designated Representative
                                        Pence Vice Presidential records




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Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 61 of 178




            EXHIBIT 8
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 62 of 178




           Case 3:15-cr-00047-DCK Document 3 Filed 03/03/15 Page 1 of 15
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 63 of 178




           Case 3:15-cr-00047-DCK Document 3 Filed 03/03/15 Page 2 of 15
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 64 of 178




           Case 3:15-cr-00047-DCK Document 3 Filed 03/03/15 Page 3 of 15
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 65 of 178




           Case 3:15-cr-00047-DCK Document 3 Filed 03/03/15 Page 4 of 15
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 66 of 178




           Case 3:15-cr-00047-DCK Document 3 Filed 03/03/15 Page 5 of 15
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 67 of 178




           Case 3:15-cr-00047-DCK Document 3 Filed 03/03/15 Page 6 of 15
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 68 of 178




           Case 3:15-cr-00047-DCK Document 3 Filed 03/03/15 Page 7 of 15
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 69 of 178




           Case 3:15-cr-00047-DCK Document 3 Filed 03/03/15 Page 8 of 15
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 70 of 178




           Case 3:15-cr-00047-DCK Document 3 Filed 03/03/15 Page 9 of 15
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 71 of 178




           Case 3:15-cr-00047-DCK Document 3 Filed 03/03/15 Page 10 of 15
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 72 of 178




           Case 3:15-cr-00047-DCK Document 3 Filed 03/03/15 Page 11 of 15
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 73 of 178




           Case 3:15-cr-00047-DCK Document 3 Filed 03/03/15 Page 12 of 15
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 74 of 178




           Case 3:15-cr-00047-DCK Document 3 Filed 03/03/15 Page 13 of 15
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 75 of 178




           Case 3:15-cr-00047-DCK Document 3 Filed 03/03/15 Page 14 of 15
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 76 of 178




           Case 3:15-cr-00047-DCK Document 3 Filed 03/03/15 Page 15 of 15
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 77 of 178




            EXHIBIT 9
Case 9:23-cr-80101-AMC
              Case 1:05-mj-00175-DAR
                          Document 508Document
                                       Entered on
                                               6 FLSD
                                                  Filed 04/01/05
                                                        Docket 05/02/2024
                                                                 Page 1 of 3Page 78 of 178
Case 9:23-cr-80101-AMC
              Case 1:05-mj-00175-DAR
                          Document 508Document
                                       Entered on
                                               6 FLSD
                                                  Filed 04/01/05
                                                        Docket 05/02/2024
                                                                 Page 2 of 3Page 79 of 178
Case 9:23-cr-80101-AMC
              Case 1:05-mj-00175-DAR
                          Document 508Document
                                       Entered on
                                               6 FLSD
                                                  Filed 04/01/05
                                                        Docket 05/02/2024
                                                                 Page 3 of 3Page 80 of 178
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 81 of 178




          EXHIBIT 10
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 82 of 178
                                  UNCLASSIFIED




              REPORT OF INVESTIGATION




       IMPROPER HANDLING OF CLASSIFIED INFORMATION BY
                      JOHN M. DEUTCH
                        (1998-0028-IG)

                                February 18, 2000


       L. Britt Snider                               Daniel S. Seikaly
       Inspector General                             Assistant Inspector General
                                                       for Investigations




                                  UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 83 of 178
                                  UNCLASSIFIED



                                    TABLE OF CONTENTS
                                                                                                Page
       INTRODUCTION ............................................................................1

       SUMMARY .........................................................................................2

       BACKGROUND................................................................................4

       PROCEDURES AND RESOURCES............................................4

       QUESTIONS PRESENTED ...........................................................5

       CHRONOLOGY OF SIGNIFICANT EVENTS .......................9

       FINDINGS........................................................................................11
         WHY WAS DEUTCH ISSUED GOVERNMENT COMPUTERS CONFIGURED
         FOR UNCLASSIFIED USE AND WERE HIS COMPUTER SYSTEMS
         APPROPRIATELY MARKED AS UNCLASSIFIED?...................................... 11


         WHY WAS DEUTCH PERMITTED TO RETAIN GOVERNMENT COMPUTERS
         AFTER RESIGNING AS DCI? ................................................................. 13


         WHAT INFORMATION WAS FOUND ON DEUTCH ’S MAGNETIC MEDIA?. 17

         WHAT VULNERABILITIES MAY HAVE ALLOWED THE HOSTILE
         EXPLOITATION OF DEUTCH ’S UNPROTECTED COMPUTER MEDIA?....... 29


         COULD IT BE DETERMINED IF CLASSIFIED INFORMATION ON DEUTCH ’S
         UNCLASSIFIED COMPUTER WAS COMPROMISED?................................. 33


         WHAT KNOWLEDGE DID DEUTCH HAVE CONCERNING VULNERABILITIES
         ASSOCIATED WITH COMPUTERS?......................................................... 33


         HAD DEUTCH PREVIOUSLY BEEN FOUND TO HAVE MISHANDLED
         CLASSIFIED INFORMATION? ................................................................ 39




                                                   i
                                              UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 84 of 178
                                  UNCLASSIFIED



         WHAT LAWS, REGULATIONS, AGREEMENTS, AND POLICIES HAVE
         POTENTIAL APPLICATION?.................................................................. 41


         HOW WAS A SIMILAR CASE HANDLED?................................................ 43

         WHAT ACTIONS DID SENIOR AGENCY OFFICIALS TAKE IN HANDLING
         THE DEUTCH CASE?............................................................................. 44


         SHOULD A CRIMES REPORT INITIALLY HAVE BEEN FILED ON DEUTCH IN
         THIS CASE? .......................................................................................... 55


         SHOULD APPLICATION OF THE INDEPENDENT COUNSEL STATUTE HAVE
         BEEN CONSIDERED? ............................................................................ 63


         WERE SENIOR AGENCY OFFICIALS OBLIGATED TO NOTIFY THE
         CONGRESSIONAL OVERSIGHT COMMITTEES OR THE INTELLIGENCE
         OVERSIGHT BOARD OF THE PRESIDENT'S FOREIGN INTELLIGENCE
         ADVISORY BOARD? WERE THESE ENTITIES NOTIFIED?....................... 65

         WHY WAS NO ADMINISTRATIVE SANCTION IMPOSED ON DEUTCH ? .... 68

         WHAT WAS OIG’S INVOLVEMENT IN THIS CASE?................................. 67

         WHAT IS DEUTCH ’S CURRENT STATUS WITH THE CIA?........................ 77

         WHAT WAS THE DISPOSITION OF OIG’S CRIMES REPORT TO THE
         DEPARTMENT OF JUSTICE?.................................................................. 78

       CONCLUSIONS .............................................................................78

       RECOMMENDATIONS...............................................................81




                                                     ii
                                                UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 85 of 178
                                  UNCLASSIFIED



                       OFFICE OF INSPECTOR GENERAL
                           INVESTIGATIONS STAFF



                   REPORT OF INVESTIGATION

       IMPROPER HANDLING OF CLASSIFIED INFORMATION BY
                      JOHN M. DEUTCH
                        (1998-0028-IG)

                                 February 18, 2000

             This unclassified report has been prepared from the July 13,
       1999 version of the classified Report of Investigation at the request
       of the Senate Select Committee on Intelligence. Information in this
       version is current as of the date of the original report. All classified
       information contained in the original Report of Investigation has
       been deleted.

                                INTRODUCTION

              1. John M. Deutch held the position of Director of Central
       Intelligence (DCI) from May 10, 1995 until December 14, 1996.
       Several days after Deutch’s official departure as DCI, classified
       material was discovered on Deutch’s government-owned computer,
       located at his Bethesda, Maryland residence.

             2. The computer had been designated for unclassified use
       only and was connected to a modem. This computer had been used
       to access [an Internet Service Provider (ISP)], the Internet,
       [Deutch's bank], and the Department of Defense (DoD). This
       report of investigation examines Deutch’s improper handling of
       classified information during his tenure as DCI and how CIA
       addressed this matter.



                                         1
                                    UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 86 of 178
                                  UNCLASSIFIED



             3. Currently, Deutch is a professor at the Massachusetts
       Institute of Technology. He also has two, no-fee contracts with the
       CIA. The first is to provide consulting services to the current DCI
       and his senior managers; this contract went into effect on December
       16, 1996, has been renewed twice, and will expire in December
       1999. The second contract is for Deutch’s appointment to serve on
       the Commission to Assess the Organization of the Federal
       Government to Combat the Proliferation of Weapons of Mass
       Destruction (Proliferation Commission). Under the terms of the
       second contract, this appointment will continue until the
       termination of the Commission.


                                                      SUMMARY

             4. The discovery of classified information on Deutch’s
       unclassified computer on December 17, 1996 was immediately
       brought to the attention of senior Agency managers. In January
       1997, the Office of Personnel Security (OPS), Special Investigations
       Branch (SIB), was asked to conduct a security investigation of this
       matter.1 A technical exploitation team, consisting of personnel
       expert in data recovery, retrieved the data from Deutch’s
       unclassified magnetic media and computers. The results of the
       inquiry were presented to CIA senior management in the spring
       and summer of 1997.

            5. The Office of General Counsel (OGC) had been informed
       immediately of the discovery of classified information on Deutch's
       computer. Although such a discovery could be expected to
       generate a crimes report to the Department of Justice (DoJ), OGC
       determined such a report was not necessary in this case. No other

       1 OPS was established in 1994 and was subsumed as part of the new Center for CIA Security in
       1998. The mission of OPS was to collect and analyze data on individuals employed by or affiliated
       with the Agency, for the purpose of determining initial and continued reliability and suitability for
       access to national security information. SIB conducts investigations primarily related to suitability
       and internal security concerns of the Agency. SIB often works with the OIG, handling initial
       investigations, and refers cases to the OIG and/or the proper law enforcement authority once
       criminal conduct is detected.

                                                    2
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Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 87 of 178
                                  UNCLASSIFIED



       actions, including notification of the Intelligence Oversight
       Committees of the Congress2 or the Intelligence Oversight Board of
       the President’s Foreign Intelligence Advisory Board, were taken
       until the Office of Inspector General (OIG) opened a formal
       investigation in March 1998. On March 19, 1998, OIG referred the
       matter to DoJ. On April 14, 1999, the Attorney General declined
       prosecution and suggested a review to determine Deutch’s
       suitability for continued access to classified information.

             6. Deutch continuously processed classified information on
       government-owned desktop computers configured for unclassified
       use during his tenure as DCI. These unclassified computers were
       located in Deutch’s Bethesda, Maryland and Belmont,
       Massachusetts residences,3 his offices in the Old Executive Office
       Building (OEOB), and at CIA Headquarters. Deutch also used an
       Agency-issued unclassified laptop computer to process classified
       information. All were connected to or contained modems that
       allowed external connectivity to computer networks such as the
       Internet. Such computers are vulnerable to attacks by unauthorized
       persons. CIA personnel retrieved [classified] information from
       Deutch’s unclassified computers and magnetic media related to
       covert action, Top Secret communications intelligence and the
       National Reconnaissance Program budget.

             7. The OIG investigation has established that Deutch was
       aware of prohibitions relating to the use of unclassified computers
       for processing classified information. He was further aware of
       specific vulnerabilities related to the use of unclassified computers
       that were connected to the Internet. Despite this knowledge,
       Deutch processed a large volume of highly classified information
       on these unclassified computers, taking no steps to restrict


       2 Congressional oversight is provided by the Senate Select Committee on Intelligence (SSCI) and the
       House Permanent Select Committee on Intelligence (HPSCI). The two appropriations committees—
       the Senate Appropriations Committee, Subcommittee on Defense (SAC) and the House
       Appropriations Committee, National Security Subcommittee (HAC)—also bear oversight
       responsibilities.
       3 Hereafter, the residences will be referred to as Maryland and Belmont.


                                                    3
                                               UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 88 of 178
                                  UNCLASSIFIED



       unauthorized access to the information and thereby placing
       national security information at risk.

             8. Furthermore, the OIG investigation noted anomalies in the
       way senior CIA officials responded to this matter. These anomalies
       include the failure to allow a formal interview of Deutch, and the
       absence of an appropriate process to review Deutch’s suitability for
       continued access to classified information.


                                    BACKGROUND

             9. In 1998, during the course of an unrelated investigation,
       OIG became aware of additional circumstances surrounding an
       earlier allegation that in 1996 Deutch had mishandled classified
       information. According to the 1996 allegation, classified
       information was found on a computer configured for unclassified
       use at Deutch’s Maryland residence. This computer had been used
       to connect to the Internet. Additionally, unsecured classified
       magnetic media was found in Deutch’s study at the residence.
       Further investigation uncovered additional classified information
       on other Agency-owned unclassified computers issued to Deutch.
       In 1998, OIG learned that senior Agency officials were apprised of
       the results of the OPS investigation but did not take action to
       properly resolve this matter. The Inspector General initiated an
       independent investigation of Deutch’s alleged mishandling of
       classified information and whether the matter was appropriately
       dealt with by senior Agency officials.


                         PROCEDURES AND RESOURCES

            10. OIG assigned a Supervisory Investigator, five Special
       Investigators, a Research Assistant, and a Secretary to this
       investigation. The team of investigators interviewed more than 45
       persons thought to possess knowledge pertinent to the
       investigation, including Deutch, DCI George Tenet, former CIA

                                        4
                                   UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 89 of 178
                                  UNCLASSIFIED



       Executive Director Nora Slatkin, former CIA General Counsel
       Michael O’Neil, and [the] former FBI General Counsel. The team
       reviewed security files, memoranda for the record written
       contemporaneously with the events under investigation, data
       recovered from Deutch’s unclassified magnetic media,
       Congressional testimony, and material related to cases involving
       other individuals who mishandled classified information.
       Pertinent information was also sought from the National Security
       Agency (NSA), the DoD, and an Internet service provider (ISP). In
       addition, the team reviewed applicable criminal statutes, Director
       of Central Intelligence Directives, and Agency rules and
       regulations.


                              QUESTIONS PRESENTED


            11. This Report of Investigation addresses the following
       questions:

             ♦ Why was Deutch issued government computers configured
               for unclassified use and were his computer systems
               appropriately marked as unclassified?

             ♦ Why was Deutch permitted to retain government
               computers after resigning as DCI?

             ♦ What information was found on Deutch’s magnetic media?

                  ♦ How was the classified material discovered?

                  ♦ What steps were taken to gather the material?

                  ♦ What steps were taken to recover information
                    residing on Deutch’s magnetic media?



                                        5
                                   UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 90 of 178
                                  UNCLASSIFIED



                  ♦ What are some examples of the classified material
                    that was found?

             ♦ What vulnerabilities may have allowed the hostile
               exploitation of Deutch’s unprotected computer media?

                  ♦ What was the electronic vulnerability of Deutch’s
                    magnetic media?

                  ♦ What was the physical vulnerability of Deutch’s
                    magnetic media?

             ♦ Could it be determined if classified information on
               Deutch’s unclassified computer was compromised?

             ♦ What knowledge did Deutch have concerning
               vulnerabilities associated with computers?

                  ♦ What is Deutch’s recollection?

                  ♦ What did Deutch learn at [an] operational briefing?

                  ♦ What was Deutch’s Congressional testimony?

                  ♦ What are the personal recollections of DCI staff
                    members?

             ♦ Had Deutch previously been found to have mishandled
               classified information?

             ♦ What laws, regulations, agreements, and policies have
               potential application?

             ♦ How was a similar case handled?




                                        6
                                   UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 91 of 178
                                  UNCLASSIFIED



             ♦ What actions did senior Agency officials take in handling
               the Deutch case?

                  ♦ What actions were taken by senior Agency officials
                    after learning of this matter?

                  ♦ How were the Maryland Personal Computer
                    Memory Card International Association (PCMCIA)
                    cards handled?

                  ♦ What was the course of the Special Investigations
                    Branch’s investigation of Deutch?

             ♦ Should a crimes report initially have been filed on Deutch
               in this case?

             ♦ Should application of the Independent Counsel statute have
               been considered?

             ♦ Were senior Agency officials obligated to notify the
               Congressional oversight committees or the Intelligence
               Oversight Board of the President's Foreign Intelligence
               Advisory Board? Were these entities notified?

             ♦ Why was no administrative sanction imposed on Deutch?

             ♦ What was OIG’s involvement in this case?

                  ♦ When did OIG first learn of this incident?

                  ♦ Why did OIG wait until March 1998 to open an
                    investigation?

                  ♦ What steps were taken by OIG after opening its
                    investigation?


                                        7
                                   UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 92 of 178
                                  UNCLASSIFIED



             ♦ What is Deutch’s current status with the CIA?

             ♦ What was the disposition of OIG’s crimes report to the
               Department of Justice?




                                        8
                                   UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 93 of 178
                                  UNCLASSIFIED



                            CHRONOLOGY OF SIGNIFICANT EVENTS

       1995

       January 1     John Deutch establishes Internet access via an [ISP provider].

       May 10        Deutch sworn in as DCI.

       June 15       Earliest classified document later recovered by technical exploitation team.

       August 1      Deutch receives [a] briefing on computer attacks.

       1996

       December 5    Deutch requests that he be able to retain computers after he leaves office.

       December 13   Deutch signs a no-fee consulting contract permitting him to retain government
                     computers.

       December 14   Deutch’s last day as DCI.

       December 17   Classified information found on Deutch’s computer in Bethesda, Maryland. Slatkin
                     and O’Neil notified. Slatkin notifies Tenet within a day. O’Neil informs Deutch of
                     discovery.

       December 23   Four PCMCIA cards retrieved from Deutch and given to O’Neil.

       December 27   Hard drive from Deutch’s Maryland computer retrieved.

       December 28   Chief/DCI Administration informs IG Hitz of discovery at Deutch’s residence.

       December 30   Hard drives from residences given to O’Neil.



       1997

       January 6     OPS/SIB initiates investigation on Deutch. PDGC and the OPS Legal Advisor discuss
                     issue of a crimes report.

       January 9     O’Neil releases to DDA Calder and C/SIB the hard drives from the residences and two
                     of six PCMCIA cards. O’Neil retains four PCMCIA cards from the Maryland residence.

       January 9     Memo from ADCI to D/OPS directing Deutch to keep clearances through December
                     1997.

       January 13    Technical exploitation team begins the recovery process.

       January 22    Technical exploitation team documents that two hard drives contain classified
                     information and had Internet exposure after classified material placed on drives.



                                              9
                                         UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 94 of 178
                                  UNCLASSIFIED




       January 30    O’Neil speaks with FBI General Counsel and was reportedly told that FBI was not
                     inclined to investigate.

       February 3    O’Neil releases four remaining PCMCIA cards that are subsequently exploited.

       February 21   C/SIB meets with OIG officials to discuss jurisdictional issues.

       February 27   D/OPS tasked to review all material on hard drives and PCMCIA cards.

       March 11      D/OPS completes review of 17,000 pages of recovered items.

       July 8        D/OPS’s report to ADCI prepared for distribution. Included on distribution are Slatkin,
                     O’Neil, and Richard Calder.

       July 21       Slatkin is replaced as Executive Director.

       July 30       PDGC reaffirms with OGC attorney that original disks and hard drives need to be
                     destroyed to ensure protection of Deutch’s privacy.

       August 11     PDGC appointed Acting General Counsel and O'Neil goes on extended annual leave.

       August 12     Technical exploitation team confirms selected magnetic media were destroyed per
                     instruction of D/OPS.

       September 8   Slatkin leaves CIA.

       October 1     O’Neil retires from CIA.

       November 24   DCI approves Deutch and other members of the Proliferation Commission for temporary
                     staff-like access to CIA information and facilities without polygraph.

       1998

       February 6    OIG is made aware of additional details of the SIB investigation and subsequently
                     opens a formal investigation.

       March 19      IG forwards crimes report to DoJ.

       May 8         IG letter to IOB concerning Deutch investigation.

       June 2        DCI notifies oversight committees of investigation.



       1999

       April 14      Attorney General Reno declines prosecution and suggests a review of Deutch’s security
                     clearances.



                                                10
                                           UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 95 of 178
                                  UNCLASSIFIED




                                       FINDINGS

       WHY WAS DEUTCH ISSUED GOVERNMENT COMPUTERS CONFIGURED FOR
       UNCLASSIFIED USE AND WERE HIS COMPUTER SYSTEMS APPROPRIATELY
       MARKED AS UNCLASSIFIED?


              12. The then-Chief of the Information Services Management
       Staff (C/ISMS) for the DCI Area, recalled that prior to Deutch’s
       confirmation as DCI, she was contacted by [Deutch's Executive
       Assistant] regarding computer requirements for Deutch. C/ISMS,
       who would subsequently interface with [the Executive Assistant]
       on a routine basis, learned that Deutch worked exclusively on
       Macintosh computers. An Information Security (Infosec) Officer
       assigned to ISMS recalled C/ISMS stating that [the Executive
       Assistant] instructed [her] to provide Internet service at the 7th
       floor Headquarters suite, OEOB, and Deutch’s Maryland residence.

             13. According to C/ISMS, Deutch’s requirements, as
       imparted by [his Executive Assistant], were for Deutch to have not
       only access to the Internet, including electronic messaging, but
       access to CIA’s classified computer network from Deutch’s offices in
       CIA Headquarters, OEOB, and his Maryland residence. In
       addition, Deutch was to be issued an unclassified laptop with
       Internet capability for use when traveling.

             14. A computer specialist, who had provided computer
       support to Deutch at the Office of the Secretary of Defense,
       confirmed that, at Deutch’s request, he had been hired by CIA to
       establish the same level of computer support Deutch had received
       at the Pentagon. At CIA, the computer specialist provided regular
       and close computer support to Deutch on an average of once a
       week. The computer specialist recalled [that Deutch's Executive
       Assistant] relayed that he and Deutch had discussed the issue of
       installing the


                                        11
                                   UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 96 of 178
                                  UNCLASSIFIED



       classified computer at Deutch’s Maryland residence, and Deutch
       either did not believe he needed or was not comfortable having the
       classified computer in his home.

             15. [Deutch's Executive Assistant] also remembered
       discussions about locating a classified computer at Deutch’s
       Maryland residence. [The Executive Assistant], however, could
       not recall with any certainty if the computer had in fact been
       installed. [The Executive Assistant] said that a classified system
       had been installed at his own residence. However, after using it
       once, he found its operation to be difficult and time consuming, and
       he had it removed from his residence. [The Executive Assistant's]
       experience with the deployed classified system may have
       influenced Deutch to decide he did not want one located at his
       Maryland residence. If so, [the Executive Assistant] would have
       informed the ISMS representative of Deutch’s decision.

            16. C/ISMS recalled [the Executive Assistant] telling her he
       was not sure Deutch required a classified computer system at
       Deutch’s Maryland residence.

             17. A Local Area Network (LAN) technician installed
       classified and unclassified Macintosh computers in Deutch’s 7th
       floor Headquarters office and in Deutch’s OEOB office. The
       technician also installed a computer configured for unclassified use
       at Deutch’s Maryland residence. The technician stated that Deutch
       was also provided with an unclassified laptop that had an internal
       hard drive with modem and Internet access. The computer
       specialist installed an unclassified computer at Deutch’s Belmont
       residence several months after Deutch was appointed DCI.

             18. Personal Computer Memory Card International
       Association (PCMCIA) cards are magnetic media capable of storing
       large amounts of data. According to the computer specialist,
       Deutch’s unclassified computers were equipped with PCMCIA card
       readers. The computer specialist said this configuration afforded
       Deutch the opportunity to write to the cards and back up

                                        12
                                   UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 97 of 178
                                  UNCLASSIFIED



       information. One PCMCIA card would reside at all times in a
       reader that was attached to the unclassified computer, and the other
       PCMCIA card would be in Deutch’s possession. The computer
       specialist stated that Deutch valued the ability to access, at several
       locations, data on which he was working. C/ISMS stated that all
       the unclassified computers and PCMCIA cards provided for
       Deutch’s use contained a green label indicating the equipment was
       for unclassified purposes. The LAN technician also stated that a
       concern was to label all of Deutch’s automated data processing
       equipment and magnetic media, including monitors and PCMCIA
       cards, as either "unclassified" (green label) or "Top Secret" (purple
       label). The technician stated that his purpose was to make it
       perfectly clear to Deutch and anyone else using these systems, what
       was for classified and unclassified use.

             19. The OIG has in its possession eight PCMCIA cards that
       had been used by Deutch. Seven of the eight cards were labeled
       unclassified; the eighth was not labeled. Four of the cards were
       from the Maryland residence. Three of the cards were from CIA
       Headquarters and one was from the OEOB. In addition, OIG
       received four Macintosh computers and one Macintosh laptop that
       were used by Deutch. The laptop and two of the computers were
       marked with green unclassified labels; the other two computers
       were marked with purple classified labels. One of the classified
       computers was determined to have come from Deutch’s 7th floor
       Headquarters office; the other from his OEOB office.


       WHY WAS DEUTCH PERMITTED TO RETAIN GOVERNMENT COMPUTERS
       AFTER RESIGNING AS DCI?


             20. In a Memorandum for the Record (MFR) dated December
       30, 1996, [the] then Chief DCI Administration (C/DCI
       Administration), noted that Deutch announced on December 5, 1996
       that he would resign as DCI. That same day, according to C/DCI
       Administration's MFR, Deutch summoned [him] to his office.


                                        13
                                   UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 98 of 178
                                  UNCLASSIFIED



       Deutch told [him] “to look at a way in which he could keep his
       government computers.”

            21. The C/DCI Administration's MFR indicated that on
       December 6, 1996, he spoke with [the then] Chief of the
       Administrative Law Division4 (C/ALD) in OGC, to ask if Deutch
       could retain his Agency-issued, unclassified computer after leaving
       CIA. C/ALD reportedly said that he had concerns with
       government-owned property that was to be utilized for personal use.
       He advised that he would discuss the matter with the Principal
       Deputy General Counsel (PDGC).

             22. On December 9, 1996, C/DCI Administration asked ISMS
       personnel to identify a system configuration which was identical to
       Deutch’s. [He] hoped that Deutch would purchase a computer
       instead of retaining a government-owned computer.

             23. According to a December 19, 1996 MFR signed by
       C/ALD and the PDGC, [C/ALD] discussed with [her] the request to
       loan computers to Deutch.5 [She] mentioned the request to General
       Counsel Michael O’Neil, and stated:

                   The only legal way to loan the computers to the DCI would be if
                   a contract was signed setting forth that John Deutch was a
                   consultant to the CIA, and that the computers were being loaned
                   to Mr. Deutch to be used solely for U.S. Government business.

            24. Despite her reservations, the PDGC was told by O’Neil to
       work with C/DCI Administration to formulate a contract for
       Deutch to be an unpaid consultant. The contract would authorize


       4 This division has since been renamed the Administrative Law and Ethics Division.
       5 According to his July 14, 1998 OIG interview, C/ALD prepared the MFR and it was co-signed by

       the PDGC and [him]. [He] stated that he took the only copy of it, sealed it in an envelope, and
       retained it. He sensed that it was likely there would eventually be an Inspector General
       investigation of the computer loan. [He] stated that this was the only time in his career that he has
       resorted to preparing such an MFR. He stated that he did not tell O’Neil about the MFR nor provide
       a copy to O’Neil since he judged that to be “unwise.” He did not provide a copy of it to the OGC
       Registry. He said that he has kept it in his “hold box” since he wrote it.

                                                    14
                                               UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 99 of 178
                                  UNCLASSIFIED



       the provision of a laptop computer for three months and a desktop
       computer for up to a year.

             25. According to the MFR:

               On or about 11 December, [the PDGC] was informed by [C/DCI
               Administration] that the DCI wanted the computers loaned to
               him because they had the DCI’s personal financial data on them
               and he wanted access to that data. [C/DCI Administration]
               learned this information in conversation with the DCI. [The
               PDGC] informed [C/ALD] of this development, and they both
               agreed that it was improper to loan the computers to the DCI if
               the true purpose of the loan was to allow the DCI to have
               continued access to his personal information. [The PDGC] and
               [C/ALD] also expressed concern that the computers should not
               have been used by the DCI to store personal financial records
               since this would constitute improper use of a government
               computer. [C/ALD] held further conversations with [C/DCI
               Administration] at which time [C/ALD] suggested that the
               DCI’s personal financial data be transferred to the DCI’s
               personal computer rather than loaning Agency computers to the
               DCI. [C/DCI Administration] stated that this proposal would
               not work because the DCI did not own any personal computers.
               It was then suggested that the DCI be encouraged to purchase a
               personal computer and that the DCI personal financial records
               be transferred to the computer.

             26. On December 10, 1996, a no-fee contract was prepared
       between John Deutch, Independent Contractor, and the CIA.
       Deutch was to provide consulting services to the DCI and senior
       managers, was to retain an Agency-issued laptop computer for
       three months, and would retain an Agency-issued desktop
       computer for official use for one year.

             27. C/DCI Administration's MFR notes that on December 13,
       1996, he spoke with O’Neil on the telephone. O’Neil directed that
       the contract being prepared for Deutch be modified to authorize
       Deutch two computers for a period of one year. The contract was
       revised on December 13, 1996; the reference to the laptop was


                                         15
                                    UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 100 of
                                 UNCLASSIFIED
                                     178



     deleted but Deutch was to retain two Agency-issued desktop
     computers and two STU-III secure telephones for one year.

           28. According to the C/DCI Administration's MFR, on
     December 12, 1996, [he] again met with Deutch to discuss matters
     relating to Deutch’s departure. The computer issue was again
     discussed:

                 I mentioned again that I had "strong reservations" about
                 Mr. Deutch maintaining the Government-owned computers and
                 restated that we would be happy to assist moving Mr. Deutch
                 to a personally-owned platform. Mr. Deutch slammed shut his
                 pen drawer on his desk and said thanks for everything without
                 addressing the issue.

            29. According to the C/ALD and PDGC MFR, they met with
     O’Neil on December 13, 1996 to discuss the loan of the computers to
     Deutch. [They] expressed concern that the loan of the computers
     would be improper if Deutch intended to use the computers for
     personal purposes. O’Neil stated that he had discussed the matter
     with Deutch, and Deutch knew he could not use the computers for
     personal purposes. O’Neil also stated, according to the MFR, that
     Deutch had his own personal computers and that Deutch would
     transfer any personal data from the CIA computers to his own.
     O’Neil said that the contract, which only called for the loan of two
     computers, had to be re-drafted so that it would cover the loan of a
     third computer. O’Neil advised that Deutch would not agree to an
     arrangement in which he would simply use his own computers for
     official work in place of a loaned CIA computer.6

           30. The PDGC recalls standing in the receiving line at a
     farewell function for Deutch and being told by Deutch’s wife, “I
     can’t believe you expect us to go out and buy another computer.”

          31. The MFR indicates that [the two OGC attorneys]
     dropped their objections to the loan of the computers, based on

     6 The OIG investigation has not located any contract that includes a third computer.


                                                  16
                                             UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 101 of
                                 UNCLASSIFIED
                                     178



     assurances from O’Neil that Deutch understood the computers
     would only be used for official purposes, and he would transfer his
     personal financial data to his own computer.

           32. The contract was signed on December 13, 1996 by O’Neil
     and Deutch. The effective date for the contract was
     December 16, 1996. The contract states that Deutch “shall retain, for
     Government use only, two (2) Agency-issued desktop computers and
     two (2) STU-III’s for the period of one year.” Instead, Deutch was
     issued three PCMCIA cards and two PCMCIA card readers and all
     government-owned computers were returned to the Agency. On
     June 23, 1997, he purchased the cards and readers from CIA for
     $1,476.


     WHAT INFORMATION WAS FOUND ON DEUTCH ’S MAGNETIC MEDIA?

           ♦ How was the classified material discovered?

           33. Each of the two, unclassified, Agency-owned computers
     that were to be loaned to Deutch under the provisions of the
     December 13, 1996 contract were already located at Deutch’s
     Maryland and Belmont residences. To effect the loan of the
     computers, C/DCI Administration, after consulting with Deutch
     and his personal assistant, requested that an Infosec Officer perform
     an inventory of the two government-owned Macintosh computers
     and peripherals at the Deutch residences. In addition, the Infosec
     Officer was to do a review to ensure no classified material had been
     accidentally stored on these computers. While at the Deutch
     residences, a contract engineer was to document the software
     applications residing on the computers and, at Deutch’s request,
     install several software applications. This software included
     FileMaker Pro (e.g., a database) that was to be used with a calendar
     function and Lotus Notes that would be used with an address book.
     Deutch has no recollection of authorizing an inventory or a
     personal visit to his residences and questions the appropriateness of
     such a visit.

                                      17
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 102 of
                                 UNCLASSIFIED
                                     178




           34. On December 17, 1996, the contract network engineer and
     the Infosec Officer, escorted by a member of the DCI security
     protective staff, entered Deutch’s Maryland residence to conduct the
     review of the unclassified Macintosh computer and its peripherals.
     The Infosec Officer reviewed selected data on the computer and two
     PCMCIA cards, labeled unclassified, located in each of two
     PCMCIA card drives. Two other PCMCIA cards, one labeled
     unclassified and the other not labeled, were located on Deutch’s
     desk.

           35. The Infosec Officer’s initial review located six files
     containing what appeared to be sensitive or classified information.
     Although the Infosec Officer believed that numerous other
     classified or sensitive files were residing on the computer, he
     concluded the system was now classified and halted his review.
     The contract network engineer agreed the system should be
     considered classified based on the information residing on the
     computer.

           36. In addition to these six files, the contract network
     engineer and the Infosec Officer noted applications that allowed the
     Macintosh computer external connectivity via a FAX modem. The
     computer also had accessed the Internet via [an ISP], a DoD
     unclassified e-mail system, and [Deutch's bank] via its proprietary
     dial-up software.

           ♦ What steps were taken to gather the material?

           37. The Infosec Officer telephoned C/DCI Administration
     and informed him of the discovery of classified material. Although
     normal information security practice would have been to
     immediately confiscate the classified material and equipment,
     C/DCI Administration advised the Infosec Officer to await further
     instruction. [He] proceeded to contact then-CIA Executive Director
     Nora Slatkin. She referred him to O’Neil for guidance. [He] stated
     that he consulted with O’Neil, who “requested that we print off

                                      18
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 103 of
                                 UNCLASSIFIED
                                     178



     copies of the documents for his review.” [He] contacted the Infosec
     Officer and instructed him to copy the six classified/sensitive files
     to a separate disk and return to Headquarters. The Infosec Officer
     copied five of the six files.7

           38. After returning to Headquarters, the contract network
     engineer recalled being contacted by O’Neil. O’Neil advised that
     he had spoken with Deutch, and Deutch could not understand how
     classified information came to be found on the computer’s hard
     drive. O’Neil wanted to know if any extraordinary measures were
     used to retrieve the classified documents and was told the
     documents were simply opened using Microsoft Word. O’Neil
     asked the contract network engineer to wait while Deutch was
     again contacted.

           39. Shortly thereafter, the contract engineer stated that
     Deutch telephoned him and said he could not understand how
     classified information could have been found on the computer’s
     hard drive as he had stored such information on the PCMCIA
     cards. The contract engineer told Deutch that the classified
     information had been found on the PCMCIA cards. The contract
     engineer recalled suggesting that Deutch might want a new hard
     drive and replacement PCMCIA cards to store unclassified files that
     could be securely copied from Deutch’s existing PCMCIA cards.
     According to the contract engineer, Deutch agreed but wanted to
     review the PCMCIA card files first because they contained personal
     information.

           40. On December 23, 1996, Deutch provided the four
     PCMCIA cards from his Maryland residence to the DCI Security
     Staff. These four cards were delivered to O’Neil the same day.

          41. On December 27, 1996, the contract network engineer
     advised C/DCI Administration that two PCMCIA cards previously
     used by Deutch had been located in an office at Headquarters. One
     7 The Infosec Officer did not copy the sixth document, a letter to DCI nominee Anthony Lake that
     contained Deutch’s personal sentiments about senior Agency officials.

                                                 19
                                            UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 104 of
                                 UNCLASSIFIED
                                     178



     of the cards had an unclassified sticker and was labeled as
     “Deutch’s Personal Disk.” The other did not have either a
     classification sticker or a label. The files on the card with the
     unclassified sticker had been erased; however, the contract network
     engineer was able to recover data by the use of a commercially
     available software utility. Although labeled “unclassified,” the
     contract network engineer noted that the files contained words such
     as “Secret,” “Top Secret Codeword,” “CIA,” and the name of an
     Office of Development and Engineering facility. This discovery
     caused C/DCI Administration, on the advice of [the] Associate
     Deputy Director for Administration (ADDA), 8 to contact O’Neil for
     assistance in expeditiously retrieving Deutch’s Macintosh
     computers from the Maryland and Belmont residences.

          42. On the evening of December 27, 1996, the contract
     network engineer visited Deutch’s Maryland residence, removed
     Deutch’s hard drive, and delivered it to C/DCI Administration.
     On December 30, 1996, DCI Security Staff delivered to C/DCI
     Administration the hard drive from Deutch’s Belmont residence.
     Both hard drives were then delivered to O’Neil.

           43. On January 6, 1997, OPS/SIB, upon the approval of
     Slatkin, initiated an internal investigation to determine the security
     implications of the mishandling of classified information by
     Deutch.

           44. According to Slatkin, she, O’Neil, and Richard Calder,
     Deputy Director for Administration had several discussions about
     how to proceed with the investigation. She also discussed with
     Acting DCI Tenet the issue of how to proceed. As a result, a select
     group was created to address this matter. Its purpose was to (1)
     take custody of the magnetic media that had been used by Deutch,
     (2) review Deutch’s unclassified magnetic media for classified data,
     (3) investigate whether and to what extent Deutch mishandled
     classified information, and (4) determine whether classified

     8 The former ADDA retired in October 1997.


                                                20
                                           UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 105 of
                                 UNCLASSIFIED
                                     178



     information on Deutch’s computers that had Internet connectivity
     was compromised.

           45. By January 13, 1997, all hardware and files that had been
     used by Deutch, except four PCMCIA cards retrieved from Deutch’s
     Maryland residence on December 23, 1996, were in SIB’s
     possession. On February 3, 1997, O’Neil released the four PCMCIA
     cards to Calder, who transferred them to the group on February 4,
     1997. Then-Director of Personnel Security (D/OPS) headed the
     group. Calder was the senior focal point for the group. In addition,
     a technical exploitation team was formed to exploit the magnetic
     media.

           ♦ What steps were taken to recover information residing
             on Deutch’s magnetic media?

          46. Five government-issued MacIntosh computer hard drives
     and eight PCMCIA cards, used by Deutch and designated for
     unclassified purposes, were examined by a technical exploitation
     team within the group. Because each of the computers had
     modems, the PCMCIA cards were considered equally vulnerable
     when inserted into the card readers attached to the computers. The
     group had concerns that the processing of classified information on
     Deutch’s five computers that were designated for unclassified
     information were vulnerable to hostile exploitation because of the
     modems. The group sought to determine what data resided on the
     magnetic media and whether CIA information had been
     compromised.

           47. The examination of Deutch’s magnetic media was
     conducted during the period January 10 through March 11, 1997.
     The technical exploitation team consisted of a Senior Scientist and
     two Technical Staff Officers, whose regular employment
     responsibilities concerned [data recovery]. The Infosec Officer who
     participated in the December 17, 1996 security inspection at
     Deutch’s Maryland residence also assisted in the exploitation effort.


                                      21
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 106 of
                                 UNCLASSIFIED
                                     178



           48. This team performed the technical exploitation of
     Deutch’s magnetic media, recovered full and partial documents
     containing classified information, and printed the material for
     subsequent review. Technical exploitation began with scanning for
     viruses and making an exact copy of each piece of media used by
     Deutch. Further exploitation was performed on the copies. The
     original hard drives and PCMCIA cards were secured in safes. The
     copies were restored, in a read-only mode, on computers used by
     the team. Commercially available utility software was used to
     locate, restore, and print recoverable text files that had been erased.
     In an attempt to be exhaustive, the Senior Scientist wrote a software
     program to organize text fragments that appeared to have been
     part of word processing documents.

           49. To accommodate concerns for Deutch’s privacy, D/OPS
     was selected to singularly review all recovered data. He reviewed
     in excess of 17,000 pages of recovered text to determine which
     documents should be retained for possible future use in matters
     relating to the unauthorized disclosure of classified information.

            50. Three of the PCMCIA cards surrendered by Deutch
     subsequent to the security inspection of December 17, 1996, were
     found to have characteristics that affected exploitation efforts.
     Specifically, the card labeled “John Backup” could not be fully
     exploited as 67 percent of the data was unrecognizable due to
     “reading” errors. The card labeled “Deutch’s Disk” was found to
     have 1,083 “items” that were erased. The last folder activity for
     this card occurred on “December 20, 1996 at 5:51 [p.m.].” The third
     card, labeled “Deutch’s Backup Disk” and containing files
     observed during the security inspection, was found to have been
     reformatted.9 The card was last modified on “December 20, 1996,
     [at] 5:19 p.m.”

          51. Subsequent investigation by OIG revealed that Deutch
     had paged the contract network engineer at 1000 hours on
     9 Formatting prepares magnetic media for the storing and retrieval of information. Reformatting
     erases the tables that keep track of file locations but not the data itself, which may be recoverable.

                                                    22
                                               UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 107 of
                                 UNCLASSIFIED
                                     178



     Saturday, December 21, 1996. In an e-mail to C/DCI
     Administration the following day, the contract network engineer
     wrote:

                 . . . he [Deutch] was experiencing a problem deleting files from
                 one or [sic] his 170MB PCMCIA disks. As near as I [Contractor]
                 can tell the disk has become corrupted and while it appears to
                 allow him [Deutch] to copy files it did not allow him to delete
                 them. We tried several techniques to get around the problem
                 but none were successful. He [Deutch] indicated that he
                 [Deutch] would continue to copy files and not worry about
                 deleting any additional files. He [Deutch] asked what we were
                 going to do with the disks he returned and I told him that we
                 would in all probability degauss them and then physically
                 destroy them . . . .

           52. The exploitation efforts resulted in eight pieces of
     magnetic media yielding classified information. Of the eight
     pieces, four computers and three PCMCIA cards had prominent
     markings indicating that the equipment was for unclassified use.10
     Forty-two complete documents [were classified up to Top Secret
     and a non-CIA controlled compartmented program] and 32 text or
     document fragments classified up to [Top Secret and a non-CIA
     controlled compartmented program] were recovered. Fourteen of
     the recovered classified documents contained actual printed
     classification markings (i.e., “SECRET,” “Top Secret/[a non-CIA
     controlled compartmented program]”) as part of the document.
     These documents were located on hard drives and/or PCMCIA
     cards linked to Deutch’s residences, 7th floor CIA office, and laptop.

          53. Indications of Internet, [an ISP],11 an unclassified
     Pentagon computer e-mail,12 and online banking usage were found



     10 OIG was unable to determine how the Belmont computer was marked because the chassis was
     disposed of prior to the OIG investigation.
     11 In response to an authorization for disclosure signed by Deutch, [the ISP] provided business
     records to OIG. These records reflect that Deutch, using the screen name [that was a variation of his
     name,] maintained an account with [the ISP] since January 1, 1995.

                                                  23
                                             UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 108 of
                                 UNCLASSIFIED
                                     178



     on several of the storage devices. A virus was found to have
     corrupted a file on the computer formerly located in Deutch’s 7th
     floor CIA office. This computer was labeled “DCI’s Internet Station
     Unclassified,” but yielded classified information during the
     exploitation effort.

           54. Recovered computer-generated activity logs reflect, in
     certain instances, classified documents were created by “John
     Deutch” during the period of June 1, 1995 and November 14, 1996.
     Many of the same documents, in varying degrees of completion,
     were found on different pieces of magnetic media. Additionally,
     the team recovered journals (26 volumes) of daily activities
     maintained by Deutch while he served at the DoD and CIA.

          55. The following text box provides a summary of Deutch’s
     magnetic media that resulted in the recovery of classified
     information.




     12 The Department of Defense recovered and produced in excess of 80 unclassified electronic
     message exchanges involving Deutch from May 1995 through January 1996. These messages reflect
     Deutch’s electronic mail address as [variations of his name].




                                                 24
                                            UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 109 of
                                 UNCLASSIFIED
                                     178



     MEDIA/LOCATION            MARKINGS                  CONNECTED TO                    INFORMATION RECOVERED
     Quantum ProDrive Hard     “Unclassified” on         U.S. Robotics Fax Modem         Six complete classified documents and text
     Drive/Deutch’s Maryland   MacIntosh Power PC                                        fragments including TS/Codeword.
     Residence                                           Two PCMCIA Card Readers
                                                                                         Internet, [ISP], [Deutch's bank], and DoD
                                                                                         electronic mail usage.

                                                                                         Indicators of visits to high risk Internet sites 13

     Microtech PCMCIA          “Deutch’s Disk,”          PCMCIA Card Reader              Three complete classified documents and text
     Card/Deutch’s Maryland    “Unclassified,”           Networked to U.S. Robotics      fragments including TS/Codeword.14
     Residence                 GS001414                  Fax Modem
                                                                                         [Bank] online usage.

                                                                                         Card apparently reformatted on 12/20/96 at
                                                                                         5:51 p.m.

     Microtech PCMCIA          “Deutch’s Backup          PCMCIA Card Reader              31 complete classified documents and text
     Card/Deutch’s Maryland    Disk,” “Unclassified,”    Networked to U.S. Robotics      fragments, five observed during security
     Residence                 GS001490                  Fax Modem                       inspection.

                                                                                         [Bank] Online Usage. Card apparently
                                                                                         reformatted on 12/20/96 at 5:19 p.m.



     Quantum ProDrive Hard     “JMD” on Drive Shell      U.S. Robotics Fax Modem         Six complete classified documents and text
     Drive/Deutch’s Belmont                                                              fragments including TS/Codeword.
     Residence                                           Two PCMCIA Card Readers
                                                                                         Internet usage.

                                                                                         Indicators of visits to high risk Internet sites

     MacIntosh Power PC with   “Unclassified,”           U.S. Robotics Fax Modem         One complete classified document and text
     Hard Drive/Deutch’s 7th   “Property of O/DCI….”                                     fragments including TS/Codeword.
     Floor Office, Original    “DCI’s Internet Station   Two PCMCIA Card Readers
     Headquarters Building     Unclassified”                                             Word macro concept virus.

                                                                                         Internet, DoD electronic mail usage.

     MacIntosh Power PC with   “Unclassified,”           U.S. Robotics Fax Modem         Text fragments including TS/Codeword.
     Hard Drive/Deutch’s       “Property of DCI…”
     OEOB Office                                         Two PCMCIA Card Readers         DoD electronic mail usage.

     MacIntosh Powerbook       “Dr. Deutch Primary,”     Global Village Internal Modem   Two complete classified documents and text
     Laptop                    “Unclassified,”                                           fragments including TS/Codeword.


     13 Certain material viewed by the exploitation team was described as leaving the user's computer
     particularly vulnerable to exploitation. The exploitation team did not recover this material and it
     was never viewed by OIG.
     14 Journals containing classified material classified up to TS/SCI encompassing Deutch's DoD and
     CIA activities were recovered from multiple PCMCIA cards. Deutch stated that he believed his
     journals to be unclassified.

                                                       25
                                                  UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 110 of
                                 UNCLASSIFIED
                                     178



     MEDIA/LOCATION     MARKINGS                 CONNECTED TO   INFORMATION RECOVERED
                        “Property of /DCI….”

     Microtech PCMCIA   “Deutch’s Personal       N/A            Text fragments including TS/Codeword.
     Card/ISMS Office   Disk,” “Unclassified,”




                                              26
                                         UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 111 of
                                 UNCLASSIFIED
                                     178




           ♦ What are some examples of the classified material that
             was found?

           56. An October 7, 1996 memorandum from Deutch to the
     President and the Vice President, found on the hard drive of the
     Maryland residence computer, [contained information at the Top
     Secret/Codeword level]. The last paragraph of the memorandum
     notes [that the information is most sensitive and must not be
     compromised]:

              Accordingly, with [National Security Advisor] Tony’s [Lake]
              advice, I have restricted distribution of this information to Chris
              [Secretary of State Warren Christopher], Bill [Secretary of
              Defense William Perry], Tony [Lake], Sandy [Deputy National
              Security Advisor Sandy Berger], Leon Fuerth [the VP’s National
              Security Advisor], and Louie Freeh with whom I remain in close
              touch.

           57. [The] former Chief of Staff to the DCI and Slatkin both
     identified the memorandum as one Deutch composed on the
     computer at his Maryland residence in their presence on October 5,
     1996.

            58. In a memorandum to the President that was found on a
     PCMCIA card from the Maryland residence, Deutch described an
     official trip. [The memorandum discussed information classified
     at the Top Secret level.]

          59. In a memorandum to the President, which was found on a
     PCMCIA card from the Maryland residence, concerning a trip
     Deutch [discusses information classified at the Top
     Secret/Codeword level].

          60. Deutch’s memorandum to the President found on a
     PCMCIA card from the Maryland residence also [discusses a non-
     CIA controlled compartmented program].


                                          27
                                     UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 112 of
                                 UNCLASSIFIED
                                     178



           61. An undated memorandum from Deutch to the President
     that was found on a PCMCIA card from the Maryland residence
     discusses a trip. [The memorandum discusses information
     classified at the Secret level.]

          62. Another Deutch memorandum to the President that was
     found on a PCMCIA card from the Maryland residence [discusses
     information classified at the Secret/Codeword level].

          63. In a memorandum to the President that was found on a
     PCMCIA card from the Maryland residence, Deutch [discusses
     information classified at the Top Secret/Codeword level].

           64. [In] a memorandum with no addressee or originator
     listed, noted as revised on May 9, 1996 that was found on a
     PCMCIA card from the Maryland residence, [Deutch discusses
     information at the Secret level].

           65. A document with no heading or date concerning a Deutch
     trip was found on the hard drive of Deutch’s laptop computer
     which was marked for unclassified use, describes [information
     classified at the Secret/Codeword level].

            66. A document without headings or dates, which was found
     on the hard drive of the unclassified computer in Deutch’s 7th floor
     office, [discusses information classified at the Secret/Codeword
     level].

           67. Deutch’s journal, which was found on a PCMCIA card
     from the Maryland residence, also covered this topic but in more
     detail.




                                      28
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 113 of
                                 UNCLASSIFIED
                                     178




            68. A spread sheet document [contains] financial [data] from
     fiscal year 1995 (FY95) through FY01 [which is classified at the
     Secret/compartmented program level]. It was found on a PCMCIA
     card from the Maryland residence.


     WHAT VULNERABILITIES MAY HAVE ALLOWED THE HOSTILE
     EXPLOITATION OF DEUTCH ’S UNPROTECTED COMPUTER MEDIA?


           69. The June 1994 User’s Guide for PC Security, prepared by
     CIA’s Infosec Officer Services Division, defines unclassified media
     as media that has never contained classified data. To maintain this
     status, all media and supplies related to an unclassified computer
     must be maintained separately from classified computer hardware,
     media, and supplies. Classified media is defined as media that
     contains or has contained classified data. It must be appropriately
     safeguarded from unauthorized physical (i.e., actually handling the
     computer) and electronic access (i.e., electronic insertion of
     exploitation software) that would facilitate exploitation. Computer
     media must be treated according to the highest classification of
     data ever contained on the media.

            70. The Guide addresses vulnerabilities relating to computers.
     Word processors, other software applications, and underlying
     operating systems create temporary files on internal and external
     hard drives or their equivalents (i.e., PCMCIA cards). These
     temporary files are automatically created to gain additional
     memory for an application. When no longer needed for memory
     purposes, the location of the files and the data saved on the media
     is no longer tracked by the computer. However, the data continues
     to exist and is available for future recovery or unwitting transfer to
     other media.

           71. Additionally, data contained in documents or files that
     are deleted by the user in a standard fashion continue to reside on
     magnetic media until appropriately overwritten. These deleted

                                      29
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 114 of
                                 UNCLASSIFIED
                                     178



     files and documents can be recovered with commercially available
     software utilities. Furthermore, computers reuse memory buffers,
     disk cache, and other memory and media locations (i.e., slack and
     free space) on storage devices without clearing all previously stored
     information. This results in residual data being saved in storage
     space allocated to new documents and files. Although this data
     cannot be viewed with standard software applications, it remains
     in memory and can be recovered.

            72. As a result of these vulnerabilities, security guidelines
     mandate procedures to prevent unauthorized physical and
     electronic access to classified information. An elementary practice
     is to separately process classified and unclassified information.
     Hard drives, floppy disks, or their equivalents used in the
     processing of classified information must be secured in approved
     safes and areas approved for secure storage when not in use.
     Individuals having access to media that has processed classified
     information must possess the appropriate security clearance.
     Computers that process classified information and are connected to
     a dial-up telephone line must be protected with a cryptographic
     device (e.g., STU-III) approved by NSA.

           ♦ What was the electronic vulnerability of Deutch’s
             magnetic media?

           73. Deutch used five government-owned Macintosh
     computers, configured for unclassified purposes, to process
     classified information. At least four of these computers were
     connected to modems that were lacking cryptographic devices and
     linked to the Internet, [an ISP], a DoD electronic mail server,
     and/or [bank] computers. As a result, classified information
     residing on Deutch’s computers was vulnerable to possible
     electronic access and exploitation.

          74. Deutch did receive e-mail on unclassified computers.
     One such message from France, dated July 11, 1995, was


                                      30
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 115 of
                                 UNCLASSIFIED
                                     178



     apparently from a former academic colleague who claimed to be a
     Russian.

           75. Deutch’s online identities used during his tenure as DCI
     may have increased the risk of electronic attack. As a private
     subscriber [to an ISP], Deutch used a variant of his name for online
     identification purposes. He was also listed by true name in [the
     ISP’s] publicly available online membership directory. This
     directory reflected Deutch as a user of Macintosh computers, a
     scientist, and as living in Bethesda, Maryland. Similarly, Deutch’s
     online identity associated with CIA was:

                 johnd@odci[Office of DCI].gov[Government]

         and with DoD, as:

                 deutch.johnd@odsdpo[Office of Deputy Secretary of Defense
                 Post Office].secdef[Secretary of Defense].osd.mil[Military].

     After his confirmation as DCI, Deutch’s DoD user identity was
     unobtainable from their global address database.

           76. The technical exploitation team determined that high risk
     Internet sites had placed “cookies” 15 on the hard drives of the
     computers from Deutch’s residences. According to DDA Calder,
     SIB’s investigation demonstrated that the high risk material was
     accessed when Deutch was not present. These web sites were
     considered “risky” because of additional security concerns related
     to possible technical penetration.

             ♦ What was the physical vulnerability of Deutch’s
               magnetic media?

           77. Deutch’s government-issued computer at his primary
     residence in Maryland contained an internal hard drive and was

     15 A “cookie” is a method by which commercial web sites develop a profile of potential consumers
     by inserting data on the user’s hard drive.

                                                  31
                                             UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 116 of
                                 UNCLASSIFIED
                                     178



     lacking password protection. The drive was not configured for
     removal and secure storage when unattended even though
     classified information resided on the drive. Additionally, at the
     time of the December 17, 1996 security inspection, three of the four
     unsecured PCMCIA cards yielded classified information: two in
     PCMCIA readers and one on the desk in Deutch’s study. An empty
     safe was also found with its drawer open.

           78. Unlike his predecessors, Deutch declined a 24-hour
     security presence in his residence, citing concerns for personal
     privacy. Past practice for security staff, if present in a DCI’s
     residence, was to assume responsibility for securing classified
     information and magnetic media. To compensate for the lack of an
     in-house presence, CIA security personnel and local police drove by
     Deutch’s residence on a periodic basis. The two security chiefs
     responsible for Deutch’s protective detail stated that Deutch was
     responsible for securing classified information in his residence.
     Deutch said that he thought his residence was secure. In hindsight,
     he said that belief was not well founded. He said he relied,
     perhaps excessively, on the CIA staff and security officials to help
     him avoid mistakes that could result in the unauthorized disclosure
     of classified information.

           79. On May 16, 1995, Deutch approved the installation of a
     residential alarm system to include an alarm on the study closet. A
     one-drawer safe was placed in the alarmed closet. These upgrades
     were completed by early June 1995.

           80. According to the first Security Chief assigned to Deutch,
     the alarm deactivation [was provided] code to a resident alien who
     performed domestic work at the Maryland residence. The alien
     [was permitted] independent access to the residence while the
     Deutch's were away. CIA security database records do not reflect
     any security clearances being issued to the alien. The resident alien
     obtained U.S. citizenship during 1998.




                                      32
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 117 of
                                 UNCLASSIFIED
                                     178




     COULD IT BE DETERMINED IF CLASSIFIED INFORMATION ON DEUTCH ’S
     UNCLASSIFIED COMPUTER WAS COMPROMISED?


          81. According to the Senior Scientist who led the technical
     exploitation team, there was "no clear evidence" that a compromise
     had occurred to information residing on storage devices used by
     Deutch. In a February 14, 1997 MFR, the Senior Scientist
     concluded:

              A complete, definitive analysis, should one be warranted,
              would likely take many months or longer and still not surface
              evidence of a data compromise.

           82. On May 2, 1997, the Chief, SIB wrote in a memorandum
     to the Director of OPS:

              In consultation with technical experts, OPS investigators
              determined the likelihood of compromise was actually greater
              via a hostile entry operation into one of Mr. Deutch’s two
              homes (Bethesda, Maryland and Boston, Massachusetts) to
              “image” the contents of the affected hard drives . . . . Due to the
              paucity of physical security, it is stipulated that such an entry
              operation would not have posed a particularly difficult
              challenge had a sophisticated operation been launched by
              opposition forces . . . . The Agency computer experts advised
              that, given physical access to the computers, a complete
              “image” of the hard drives could be made in [a short amount of
              time].


     WHAT KNOWLEDGE DID DEUTCH HAVE CONCERNING VULNERABILITIES
     ASSOCIATED WITH COMPUTERS?


           ♦ What is Deutch’s recollection?

           83. During an interview with OIG, Deutch advised that, to
     the best of his recollection, no CIA officials had discussed with him

                                          33
                                     UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 118 of
                                 UNCLASSIFIED
                                     178



     the proper or improper use of classified and unclassified computers.
     Around December 1997, approximately one year after he resigned
     as DCI, he first became aware that computers were vulnerable to
     electronic attack. Not until that time, Deutch commented, had he
     appreciated the security risks associated with the use of a modem
     or the Internet in facilitating an electronic attack.16

           84. Although stating that he had not received any CIA
     security briefings relating to the processing of information on
     computers, Deutch acknowledged that classified information must
     be properly secured when unattended. Specifically, he stated, “I
     am completely conscious of the need to protect classified
     information.”

           85. In response to being advised that classified information
     had been recovered from government computers configured for his
     unclassified work, Deutch stated that he “fell into the habit of using
     the [CIA] unclassified system [computers] in an inappropriate
     fashion.” He specifically indicated his regret for improperly
     processing classified information on the government-issued
     Macintosh computers that were connected to modems. Deutch
     acknowledged that he used these government-issued computers to
     access [the ISP], [his bank], the Internet, and a DoD electronic mail
     server.

            86. Deutch indicated he had become accustomed to
     exclusively using an unclassified Macintosh computer while
     serving at DoD. He acknowledged that prior to becoming DCI, he
     was aware of the security principle requiring the physical
     separation of classified and unclassified computers and their
     respective information. However, he said he believed that when a
     file or document was deleted (i.e., dragged to the desktop trash
     folder), the information no longer resided on the magnetic media
     nor was it recoverable. Deutch maintained that it was his usual

     16 After reading the draft ROI, Deutch's refreshed recollection is that it was in December 1996, not
     December 1997, that he first became aware that his computer priorities resulted in vulnerability to
     electronic attack.

                                                   34
                                              UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 119 of
                                 UNCLASSIFIED
                                     178



     practice to create a document on his desktop computers, copy the
     document to an external storage device (e.g., floppy disk), and drag
     the initial document to the trash folder.

           87. During his tenure as DCI, Deutch said that he
     intentionally created the most sensitive of documents on computers
     configured for unclassified use. Deutch stated that if these
     documents were created on the classified CIA computer network,
     CIA officials might access the system at night and inappropriately
     review the information. Deutch said that he had not spent a
     significant amount of time thinking about computer security issues.

           88. Deutch advised that other individuals had used the
     government computer located in the study of his Maryland
     residence. Deutch’s wife used this computer to prepare reports
     relating to official travel with her husband. Additionally, [another
     family member] used this computer to access [a university] library.
     Regarding the resident alien employed at the Maryland residence,
     Deutch indicated that, to his knowledge, this individual never went
     into the study. He further believed that the resident alien normally
     worked while Mrs. Deutch was in the residence.

           ♦ What did Deutch learn at [an] operational briefing?

            89. On August 1, 1995, Deutch and several senior CIA
     officials receive[d] various operational briefings.

           90. [During these briefings,] Deutch was specifically told
     that data residing on a [commercial ISP network was vulnerable
     to a computer attack.]

          91. Deutch did not have a specific recollection relating to the
     August 1, 1995 briefing. He could not recall making specific
     comments to briefers concerning his use of [his ISP] and the need to
     switch to another ISP.




                                      35
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 120 of
                                 UNCLASSIFIED
                                     178




           ♦ What was Deutch’s Congressional testimony?

           92. On February 22, 1996, DCI Deutch testified before the
     Senate Select Committee on Intelligence on the subject of worldwide
     security threats to the United States during the post-Cold War era.
     During his appearance, Deutch stated:

              Mr. Chairman, I conclude with the growing challenge of the
              security of our information systems. There are new threats that
              come from changing technologies. One that is of particular
              concern to me is the growing ease of penetration of our
              interlocked computer and telecommunications systems, and the
              intelligence community must be in the future alert to these
              needs- -alert to these threats.

          93. On June 25, 1996, DCI Deutch testified in front of the
     Permanent Investigations Subcommittee of the Senate
     Governmental Affairs Committee. The Committee was
     investigating the vulnerability of government information systems
     to computer attacks. Deutch’s testimony focused on information
     warfare, which he defined as unauthorized foreign penetrations
     and/or manipulation of telecommunications and computer
     network systems.

          94. In his prepared statement submitted to the Committee,
     Deutch indicated:

              . . . like many others in this room, [I] am concerned that this
              connectivity and dependency [on information systems] make us
              vulnerable to a variety of information warfare attacks . . . .
              These information attacks, in whatever form, could . . . seriously
              jeopardize our national or economic security . . . . I believe
              steps need to be taken to address information system
              vulnerabilities and efforts to exploit them. We must think
              carefully about the kinds of attackers that might use
              information warfare techniques, their targets, objectives, and
              methods . . . . Hacker tools are readily available on the Internet,
              and hackers themselves are a source of expertise for any nation


                                          36
                                     UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 121 of
                                 UNCLASSIFIED
                                     178



              or foreign terrorist organization that is interested in developing
              an information warfare capability . . . . We have evidence that a
              number of countries around the world are developing the
              doctrine, strategies, and tools to conduct information attacks.

           ♦ What are the personal recollections of DCI staff
             members?

          95. Deutch’s [Executive] Assistant served in that position
     from February 1995 through July 1996 at DoD and CIA. [He]
     considered Deutch to be an “expert” computer user. [The
     Executive Assistant] was responsible for coordinating the
     preparation of computers for Deutch’s use upon his confirmation as
     DCI. During the transition, [the Executive Assistant] informed
     Deutch that the processing of classified and unclassified
     information required the use of separate computers to prevent the
     improper transfer of data. [The Executive Assistant] stated that the
     computer support staff at CIA went to great lengths to
     appropriately label Deutch’s computers as either classified or
     unclassified in order to prevent improper use.

           96. [The Executive Assistant] advised that he never
     informed Deutch that it was permissible to process classified
     information on a computer configured for unclassified use. [The
     Executive Assistant] stated that he was not aware that Deutch
     processed classified information on computers configured for
     unclassified use. When advised that classified material had been
     recovered from multiple computers used by Deutch that had been
     configured for unclassified purposes, [the Executive Assistant]
     responded that he was at a loss to explain why this had occurred.

           97. [The Executive Assistant] remembered the August 1,
     1995 briefing. [The Executive Assistant] said that Deutch was very
     concerned about information warfare and, specifically, computer
     systems being attacked. [The Executive Assistant] recalled that
     during his CIA tenure, Deutch and he became aware of efforts by
     [others] to attack computer systems.


                                          37
                                     UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 122 of
                                 UNCLASSIFIED
                                     178




           98. The computer specialist who provided regular
     information support to Deutch while he served at DoD, was hired
     at Deutch’s request in June 1995 to provide computer support to the
     DCI Area. After arriving at CIA, the computer specialist provided
     direct computer support to Deutch about once per week. At times,
     Deutch, himself, would directly contact the computer specialist for
     assistance.

           99. The computer specialist described Deutch as a “fairly
     advanced” computer user who sought and used software that was
     considered to be above average in complexity. Deutch was further
     described as having “more than a passing interest in technology”
     and asking complex computer-related questions. The computer
     specialist found that Deutch “kept you on your toes” with questions
     that required research [for] the answers. Deutch was also
     described as having a heightened interest in the subject of
     encryption for computers. The computer specialist recalled that all
     computer equipment issued to Deutch was appropriately labeled
     for classified or unclassified work.

            100. The computer specialist remembered a conversation
     with Deutch on the subject of computer operating systems creating
     temporary documents and files. This conversation occurred while
     the computer specialist restored information on Deutch’s computer
     after it had failed (i.e., crashed). Deutch watched as documents
     were recovered and asked how the data could be restored. Deutch
     was also curious about the utility software that was used to recover
     the documents. The computer specialist explained to Deutch that
     data was regularly stored in temporary files and could be
     recovered. Deutch appeared to be “impressed” with the recovery
     process.

           101. During another discussion, the computer specialist
     recalled telling Deutch that classified information could not be
     moved to or processed on an unclassified computer for security
     reasons.

                                      38
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 123 of
                                 UNCLASSIFIED
                                     178




           102. The computer specialist considered Deutch to be a
     knowledgeable Internet user who had initially utilized this
     medium while a member of the scientific community at the
     Massachusetts Institute of Technology. During September 1996 and
     while Deutch was still serving as DCI, the unclassified CIA Internet
     web page was altered by a group of Swedish hackers. During
     discussions with the computer specialist concerning this incident,
     Deutch acknowledged that the Internet afforded the opportunity for
     the compromise of information.

           103. C/ ISMS, who supervised computer support provided to
     Deutch from the time of his arrival at CIA through October 1996,
     considered Deutch to be a computer “super user.” Deutch only
     sought assistance when computer equipment was in need of repair
     or he desired additional software. The computer support
     supervisor stated that all unclassified computers and PCMCIA
     cards that were provided for Deutch’s use had green labels
     indicating they were for unclassified purposes.

           104. The LAN technician, who initially configured Deutch’s
     computers at CIA, stated that he labeled all equipment to reflect
     whether it was designated for classified or unclassified purposes.
     The technician’s stated purpose was to make it clear to Deutch what
     information could be processed on a particular computer given the
     requirement that Deutch have access to both classified and
     unclassified computers.


     HAD DEUTCH PREVIOUSLY BEEN FOUND TO HAVE MISHANDLED
     CLASSIFIED INFORMATION?


           105. Beginning in 1977, when he was the Director of Energy
     Research at the Department of Energy (DoE), Deutch had a series of
     positions with U.S. Government agencies that required proper
     handling and safeguarding of classified information to include
     sensitive compartmented information and DoE restricted data.

                                      39
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 124 of
                                 UNCLASSIFIED
                                     178




            106. From 1982 to 1988, Deutch was a paid consultant to the
     CIA’s National Intelligence Council. In 1984, he was also under
     contract to the CIA’s Directorate of Intelligence, Office of Scientific
     Weapons and Research, serving as a member of the DCI’s Nuclear
     Intelligence Panel.

          107. [CIA records reflect Deutch had problems before
     becoming Director with regard to the handling of classified
     information. Other specific information on security processing
     and practices has been deleted due to its level of classification.]
     Deutch served as DoD’s Undersecretary for Acquisitions and
     Technology and Deputy Secretary of Defense prior to his
     appointment as DCI.

           108. On November 21, 1995, DCI Deutch signed a CIA
     classified information non-disclosure agreement concerning a
     sensitive operation. Several provisions pertain to the proper
     handling of classified information and appear to be relevant to
     Deutch’s practices:

              I hereby acknowledge that I have received a security
              indoctrination concerning the nature and protection of classified
              information, . . . .

              I have been advised that . . . negligent handling of classified
              information by me could cause damage or irreparable injury to
              the United States. . . .

              I have been advised that any breach of this agreement may
              result in the termination of any security clearances I hold;
              removal from any position or special confidence and trust
              requiring such clearances; or the termination of my
              employment or other relationships with the Departments or
              Agencies that granted my security clearance or clearances. . . .




                                          40
                                     UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 125 of
                                 UNCLASSIFIED
                                     178



              I agree that I shall return all classified materials which have, or
              may come into my possession or for which I am responsible
              because of such access . . . upon the conclusion of my
              employment . . . .

              I have read this Agreement carefully and my questions, if any,
              have been answered.

     OIG also obtained similar, non-disclosure agreements signed by
     Deutch during his employment at DoD.

     WHAT LAWS, REGULATIONS, AGREEMENTS, AND POLICIES HAVE
     POTENTIAL APPLICATION?


          109. Title 18 United States Code (U.S.C.) §793, “Gathering,
     transmitting or losing defense information” specifies in paragraph
     (f):

              Whoever, being entrusted with or having lawful possession or
              control of any document, writing, . . . or information, relating to
              national defense . . . through gross negligence permits the same
              to be removed from its proper place of custody . . . shall be
              fined under this title or imprisoned not more than ten years, or
              both.

          110. Title 18 U.S.C. §798, "Disclosure of classified
     information” specifies in part:

              Whoever, knowingly and willfully . . . uses in any manner
              prejudicial to the safety or interest of the United States . . . any
              classified information . . . obtained by the processes of
              communication intelligence from the communications of any
              foreign government, knowing the same to have been obtained
              by such processes . . . shall be fined under this title or
              imprisoned not more than ten years, or both.

           111. Title 18 U.S.C. §1924, “Unauthorized removal and
     retention of classified documents or material” specifies:



                                           41
                                      UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 126 of
                                 UNCLASSIFIED
                                     178



              Whoever, being an officer, employee, contractor or consultant of
              the United States, and, by virtue of his office, employment,
              position or contract, becomes possessed of documents or
              materials containing classified information of the United States,
              knowingly removes such documents or materials without
              authority and with the intent to retain such documents or
              materials at an unauthorized location shall be fined not more
              than $1,000, or imprisoned for not more than one year, or both.

            112. The National Security Act of 1947, CIA Act of 1949, and
     Executive Order (E.O.) 12333 establish the legal duty and
     responsibility of the DCI, as head of the United States intelligence
     community and primary advisor to the President and the National
     Security Council on national foreign intelligence, to protect
     intelligence sources and methods from unauthorized disclosure.

            113. Director of Central Intelligence Directive (DCID) 1/16,
     effective July 19, 1988, "Security Policy for Uniform Protection of
     Intelligence Processed in Automated Information Systems and
     Networks," reiterates the statutory authority and responsibilities
     assigned to the DCI for the protection of intelligence sources and
     methods in Section 102 of the National Security Act of 1947,
     E.O.s 12333 and 12356, and National Security Decision Directive
     145 and cites these authorities as the basis for the security of
     classified intelligence, communicated or stored in automated
     information systems and networks.

          114. DCID 1/21, effective July 29, 1994, "Physical Security
     Standards for Sensitive Compartmented Information Facilities
     (SCIFs)," specifies in paragraph 2:

              All [Sensitive Compartmented Information] must be stored
              within accredited SCIFs. Accreditation is the formal affirmation
              that the proposed facility meets physical security standards
              imposed by the DCI in the physical security standards manual
              that supplements this directive.

           115. Headquarters Regulation (HR) 10-23, Storage of
     Classified Information or Materials. Section C (1) specifies:

                                         42
                                    UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 127 of
                                 UNCLASSIFIED
                                     178




              Individual employees are responsible for securing classified
              information or material in their possession in designated
              equipment and areas when not being maintained under
              immediate personal control in approved work areas.

           116. HR 10-24, "Accountability and Handling of Collateral
     Classified Material," prescribes the policies, procedures, and
     responsibilities associated with the accountability and handling of
     collateral classified material. The section concerning individual
     employee responsibilities states:

              Agency personnel are responsible for ensuring that all
              classified material is handled in a secure manner and that
              unauthorized persons are not afforded access to such material.

          117. HR 10-25, "Accountability and Handling of Classified
     Material Requiring Special Control," sets forth policy,
     responsibilities, and procedures that govern the transmission,
     control, and storage of Restricted Data, treaty organization
     information, cryptographic materials, and Sensitive
     Compartmented Information. The section states:

              Individuals authorized access to special control materials are
              responsible for observing the security requirements that govern
              the transmission, control, and storage of said materials.
              Further, they are responsible for ensuring that only persons
              having appropriate clearances or access approvals are
              permitted access to such materials or to the equipment and
              facilities in which they are stored.


     HOW WAS A SIMILAR CASE HANDLED?

           118. In November 1996, a senior CIA official was determined
     to have routinely authored CIA unique, classified documents on his
     personal home computer and CIA-issued laptop computer
     configured for unclassified use. Some of the documents were at the
     Secret and Top Secret/Codeword level. In addition, the senior

                                         43
                                    UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 128 of
                                 UNCLASSIFIED
                                     178



     Agency official had used both computers to visit Internet sites. In
     addition, the senior official’s family members had access to both
     computers. However, there was no way to determine if the
     computer hard drives had been compromised.

            119. On December 12, 1996, [the] OPS Legal Advisor,
     referred a crimes report to the Associate General Counsel (AGC) in
     the CIA Office of General Counsel. On December 13, 1996, the
     AGC forwarded to DoJ a crimes report on this incident. In June
     1997, a Personnel Evaluation Board (PEB) decided to downgrade
     the official from an SIS-06 to SIS-05, issue a two-year letter of
     reprimand including caveats against monetary and non-monetary
     awards and promotions, and suspend the official for 30 workdays
     without pay. In addition, the PEB directed the Office of
     Congressional Affairs to brief the appropriate Congressional
     intelligence committees about this senior official’s breach of
     security. On September 11, 1997, the House Permanent Select
     Committee on Intelligence and the Senate Select Committee on
     Intelligence were briefed on this incident by Executive Director
     David Carey.


     WHAT ACTIONS DID SENIOR AGENCY OFFICIALS TAKE IN HANDLING THE
     DEUTCH CASE?

           ♦ What actions were taken by senior Agency officials after
             learning of this matter?

           120. After learning from O’Neil on December 17, 1996 that
     classified information had been discovered at Deutch’s Maryland
     residence, Slatkin brought the issue to the attention of Acting DCI
     George Tenet within one day. She asserted there were multiple
     discussions with Tenet over time and “everything” had his
     concurrence. Slatkin explained that the issue was too sensitive for
     her and Tenet had the responsibility for making the decisions
     relating to the Deutch incident. Slatkin stated she was also
     concerned that others may have perceived that she and O’Neil, due

                                      44
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 129 of
                                 UNCLASSIFIED
                                     178



     to their close association with Deutch, should recuse themselves
     from the matter. Slatkin said that Tenet gave her the responsibility
     for coordinating this matter. She relied on O’Neil for legal advice
     and Calder for a technical review.

          121. Calder recalled one or possibly two “late night
     discussions” with Tenet concerning the Deutch incident. One
     meeting was to provide Tenet “the lay of the land.” At the second
     meeting, Tenet gave instructions for the investigation to proceed
     unimpeded.

          122. Tenet stated he first learned of the discovery of classified
     information on the Maryland computer in December 1996 or
     January 1997 from either the Chief, DCI Security Staff or from the
     C/DCI Administration. Tenet recalled that Slatkin and O’Neil got
     involved in deciding how to handle the issue. Tenet did not hear
     about any disagreements concerning the handling of this matter
     and believed that Slatkin and O’Neil did not want to place Tenet in
     the position of adjudicating a matter involving Deutch.

           123. O’Neil stated that he is uncertain how he first learned of
     the discovery of classified information on Deutch’s Maryland
     computer. However, according to C/DCI Administration, a
     meeting was held on the afternoon of December 17, 1996 with
     O’Neil. At that meeting, O’Neil stated Deutch was concerned about
     retaining his personal information before returning the four
     PCMCIA cards to CIA. C/DCI Administration offered a solution
     by offering to provide Deutch with replacement PCMCIA cards on
     which Deutch could transfer his personal information. O’Neil
     passed this suggestion to Deutch, and Deutch agreed. Afterward,
     the contract network engineer also talked to Deutch about copying
     his personal information to the new PCMCIA cards. The contract
     network engineer recalled Deutch wanting to review the files on
     the original PCMCIA cards because they contained personal
     information.17
     17 In his interview with OIG, Deutch confirmed he reviewed the original PCMCIA cards to delete
     personal information.

                                                45
                                           UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 130 of
                                 UNCLASSIFIED
                                     178




           124. [The] PDGC learned of the matter on the day of its
     discovery. Between that date, December 17, 1996, and the date SIB
     began its investigation, the PDGC recalled there was an ongoing
     dialogue involving O’Neil, Slatkin, and Calder. The PDGC stated
     that O’Neil kept her abreast of developments.

            125. The former ADDA believes that C/DCI Administration
     initially apprised her of the discovery on December 26, 1996. Her
     first concern related to properly securing the classified information
     at the Deutch residence, which the C/DCI Administration said he
     would handle. Several days later, [she] learned that the magnetic
     media at the Maryland residence had been secured, although not as
     expeditiously as she desired. [She] stated that the PCMCIA cards
     that had been in Deutch’s possession were given to O’Neil.

           126. The former ADDA stated that Calder, Slatkin, and
     O’Neil held a series of meetings to discuss how to handle the
     incident. She recalled other issues surfacing, such as the resident
     alien employed as a maid at the Deutch residence; Deutch’s
     personal financial records being maintained on government-owned
     computers; “disks” Deutch carried in his shirt pocket; and other
     government-issued unclassified computers at Deutch’s Belmont
     residence, the OEOB, and Headquarters that may contain classified
     information.

           127. D/OPS was first briefed on the case by Calder, who
     became [his] senior focal point with the former ADDA serving as a
     back-up. D/OPS never discussed the case directly with either
     Slatkin or O’Neil. He remembered that the specific permission of
     Slatkin or O’Neil was needed to involve others in the case.
     According to D/OPS, the former ADDA believed that Slatkin and
     O’Neil had as their main concern the fear that sensitive and
     personal information contained in Deutch’s journals would leak.
     Slatkin stated it was standard operating procedure, when dealing
     with sensitive investigations or operations, to review requests to
     involve additional individuals. She claimed it was common

                                      46
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 131 of
                                 UNCLASSIFIED
                                     178



     practice for her to review such requests with the DCI. She does not
     recall denying any request to involve others in this case.

           128. According to C/SIB, D/OPS asked him to conduct a
     security investigation to determine: (1) if classified information
     found on Deutch’s government-issued unclassified computer had
     been compromised, and (2) what conditions would allow a
     compromise to occur. C/SIB said he was to determine the “who,
     what, where, when, and why.” C/SIB expected “noteworthy”
     information would be compared to the appropriate DCID security
     standards and adjudication would be based on SIB’s findings. He
     recalled advising the D/OPS that classified information on
     unclassified media could involve a potential violation of federal
     law.

           129. The OPS Legal Advisor wrote in a January 7, 1997 MFR
     that he attended a meeting the previous day with Calder, D/OPS,
     C/SIB, and an SIB investigator to discuss the discovery of the
     classified information on the computer at Deutch’s Maryland
     residence. Among the issues discussed were:

              Acknowledgment that because this case involves former DCI
              Deutch, whatever actions are taken by OPS and other parties
              will be scrutinized very closely. Therefore, it was stressed by
              everyone at the meeting that the security investigation of this
              case must follow the same pattern established in other cases
              where employees have placed classified information on a
              computer and possibly exposed that information to access by
              unauthorized individuals.

           130. Calder stated that the OPS Legal Advisor was strident
     in his concern that Deutch be treated the same as any other Agency
     employee and senior officials should scrupulously avoid showing
     special treatment to Deutch. Calder agreed that the investigation
     should resemble those conducted for similar violations by other
     Agency personnel. He stated he was concerned that he insulate the
     OPS/SIB personnel and the C/DCI Administration to ensure that
     they did not “get ground up.”

                                         47
                                    UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 132 of
                                 UNCLASSIFIED
                                     178




          131. Calder stated that he initially assumed this matter
     would arise again in the future, possibly with a Congressional
     committee. Therefore, he insisted that the case be conducted in the
     same manner as for any CIA employee.




                                      48
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 133 of
                                 UNCLASSIFIED
                                     178



           ♦ How were the Maryland PCMCIA cards handled?

           132. SIB sought to obtain and secure all the government-
     issued computer equipment and magnetic media that had been
     provided to Deutch, such as the computers and peripherals that
     were at both Deutch residences. By early January 1997, all
     government-issued computer equipment and magnetic media used
     by Deutch had been turned over to SIB with the exception of the
     four PCMCIA cards that had been observed by the inspection team
     on December 17, 1996.

           133. O’Neil recalled that a DCI Security officer brought him
     the four PCMCIA cards from the Maryland residence. O’Neil
     stated he put the PCMCIA cards in his safe and never opened the
     envelope that contained them. He said he gave the PCMCIA cards
     to Calder without argument when asked.

           134. Calder recalled that O’Neil told him that Deutch wanted
     the PCMCIA cards destroyed. Calder advocated the position that
     the cards should not be tampered with and must be maintained in
     the event of a future leak investigation. According to Calder,
     O’Neil and Deutch came to realize the PCMCIA cards could not be
     summarily destroyed. Calder stated that he went to O’Neil on
     three or four occasions in an attempt to obtain the four PCMCIA
     cards, and it took two to three weeks to reach a satisfactory
     arrangement for O’Neil to surrender them.

           135. The PDGC also recalled, “We had to hammer O’Neil to
     give the [PCMCIA] cards to Security.” The PDGC believes Slatkin,
     whose “loyalty to Deutch was incredible,” and Deutch pressured
     O’Neil not to allow others to have access to the personal
     information on the cards. The PDGC stated that she, Calder, the
     OPS Legal Advisor, and C/SIB “pushed the other way” and
     advocated that O’Neil turn the cards over to Security. C/SIB
     confirmed the difficulty obtaining the four PCMCIA cards in
     O’Neil’s possession.


                                      49
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 134 of
                                 UNCLASSIFIED
                                     178



           136. The former ADDA recalled advising Slatkin that the
     investigation was dragging on, and that unidentified individuals
     believed that this was being done purposely in order to “cover up”
     the event. The former ADDA told Slatkin that O’Neil’s
     withholding of the four cards supported the “cover up” perception.

           137. According to Slatkin, after the former ADDA told
     Slatkin about the problem with the four remaining disks, she
     requested a meeting with Tenet, O'Neil, and Calder. Tenet
     reportedly told O’Neil to surrender the PCMCIA cards to Calder.
     Calder stated that O’Neil claimed that, although Calder had
     discussed his need for the cards, Calder had never specifically
     asked O’Neil to turn them over. C/SIB states that Calder, in his
     presence, "specifically ask[ed]" O'Neil to release the PCMCIA cards.
     Slatkin said she would have reacted earlier if she had known of
     Calder’s concern.

           138. According to O'Neil, he, Tenet, Slatkin, and Calder had
     conversations over a period of several weeks on the exploitation of
     the PCMCIA cards and protecting Deutch's privacy. After Tenet
     decided on the process for handling the cards, they were delivered
     to Calder. O'Neil said he never refused to turn over the cards for
     exploitation.

           139. O’Neil surrendered the four PCMCIA cards to Calder on
     February 3, 1997. Calder provided the cards to C/SIB on February
     4, 1997.

           ♦ What was the course of the Special Investigations
             Branch’s investigation of Deutch?

           140. Calder stated that, in his view, Slatkin and O’Neil did
     not want Deutch’s name “to be besmirched” and O’Neil assumed
     the role of an “interlocutor.” He also said that Slatkin and O’Neil
     were particularly sensitive that a possible vendetta would be
     orchestrated by security personnel as a response to interference by
     O’Neil and Slatkin in a previous, unrelated, joint investigation

                                      50
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 135 of
                                 UNCLASSIFIED
                                     178



     involving the DoD.18 Calder characterized his encounters with
     Slatkin regarding the Deutch investigation as “always difficult
     discussions” and that it was continually necessary to “push
     forward” and achieve “a negotiated peace.” Slatkin, however,
     stated that she had no involvement in the DoD-CIA investigation
     except to determine why the Acting Director and she had not been
     informed of the notification to DoD.

           141. The OPS Legal Advisor believes Slatkin "constrained the
     investigative apparatus.” He cited, as an example, Slatkin
     advocating allowing Deutch to go into the files to determine if the
     information was personal or belonged to the CIA. The OPS Legal
     Advisor stated that the policy has always been that an individual
     who places personal information on a government computer loses
     the expectation of privacy and the material reverts to the control of
     the government authorities. The OPS Legal Advisor stated that
     Calder, D/OPS, and the former ADDA tried to keep the
     investigation on track. Slatkin denied interfering with the
     investigation. She stated that she did not make any unilateral
     decisions about the course of the investigation. All requests made
     by Deutch were relayed to O'Neil, Calder, and Tenet.

           142. In the early stages of SIB’s investigation, Calder recalled
     telling Tenet there was no indication of a compromise and the
     investigation was proceeding. Calder said that the investigators
     showed him some of the classified material. It included Top
     Secret/[Codeword] information; collection methods and imagery;
     and possibly information identifying CIA operations officers.




     18 Based on a series of intelligence leaks in the Washington Times, CIA’s Special Investigations
     Branch determined the leaks were related to the distribution of intelligence reports at the Pentagon.
     In a routine procedure, CIA sent a letter to DoD and the Defense Intelligence Agency (DIA) to
     coordinate an investigation. According to Calder, the DIA nominee for Director of that organization
     contacted Slatkin and demanded an explanation of the CIA’s actions. Subsequently, O’Neil
     requested that DDA Calder rescind the CIA letter. Calder states that O’Neil commented the actions
     of CIA security officials appeared to be “vindictive and malicious.”

                                                   51
                                              UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 136 of
                                 UNCLASSIFIED
                                     178




           143. Calder stated that after a complete package of Deutch’s
     material was recovered from the magnetic media, the question
     arose as to the proper person to review the material. Because the
     material contained personal information, Calder recalled that
     Deutch wanted to review the material himself or have O’Neil do
     the review. Ultimately, Slatkin selected D/OPS for the task.

            144. As part of the SIB investigation, C/SIB interviewed staff
     from DCI Security and the DCI Information Services Management
     Staff; he also planned to interview [Deutch's Executive Assistant]
     and Deutch.19 On March 24, 1997, Calder informed C/SIB that
     C/SIB would not be the one to interview Deutch. (Calder later
     explained to OIG investigators that a concern existed to have
     somebody who was politically sensitive question Deutch, should
     such an interview prove necessary.) At Calder’s request, SIB
     composed questions to ask Deutch and, on May 15, 1997,
     forwarded them to D/OPS for review. However, C/SIB also
     informed Calder that SIB would not continue their efforts because
     certain interviewees (i.e., Deutch) were not accessible to SIB.
     Calder agreed.

           145. The OPS Legal Advisor stated that, normally, a case
     similar to Deutch’s would not only be referred to SIB for
     investigation, but a contemporaneous damage assessment would
     also be conducted. If the subject was a former employee, typically
     the subject would be banned from holding a security clearance and
     future CIA employment.

          146. After D/OPS reviewed the 17,000 pages of recovered
     documents, he prepared a report of his findings and attached a
     copy of C/SIB’s separate, signed report. He recalled receiving a
     “panicky” call from the former ADDA relaying that Slatkin
     wanted the report immediately.



     19 C/SIB noted that he did not review Deutch’s official security file. OIG reviewed the file.


                                                   52
                                              UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 137 of
                                 UNCLASSIFIED
                                     178



            147. Calder was familiar with D/OPS's report and stated
     that it was the lone document that he retained following the
     conclusion of the investigation. He recalled sending the report to
     Slatkin and receiving it back with marginal comments, possibly
     asking if the PCMCIA cards had been destroyed. Slatkin recalled
     that the draft report was hand-carried to her by Calder. After she
     read the report, she made written editorial comments requesting
     clarification and returned the draft report to either Calder or
     D/OPS. She received the final report, reviewed it, and personally
     handed it to Tenet. Tenet does not remember ever seeing D/OPS's
     report, nor does he recall any of the details of the report. He said it
     is possible that someone told him about the report or showed it to
     him.

           148. A signed copy of the D/OPS report dated July 8, 1997,
     was recovered from the DDA’s Registry. It did not have any notes
     on the text or attached to the document. No copy was ever
     recovered from the DCI’s Executive Registry, the Executive
     Director’s Office, Calder’s personal safe, or anywhere in OGC.

           149. There was considerable discussion of what should be
     done with the magnetic media after its material was catalogued.
     O'Neil said that Tenet's decision was to retain permanently the
     PCMCIA cards and a copy of all the classified documents. Calder,
     however, said there was some disagreement among the parties and
     the ultimate decision was to destroy the material, including the
     magnetic media. At the end of the investigation, Calder
     remembered asking D/OPS what happened to the PCMCIA cards
     and being told the disks were about to be destroyed or had been
     destroyed. Nevertheless, Calder said he was not certain the cards
     were destroyed.

           150. After D/OPS sent his report to Calder, the OPS Legal
     Advisor received an e-mail from the C/ALD stating that the PDGC
     had spoken to Calder about the SIB investigation of Deutch. Calder
     reportedly said Deutch would be given a code of conduct briefing
     in conjunction with Deutch’s security briefing as a member of the

                                      53
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 138 of
                                 UNCLASSIFIED
                                     178



     Proliferation Commission.20 On August 3, 1997, the OPS Legal
     Advisor sent the C/ALD an e-mail response expressing concern
     that no one at DoD or the White House had, so far, been notified
     about a possible compromise of information. He also raised the
     issue of Deutch retaining his security clearance. The OPS Legal
     Advisor wrote:

                 I remain unpersuaded, however, that the CIA has done
                 everything it can in this case to protect CIA and DOD equities.
                 The investigation has been one in name only . . . . I’m certainly
                 not persuaded that giving this man a security clearance is in the
                 best interest of the U.S. Government or the President . . . . I
                 mean, geez, when was the last time a subject of an investigation
                 was not interviewed because he objected to talking to security
                 officers and the EXDIR, a personal friend, used her position to
                 short circuit an investigation? Let’s be honest with each other,
                 this so-called investigation has been handled in a manner that
                 was more designed not to upset friendships than to protect the
                 interests of the U.S.G.

           151. C/SIB had also relayed his concerns about the possible
     exposure of DoD classified material of ongoing military operations.
     In his chronology, C/SIB wrote that on March 14, 1997, Calder
     decided appropriate senior level DoD officials should be briefed on
     a potential compromise. Calder planned to brief Slatkin of this
     decision. C/SIB indicated he again reminded Calder of the need
     for DoD notification on March 24, 1997. The OIG investigation did
     not locate any information that such notification occurred until OIG
     notified DoD on June 17, 1998.

          152. As of May 1998, when OIG began its investigation, there
     was no information in Deutch’s official Agency security file
     concerning the SIB investigation or its findings nor was there any
     evidence of a security adjudication.



     20 There is no record of Deutch receiving a code of conduct briefing. The Center for CIA Security
     provided an SCI briefing to the Commission members on two occasions. Deutch was present for the
     second one-hour presentation on November 17, 1998.

                                                  54
                                             UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 139 of
                                 UNCLASSIFIED
                                     178



     SHOULD A CRIMES REPORT INITIALLY HAVE BEEN FILED ON DEUTCH IN
     THIS CASE?


         153. Title 28 U.S.C. §535, “Investigation of crimes involving
     Government officers and employees,” requires that

                 any information, allegation or complaint received in a
                 department or agency of the executive branch of the
                 government relating to violations of Title 18 [U.S. Code]
                 involving Government officers and employees shall be
                 expeditiously reported to the Attorney General.

           154. Section 1.7(a) of E.O. 12333, United States Intelligence
     Activities, requires senior officials of the intelligence community to
     “report to the Attorney General possible violations of federal
     criminal laws by employees and [violations] of specified criminal
     laws by any other person . . . .” This responsibility is to be carried
     out “as provided in procedures agreed upon by the Attorney
     General and the head of the department or agency concerned . . . .”

          155. Pursuant to Part 1.7(a) of E.O. 12333, the DCI and the
     Attorney General agreed on crimes reporting procedures for CIA
     on March 2, 1982. These procedures, which are included as Annex
     D to HR 7-1, were in effect from that time until August 2, 1995,
     when they were superseded by new procedures.21 The new
     procedures are contained in a document, “Memorandum of
     Understanding: Reporting of Information Concerning Federal
     Crimes,” signed by DCI Deutch.

         156. According to the Memorandum of Understanding
     (MOU),

                 [w]hen the General Counsel has received allegations,
                 complaints, or information (hereinafter allegations) that an


     21 Although HR 7-1 Annex D was superseded by the MOU on August 2, 1995, the current version of
     HR 7-1 Annex D is dated December 23, 1987 and does not reflect the changes caused by the
     subsequent MOU.

                                                55
                                           UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 140 of
                                 UNCLASSIFIED
                                     178



                 employee22 of the Agency may have violated, may be violating,
                 or may violate a federal criminal statute, that General Counsel
                 should within a reasonable period of time determine whether
                 there is a reasonable basis23 to believe that a federal crime has
                 been, is being, or will be committed and that it is a crime which,
                 under this memorandum, must be reported.24

           157. In [the] MFR of the OPS Legal Advisor of January 7,
     1997, he wrote that another issue discussed was:

                 The need to determine whether a crimes report will be required
                 after an assessment of the information stored on the drives and
                 the PCMCIA cards. [18 U.S.C. §§1924 and 793(f) were briefly
                 discussed.] The General Counsel will make any determination
                 in that regard.

          158. The OPS Legal Advisor stated that he understood that
     Deutch had placed classified information on unclassified CIA
     computers that were connected to the Internet, and the classified
     information only “came out of Deutch’s head” when he composed
     documents on the computer. The OPS Legal Advisor said he did
     not know or have any information that Deutch had removed
     documents from controlled areas containing classified
     information.25

           159. The OPS Legal Advisor remembered discussing the
     issue of the possible criminality of Deutch’s actions with the PDGC.
     His position was more conservative than the PDGC's. She raised
     the point that, as DCI, Deutch had the legal authority to declassify
     material under his control. This led to her contention that Deutch

     22 According to paragraph II B. 1. of the MOU, an “employee” is defined as “a staff employee,
     contract employee, asset, or other person or entity providing service to or acting on behalf of any
     agency within the intelligence community.”
     23 According to paragraph II E. of the MOU, “'Reasonable basis' exists when there are facts and
     circumstances, either personally known or of which knowledge is acquired from a source believed
     to be reasonably trustworthy, that would cause a person of reasonable caution to believe that a
     crime has been, is being, or will be committed.”
     24 Records of the Office of General Counsel indicate there were an average of 200 written crimes
     reports submitted to DoJ each year for the period 1995-1998.
     25 Title 18 U.S.C. §§793(f) and 1924 both prohibit the improper removal of "documents."


                                                   56
                                              UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 141 of
                                 UNCLASSIFIED
                                     178



     could not be prosecuted for a security violation. She reportedly
     cited an instance when then-DCI William Casey inadvertently
     divulged classified information in an interview with the media.

           160. The OPS Legal Advisor provided handwritten notes
     from January 6, 1997 about a discussion of a possible crimes report
     with the PDGC:

              Talked to [the PDGC]. She already knew about the Deutch leak.
              Discussed the 793(f) issue. She concluded years ago that the
              DCI who has authority to declassify cannot realistically be
              punished under the statute. I expressed my disbelief in that
              analysis. Hypo - does that put the DCI beyond espionage
              statutes? No she says that would be a natl. security call . . . .
              Returned briefly to information in play. Discussed how there
              may have been [non-CIA controlled compartmented program
              material] on the computer. Doesn’t this push 793(f) back into
              play?

           161. In his OIG interview, the OPS Legal Advisor said that
     DoD material and Top Secret/[the non-CIA controlled
     compartmented program] material would not qualify for
     information a DCI had the authority to declassify. He realized that
     a referral to the FBI would “technically not” be the same as making
     a crimes report to DoJ. He stated there was a tendency to discuss
     some cases with the FBI in order to get their procedural advice.

           162. The OPS Legal Advisor had a discussion with an FBI
     agent then assigned to the Counterespionage Group,
     Counterintelligence Center (CIC), regarding the possible
     applicability of Title 18 U.S.C. §§793(f) and 1924 in the matter
     regarding Deutch. The OPS Legal Advisor recalled this FBI Agent
     believing that there had to be a physical removal of documents to
     constitute a violation of the statutes.

         163. A two-page handwritten note of January 24, 1997,
     composed by the OPS Legal Advisor, reported his discussion



                                         57
                                    UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 142 of
                                 UNCLASSIFIED
                                     178



     with the FBI Agent regarding the case. The note indicated that the
     FBI Agent at CIC suggested that it was better to have O’Neil call
     the then-FBI General Counsel to discuss the case.

           164. The OPS Legal Advisor provided an MFR reporting a
     January 28, 1997 meeting with the PDGC and O’Neil to discuss the
     Deutch case. At that time, O’Neil indicated he anticipated calling
     the FBI General Counsel to tell him CIA intended to conduct an
     investigation of this matter unless the FBI General Counsel wanted
     the FBI to assert investigative authority.

           165. According to O’Neil, neither he nor anyone else
     suggested a crimes report be filed on the Deutch matter. O’Neil
     said a crimes report can be made at several points during an
     investigation. He pointed out that, in a number of cases, CIA
     conducts its own investigation. Matters could also be referred to
     DoJ to conduct an investigation.

           166. O’Neil is not certain whether he talked to the FBI agent
     at CIC about the Deutch matter. O’Neil has a vague recollection he
     called the FBI General Counsel and asked him how CIA should
     proceed. O’Neil described the case to the FBI General Counsel,
     who said that the CIA should continue its own process of looking at
     the matter. O’Neil believes he wrote an MFR documenting his
     conversation and may have given the MFR to his secretary to keep
     in a personal folder used for sensitive matters.26

          167. The FBI Agent at CIC recalled that he was told Deutch
     had classified information on a computer disk at his home in
     Maryland shortly after the matter was discovered. The FBI Agent
     was asked if the matter was an “811” violation.27 The FBI Agent
     concluded there was no reason to believe that the information had
     been compromised to a foreign power and, therefore, the FBI did

     26 A check of O’Neil’s “sensitive personal file” was conducted by his secretary’s successor in OGC.
     There was no evidence of any document regarding contact between O’Neil and the FBI General
     Counsel concerning a possible crimes report on Deutch.
     27 “811” is Section 811 of the Counterintelligence and Security Enhancement Act of 1994.


                                                 58
                                            UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 143 of
                                 UNCLASSIFIED
                                     178



     not need to get involved. The FBI Agent recalled telling someone
     at CIA, whose identity he does not remember, that since Deutch
     was involved, O’Neil may want to contact the FBI General Counsel,
     O’Neil’s counterpart at FBI. The FBI Agent said that he established
     early on in his tenure at CIA that merely telling him something did
     not constitute official notification of the FBI much less DoJ. He was
     aware that OGC had crimes reporting responsibilities, and he
     expected them to fulfill those responsibilities.

           168. The FBI General Counsel recalled a single telephone call
     from O’Neil after Deutch left CIA, between February and April
     1997. At that time, O’Neil told the FBI General Counsel an issue
     had arisen about classified information existing on some computer
     disks at Deutch’s home. The FBI General Counsel recalled they
     discussed CIA reporting requirements to the FBI under “811.” [He]
     believes he would have told O’Neil that not enough was known
     about the matter at the time. If an “811” problem surfaced after
     CIA had looked into the matter, CIA should refer the problem to
     the FBI through official CIA channels.

            169. The FBI General Counsel stated that he did not consider
     O’Neil’s call as a submission of a crimes report because, from what
     he remembers being told, there was no evidence of a crime. He
     said that he and O’Neil spoke on the telephone several times a
     week, but O’Neil never made a crimes report to him. [He] said that
     if he thought O’Neil was giving him a crimes report, he would
     have told him to do it through the proper channel.

          170. Calder said that if a referral should have been made to
     DoJ and was not, he believes the omission was not intentional.
     However, Calder stated the responsibility for a crimes report was
     O’Neil’s. Calder added that "I have never issued a crimes report
     and would always raise such an issue with OGC for their action."
     Calder said the FBI General Counsel had informed O’Neil that DoJ
     would not pursue a Deutch investigation regarding misuse of the
     computer.


                                      59
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 144 of
                                 UNCLASSIFIED
                                     178




           171. The PDGC had supervisory responsibility of the
     Litigation Division which had the crimes reporting account in OGC
     at that time.28 The PDGC stated she did not have a lot of hands-on
     experience with the mechanics of coordinating crimes reports and
     had never authored a crimes report. She first learned of the
     discovery of classified information, including Top Secret/[a non-
     CIA controlled compartmented program] material, on a computer
     in Deutch’s Maryland residence on the day of its discovery in
     December 1996. She remembered hearing about information
     regarding a covert action with [two countries] but does not recall
     hearing there was [codeword] or [a different codeword]
     information on the computer. She did not learn that the computer
     at his Belmont residence also contained classified information.

           172. The PDGC was not aware that Deutch was deleting files
     from the Maryland computer in the days immediately following
     the discovery of the classified information. She remembered
     speaking with Calder about the necessity of protecting the magnetic
     media. Her reason for wanting to retain the magnetic media was
     not for evidence of a crime but to have a record should there be a
     need to conduct a leak investigation in the future.

          173. When considering the need for a crimes report, the
     PDGC said she did not examine the “Memorandum of
     Understanding: Reporting of Information Concerning Federal
     Crimes.” She did not consult with any attorneys from the Internal
     Security Section of DoJ or with the United States Attorneys Office.
     She does not remember reviewing Title 18 U.S.C. §793(f),
     “Gathering, transmitting or losing defense information.” She
     spoke with O’Neil’s Executive Assistant29 regarding the provisions

     28 The PDGC has served in the CIA since 1982. [She] was appointed PDGC, the second highest
     position in the Office of General Counsel, in the summer of 1995 and served in that capacity until
     March 1, 1999. While serving as PDGC, [she] also served as Acting General Counsel from the
     August 11, 1997 until November 10, 1997.
     29 The then-Executive Assistant to the GC states he was aware of the inquiry regarding the
     classified information found on Deutch’s computer and that it was being worked by others in OGC.

                                                  60
                                             UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 145 of
                                 UNCLASSIFIED
                                     178



     of Title 18 and with the OPS Legal Advisor. She did not agree with
     the OPS Legal Advisor's assertion that, because the classified
     information “was [only] in his [Deutch’s] head,” Deutch did not
     remove classified information from the Agency. The PDGC was
     aware that, on occasion, Deutch carried the PCMCIA cards “back
     and forth” with him. She did not know if the cards contained
     classified information. The PDGC saw no distinction between
     classified information on a document as opposed to being on
     magnetic media. She explained that she was more concerned at
     this time with protecting and recovering the magnetic media than
     considering a crimes report.

           174. The PDGC reviewed the statutes she thought would be
     relevant and did not see all the elements present for a violation.
     She believed that Deutch, as DCI, was the authority for the rules
     concerning the handling of classified information. Because Deutch
     issued DCIDs on classified material, she believed he could waive
     the rules for himself. The PDGC recognized that the DCI cannot
     declassify Top Secret/[the non-CIA controlled compartmented
     program] material, but said such material may be handled under
     the DCID rules. The PDGC stated that given the fact that this
     matter involved a former DCI, if she had believed a crimes report
     was necessary, she would have shown the draft to O'Neil and he
     would have had the final say as to whether a crimes report was
     warranted.

           175. The PDGC focused on Title 18 U.S.C. §1924,
     “Unauthorized Removal and Retention of Classified Documents or
     Material. ” She understood that Deutch was authorized to remove
     classified information and take it home since he had a safe at his
     residence. She stated that she did not see “intent” 30 by Deutch. She
     reasoned that “intent” was a necessary element, “otherwise
     everyone [inadvertently] carrying classified information out of a

     The Executive Assistant does not remember assisting the PDGC in this matter, but concludes that, if
     the PDGC states that he assisted her, he has no reason to doubt her recollection.
     30 The statute contains the pertinent phrase “and with the intent to retain such documents or
     materials at an unauthorized location.”

                                                    61
                                               UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 146 of
                                 UNCLASSIFIED
                                     178



     CIA building would be the subject of a crimes report.” According
     to the PDGC, Deutch had permission to take the classified material
     home, and Deutch’s use of the PCMCIA cards was permissible
     within his residence. In the PDGC's view, the security violation
     occurred when he “did not do it right” by connecting the Internet to
     his computer and “leaving the card in the slot.” She did not
     distinguish between Deutch as DCI and his actual status as an
     Independent Contractor when the classified information was
     discovered. However, she would have looked at the issue
     differently if she understood that the only acceptable means of
     safeguarding the computer would have been to remove and secure
     the computer’s hard drive.

           176. The PDGC did not remember when she made the legal
     decision that a crimes report was not required. She remembered
     speaking with C/SIB in March 1997 about his concern that a crimes
     report should be filed.

           177. The PDGC said that D/OPS's report was not made
     available to her. Although someone in OGC would usually read
     OPS reports, the PDGC speculated that the D/OPS would not have
     shown the report to her without receiving authorization. She never
     thought to request a copy of the D/OPS's report to determine if his
     findings were consistent with her decision not to file a crimes
     report. Later, after she became Acting General Counsel, the issue of
     her reviewing the report never arose, and she would have expected
     OPS to raise the report with her only if the facts had changed
     significantly from what she learned initially.

           178. In comparing the Deutch case to a similar case involving
     a senior Agency official, the PDGC asserted that the other official
     did not have a safe in his residence and was not authorized to take
     home classified information. She viewed this dissimilarity as a
     major distinction. Nor did he have the authority to waive the rules
     on the handling of classified information. The PDGC did not




                                      62
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 147 of
                                 UNCLASSIFIED
                                     178



     remember if OGC made a crimes report on that case of
     mishandling classified information.31

           179. George Tenet, who was Acting DCI at the time of the
     OPS/SIB investigation, said no one ever raised the issue of
     reporting this incident to DoJ, and it did not occur to him to do so.
     Tenet said no one ever came forward with a legal judgment that
     what had occurred was a crime. In Tenet’s opinion, based upon
     what he knew at that time, there was no intent on Deutch’s part to
     compromise classified information. Therefore, Tenet did not
     believe a crime was committed. Tenet was aware of the incident
     involving [another] senior Agency official but was not aware a
     crimes report had been filed on it.


     SHOULD APPLICATION OF THE INDEPENDENT COUNSEL STATUTE HAVE
     BEEN CONSIDERED?


           180. The fundamental purpose of the Independent Counsel
     statute is to ensure that serious allegations of unlawful conduct by
     certain federal executive officials are subject to review by counsel
     independent of any incumbent administration.

           181. Title 28 U.S.C. §592, “Preliminary investigation and
     application for appointment of an independent counsel” cites Title
     28 U.S.C. §591, “Applicability of provisions of this chapter,” as the
     basis for those positions who are “covered persons” under the
     Independent Counsel statute.

          182. Title 28 U.S.C. §591 (a), “Preliminary investigation with
     respect to certain covered persons” specifies:

                 The Attorney General shall conduct a preliminary investigation
                 in accordance with Section 592 whenever the Attorney General
                 receives information sufficient to constitute grounds to


     31 A crimes report was made by letter to DoJ on December 13, 1996. It is signed by the AGC in the
     Litigation Division, who was the OGC focal point for crimes reports at that time.

                                                  63
                                             UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 148 of
                                 UNCLASSIFIED
                                     178



                  investigate whether any person described in subsection (b) may
                  have violated any Federal criminal law other than a violation
                  classified as a Class B or C misdemeanor or an infraction.32

          183. Title 28 U.S.C. §591 (b), “Persons to whom subsection (a)
     applies” lists:

                  . . . the Director of Central Intelligence [and] the Deputy
                  Director of Central Intelligence . . . . 33

           184. Title 28 U.S.C. §591 (d) (1), “Examination of information
     to determine need for preliminary investigation,” “factors to be
     considered” specifies:

                  In determining . . . whether grounds to investigate exist, the
                  Attorney General shall consider only—(A) the specificity of the
                  information received; and (B) the credibility of the source of the
                  information.

           185. The Deputy Chief, Public Integrity Section, Criminal
     Division, DoJ, is responsible for the preliminary review of matters
     referred to DoJ under the provisions of the Independent Counsel
     statute. [She] explained that the provisions of the Independent
     Counsel statute require DoJ to review an allegation regarding a
     “covered person” to determine the need for preliminary
     investigation based only on the two factors listed above.

           186. The Deputy Chief of the Public Integrity Section
     explained that after the CIA IG referral in March 1998, the Public
     Integrity Section reviewed the matter and described it in a
     memorandum to the Attorney General. The memorandum stated
     that the allegations of illegal behavior regarding former DCI
     Deutch were received more than one year after Deutch left office.
     32 Title 18 U.S.C. §793(f) and Title 18 U.S.C. §798 are felonies; Title 18 U.S.C. §1924 is a Class A
     misdemeanor.
     33 Title 28 U.S.C §591(b)(7) limits applicability of the statute to the term of office of the "covered
     person" and the one-year period after the individual leaves the office or position. This means that
     Deutch’s potential exposure to the provisions of the Independent Counsel statute expired following
     the one-year anniversary of his resignation, December 14, 1997.

                                                     64
                                                UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 149 of
                                 UNCLASSIFIED
                                     178



     Accordingly, under the provisions of the Independent Counsel
     statute, Deutch was no longer a “covered person.” The Deputy
     Chief of the Public Integrity Section added that the allegation
     should have been promptly referred to DoJ by CIA personnel.

           187. The OPS Legal Advisor stated that he never considered
     the need to refer this matter to an Independent Counsel based on
     Deutch’s status as a “covered person.” Nor was he aware of any
     other discussions on this matter.

           188. The PDGC stated that the issue of Deutch being a
     “covered person” under the Independent Counsel legislation did
     not arise. She said that “she never gave a thought” to the
     applicability of the Independent Counsel statute, and she does not
     know what positions within the Agency are specified as “covered
     persons.”

          189. O’Neil stated that there was no recommendation to refer
     the Deutch matter to DoJ under the provisions of the Independent
     Counsel statute.


     WERE SENIOR AGENCY OFFICIALS OBLIGATED TO NOTIFY THE
     CONGRESSIONAL OVERSIGHT COMMITTEES OR THE INTELLIGENCE
     OVERSIGHT BOARD OF THE PRESIDENT'S FOREIGN INTELLIGENCE
     ADVISORY BOARD? WERE THESE ENTITIES NOTIFIED?

           190. Pursuant to the National Security Act of 1947, as
     amended, the President and the DCI bear statutory responsibility
     for keeping the two Congressional intelligence committees fully and
     currently informed of all intelligence activities.

           191. Agency Regulation (AR) 7-2, “Reporting of Intelligence
     Activities to Congress,” provides interpretation of the statutes so
     the Agency, with the assistance of the Office of Congressional
     Affairs and the Office of General Counsel, can assist the DCI in
     meeting the obligation to keep the intelligence committees fully and

                                      65
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 150 of
                                 UNCLASSIFIED
                                     178



     currently informed. Under the section, “Obligation to Keep
     Congressional Intelligence Committees Fully and Currently
     Informed,” one of the three categories requiring reporting are:

                 Particular intelligence activities or categories of activities as to
                 which either of the Congressional intelligence committees has
                 expressed a continuing interest (for example, potentially
                 serious violations of U.S. criminal law by Agency employees,
                 sources, or contacts);

          192. E.O. 12863, issued September 13, 1993, President’s
     Foreign Intelligence Advisory Board, specifies:

                 The heads of departments and agencies of the Intelligence
                 Community, to the extent permitted by law, shall provide the
                 Intelligence Oversight Board (IOB)34 with all information that
                 the IOB deems necessary to carry out its responsibilities.
                 Inspectors General and General Counsel of the Intelligence
                 Community, to the extent permitted by law, shall report to the
                 IOB, at least on a quarterly basis and from time to time as
                 necessary or appropriate, concerning intelligence activities that
                 they have reason to believe may be unlawful or contrary to
                 Executive order or Presidential directive.

           193. According to the Director of the CIA’s Office of
     Congressional Affairs (OCA), OCA is responsible for notifications
     to Congress and should be informed of any formal Agency
     investigations. OCA receives notifications from a variety of
     Agency components. During Slatkin’s tenure, all formal written
     Congressional notifications were to be routed through her office.
     The Director of OCA was unaware of SIB’s investigation into the
     discovery of classified information on Deutch’s government-issued
     unclassified computer.

           194. At the January 6, 1997 meeting to discuss the planned
     investigation of the finding of classified information on Deutch’s


     34 The Intelligence Oversight Board is a standing committee of the President’s Foreign Intelligence
     Advisory Board.

                                                  66
                                             UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 151 of
                                 UNCLASSIFIED
                                     178



     unclassified CIA computer, the OPS Legal Advisor stated that the
     Congressional oversight committees may eventually inquire about
     this matter. He recalled that Calder wanted the investigation
     performed “by the book” in case there would be a need to account
     for SIB actions.

           195. Calder assumed this matter would again arise in the
     future, possibly through a leak, with a Congressional committee.
     He recalled a discussion about doing briefings and was left with
     the impression that there was a briefing of the “Group of Four”
     Congressional oversight committees.35

           196. C/SIB maintained a chronology of the investigation
     consistent with Calder’s instructions. He also advised Calder, the
     former ADDA, the PDGC, and the D/OPS on at least two occasions
     that Congress, along with DoD, should be informed about the
     material found on Deutch’s unclassified computer. After receiving
     a copy of the D/OPS's report on the investigation, C/SIB realized
     the report did not contain a recommendation that Congress be
     notified.

          197. The PDGC stated she did not remember any discussion
     concerning notifying the Congressional oversight committees or the
     IOB. O’Neil said that “the question of informing the IOB or the
     Congressional oversight committees did not come up.”

           198. Slatkin stated she could not recall any discussion or
     recommendation regarding the need to notify the Congressional
     committees about the Deutch matter. In her interview with OIG,
     she stated that, “surely, yes, the Committees should have been
     notified—but at what point?”




     35 The Group of Four refers to the Senate Select Committee on Intelligence, the House Permanent
     Select Committee on Intelligence, and the two appropriations committees—the Senate
     Appropriations Committee, Subcommittee on Defense and the House Appropriations Committee,
     National Security Subcommittee.

                                                 67
                                            UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 152 of
                                 UNCLASSIFIED
                                     178



          199. The IOB was officially notified of OIG’s investigation on
     May 8, 1998. After being informed of the OIG investigation, the
     Director of Congressional Affairs prepared talking points, which
     DCI Tenet presented to the SSCI and HPSCI in early June 1998.


     WHY WAS NO ADMINISTRATIVE SANCTION IMPOSED ON DEUTCH ?

           200. Deutch was aware that an inquiry was conducted after
     classified information was discovered on his government-issued
     computers configured for unclassified use. He said that he never
     tried to influence the outcome of the investigation. Nor was he told
     the outcome, although he had requested that someone apprise him
     of the results.

           201. Calder said that, despite the pressure that accompanied
     the investigation of a DCI, he and OPS did “the right thing. ”
     Calder said that since Deutch was no longer a CIA employee, there
     was no punishment that could be administered to him. The issue
     was what position the Agency should take if Deutch needed access
     to classified information in the future. Calder was aware that
     Deutch’s computers had been replaced with totally unclassified
     magnetic media. Calder said that while Deutch was on several
     governmental committees, he did not believe that Deutch had a
     need for classified information in those positions. Calder said the
     remedy was to counsel Deutch in a discrete manner that would not
     offend his ego so he would understand the gravity of what had
     happened. Calder was aware that Slatkin had spoken with Deutch
     about the issue, and, from those conversations, Deutch would have
     recognized that his actions were wrong. Calder stated it was his
     responsibility to counsel Deutch and he planned to do so when
     Deutch received a briefing regarding future access. However,
     Calder said he never had the opportunity to meet with Deutch
     under the conditions he desired.

           202. The former ADDA stated that she was “worn down” by
     Slatkin and O’Neil, and perceived that the D/OPS and Calder were

                                      68
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 153 of
                                 UNCLASSIFIED
                                     178



     similarly affected. Additionally, Calder was “frustrated” because
     Slatkin would not resolve issues presented to her but, instead,
     provided more tasking. The former ADDA said that she, the
     D/OPS, and Calder had reached a point where they could not go
     any further in that there was no additional merit in further
     evaluating the collected data. Slatkin had “emotional attachments”
     and O’Neil was not considered to be objective. According to the
     former ADDA, Slatkin’s and O’Neil’s oversight of the investigation
     was colored by a distrust of OPS and an interest to protect Deutch’s
     privacy. The former ADDA said that she and SIB investigators
     perceived Slatkin’s and O’Neil’s behavior as “stonewalling.” The
     former ADDA and SIB investigators also viewed Slatkin’s requests
     for repeated clarifications, while typical of her management style,
     as a form of “pressure” to wear down the others until they were
     ultimately in agreement with her and O’Neil.

            203. The PDGC said that there was not a “crisp end” to the
     case; “it ran out of steam” when many of the principals left the
     Agency. The PDGC thought a decision was made that the Director
     of the Center for CIA Security or the D/OPS would brief either
     Deutch or the whole Proliferation Commission regarding
     safeguarding classified information, but she does not know if this
     action was taken. O'Neil stated that after the process for producing
     the review was approved by the ADCI, who had been kept
     informed all long, he had little to do with the investigation. O’Neil
     also stated, he did not interfere with the OPS investigation, he left
     the Agency in July 1997,36 and he does not know how the
     investigation was concluded. Slatkin said that she gave the
     information to Tenet and assumed that the investigation would
     have proceeded after she departed the Agency. The D/OPS said
     that, as far as he knows, no decision was ever made on what to do
     concerning Deutch’s actions.

           204. Tenet did not recall how the matter was resolved. He
     believes Calder, the D/OPS, Slatkin, and O’Neil had detailed
     36 Although O'Neil states he left the Agency in July 1997, he was present for duty until August 11,
     1997 when he was replaced by the PDGC as Acting General Counsel.

                                                  69
                                             UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 154 of
                                 UNCLASSIFIED
                                     178



     discussions on the matter. Tenet was aware of concerns for
     Deutch’s privacy. According to Tenet no one ever raised the issue
     of reporting the incident to the Department of Justice, or whether
     Deutch's clearance should be affected.




                                      70
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 155 of
                                 UNCLASSIFIED
                                     178




     WHAT WAS OIG’S INVOLVEMENT IN THIS CASE?

             ♦ When did OIG first learn of this incident?

           205. The former C/DCI Administration spoke with then-IG
     Frederick Hitz on December 18, 199637 regarding what was found
     at Deutch’s residence. The former C/DCI Administration
     described conversations he had with O’Neil and Slatkin about the
     matter, and O’Neil’s assertion that the former C/DCI
     Administration was responsible for allowing Deutch to improperly
     process classified information. Hitz instructed the former C/DCI
     Administration to provide the IG with copies of any
     documentation,38 encouraged the former C/DCI Administration to
     brief Tenet as soon as possible, and suggested that the former
     C/DCI Administration stay in contact with the IG.

           206. According to the former C/DCI Administration's MFR
     of December 30, 1996, the IG Counsel contacted him on December
     19, 1996. Reportedly, the IG Counsel urged the former C/DCI
     Administration to prepare an MFR and provide related
     documentation to the IG.

           207. On December 20, 1996, Hitz called the former C/DCI
     Administration to inform him that he had met with Tenet, who was
     reportedly not aware of the Deutch matter. Hitz indicated that he
     and Tenet both supported the process that was being pursued on
     the acquisition of relevant information and the classified magnetic
     media. Hitz encouraged the former C/DCI Administration to
     ensure that his documentation was forwarded to Hitz’s staff for the
     former C/DCI Administration's protection.




     37 Hitz served as CIA IG from October 12, 1990 until April 30, 1998, when he retired.
     38 The former C/DCI Administration provided a copy of his MFR to Hitz, Calder, and C/SIB.


                                                  71
                                             UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 156 of
                                 UNCLASSIFIED
                                     178




           208. Hitz remembers that in mid-December 1996, the former
     C/DCI Administration met with him regarding classified
     information discovered on one or two Agency-owned computers at
     Deutch’s residences in Maryland and Belmont. Hitz recalled the
     former C/DCI Administration seeking advice on what action to
     take. Hitz’s impression was that C/DCI Administration was
     concerned that the former C/DCI Administration's supervisors
     would not act appropriately. Hitz understood that the classified
     information found on Deutch’s computer included sensitive trip
     reports. The computer was connected to the Internet, and there was
     [a] threat of the information being vulnerable to electronic
     compromise.

           209. Hitz believes that he discussed the former C/DCI
     Administration's information with IG Counsel and the then-Deputy
     IG for Investigations and obtained their advice. This advice
     included instructing the former C/DCI Administration to secure
     the hard drive and other classified information that was recovered
     from Deutch’s computers. Hitz remembered passing that
     instruction to the former C/DCI Administration. Hitz recalled that
     after meeting with IG Counsel and then-Deputy IG for
     Investigations, “we knew we were going to get into it and be
     helpful with it.”

           210. Hitz stated that he cannot remember what follow-up
     instruction he may have provided to IG Counsel and then-Deputy
     IG for Investigations. Hitz thinks he ultimately read the former
     C/DCI Administration's MFR and “did not like the smell of it” [the
     nature of the allegation] and “if half of what the former C/DCI
     Administration said was true - we would get in it.” Hitz
     emphasized that the determination of whether to get involved
     would be made in concert with IG Counsel and the then-Deputy IG
     for Investigations. Hitz stated he never discussed the SIB
     investigation with Deutch, Slatkin, O’Neil, Calder, the PDGC, or
     D/OPS.


                                      72
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 157 of
                                 UNCLASSIFIED
                                     178



           211. IG Counsel said that he does not remember any
     discussions that Hitz may have had with him and the then-Deputy
     IG for Investigations stemming from information received from the
     former C/DCI Administration. The IG Counsel stated that he does
     not remember calling the former C/DCI Administration or having
     any discussion of an allegation regarding Deutch, nor does he
     remember seeing an MFR by the former C/DCI Administration.39

            212. The then-Deputy IG for Investigations said there were
     contacts between the former C/DCI Administration and Hitz over
     this issue, and Hitz would tell the then-Deputy IG for
     Investigations about the conversations afterwards. The then-
     Deputy IG for Investigations stated he “may have detected an
     inference from Hitz that classified information was on the
     computer.” However, the then-Deputy IG for Investigations did
     not remember any discussion with Hitz regarding the need to
     protect the computer’s hard drive. The then-Deputy IG for
     Investigations was not in contact with the former C/DCI
     Administration.

             ♦ Why did OIG wait until March 1998 to open an
               investigation?

            213. Hitz observed that the investigation had started with the
     former C/DCI Administration's “security people” finding the data,
     and the investigation stayed in a security channel. Hitz believed
     that it was appropriate for that to continue as long as OPS would be
     allowed to do their job.

           214. C/SIB’s chronology noted a call from the then-Deputy
     IG for Investigations on January 7, 1997 asking that SIB look at a
     particular issue, normally the purview of the OIG (improper
     personal use of a government computer) to put some preliminary
     perspective to the issue and keep him apprised.


     39 A review of Hitz’s files, which he left when he retired, failed to locate [the] MFR of the former
     C/DCI Administration or any notes or correspondence connected with this investigation.

                                                   73
                                              UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 158 of
                                 UNCLASSIFIED
                                     178



           215. The then-Deputy IG for Investigations stated that he
     must have learned from Hitz that C/SIB was involved with an
     investigation related to Deutch and that knowledge prompted the
     then-Deputy IG for Investigations to call C/SIB on January 7, 1997.
     The then-Deputy IG for Investigations said that, if he had been
     informed that the matter under investigation by C/SIB was a
     “serious issue,” he would remember it. The then-Deputy IG for
     Investigations categorized the issue under investigation by SIB as
     one of “propriety and property management.” He does not recall
     knowing that the computers involved were intended for
     unclassified use.

           216. The OPS Legal Advisor stated he learned from Calder
     that on January 5, 1997, Hitz was briefed on the incident involving
     Deutch. Reportedly, Calder stated that Hitz believed that the
     incident was a security issue and not one for the IG. After learning
     of Deutch’s possible appointment to the Office of Science and
     Technology Policy, on May 16, 1997, [the OPS Legal Advisor]
     wrote in an MFR that he met briefly with Hitz to discuss Deutch’s
     possible appointment and

                 Fred [Hitz] said he would speak to the DCI about this matter,
                 and sensitize him to the problems associated with [Deutch’s]
                 needing a clearance at another U.S.G. agency. Fred asked to be
                 kept informed.40

           217. According to C/SIB, he contacted OIG to define OIG
     interests before the D/OPS began his review of the recovered
     documents. C/SIB met with the then-Deputy IG for Investigations,
     the IG Counsel, and the then-Deputy Associate IG for
     Investigations. C/SIB advised them that any difficulties he
     encountered to date were within his ability to resolve. In his
     chronology, C/SIB writes:

                 C/SIB met with [the then-Deputy IG for Investigations, the
                 Deputy Associate IG for Investigations and the IG Counsel] re

     40 Hitz corroborates the OPS Legal Advisor's account of this meeting.


                                                 74
                                            UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 159 of
                                 UNCLASSIFIED
                                     178



                 “reporting threshold” to OIG for USG Computer Misuse, both
                 in this case in particular, and in other cases, in general. This
                 meeting was imperative in order for C/SIB to know before the
                 “security” review [being conducted by [the] D/OPS] what
                 would vice would not be OIG reportable. Upon discussion, it
                 was determined that the OIG would avail great latitude to SIB
                 re such reporting, noting that only in instances wherein the use
                 of the computer was obviously criminal in nature, a conflict of
                 interests [sic] existed, an outside business was being conducted,
                 or a private billing reimbursement for “personal entertainment”
                 was in evidence, would the OIG require a report be submitted
                 by SIB. (C/SIB so advised D/OPS). No particulars 41 were
                 discussed relative to SIB’s ongoing investigation, nor were any
                 requested.

            218. The then-Deputy IG for Investigations remembers the
     February 21, 1997 meeting with C/SIB in the presence of the
     Deputy Associate IG for Investigations, and possibly the IG
     Counsel. Up to that point, OIG had lost track of the allegation
     against Deutch. The then-Deputy IG for Investigations stated he
     told C/SIB about OIG’s jurisdictional interests in terms of the
     computer. The then-Deputy IG for Investigations said it is possible
     that C/SIB made some comment about encountering some
     difficulty in the investigation but was working through the
     problem and appeared self-confident about his capability to
     investigate the matter. The then-Deputy IG for Investigations
     sensed that C/SIB was being “squeezed by unspecified OPS
     officials.”

           219. The then-Deputy IG for Investigations remembered
     C/SIB agreeing that he should re-contact OIG if he encountered any
     matter of IG interest, such as evidence of misuse of an official
     computer, during his investigation. According to the then-Deputy
     IG for Investigations, “there was no zest” on the part of OIG to take
     it over while OPS was working the issue. The then-Deputy IG for


     41C/SIB later explains his use of the word “particulars” meant that he did not disclose what
     evidence had been discovered in his investigation. He states that it does not necessarily mean that
     Deutch’s name and/or title was not discussed.

                                                  75
                                             UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 160 of
                                 UNCLASSIFIED
                                     178



     Investigations does not recall knowing at the time that the OPS/SIB
     investigation involved classified information.

           220. On February 6, 1998, the Deputy Associate IG for
     Investigations met with C/SIB on an unrelated investigation.
     C/SIB incorrectly assumed the Deputy Associate IG for
     Investigations was investigating Deutch’s mishandling of classified
     information on a computer at his residence. According to the
     Deputy Associate IG for Investigations, C/SIB disclosed that he was
     unable to fully pursue his investigation because of a problem with
     Slatkin and O’Neil. C/SIB was frustrated because there had been
     no interview of Deutch, a customary part of an SIB investigation.

           221. During this meeting, the Deputy Associate IG for
     Investigations reviewed a number of documents that included an
     unsigned report prepared by the D/OPS. This report detailed the
     D/OPS review of data discovered on the Deutch’s magnetic media.
     The Deputy Associate IG for Investigations, subsequently met with
     the then-Deputy IG for Investigations, and told him what he had
     learned from C/SIB.

           222. In his OIG interview, the then-Deputy IG for
     Investigations explained that OIG opened an investigation because
     SIB’s investigation was impeded or “shutdown,” and a crimes
     report was never sent to DoJ.

           223. Hitz explained that a security violation of this nature
     would not normally be a matter investigated by OIG.42 He stated
     that as the IG, he would have been inclined to assert investigative
     authority only when he believed that the normal management
     response was inappropriate or not helpful. He recognized that

     42 On February 5, 1997, Hitz sent a memorandum to the Director of Personnel Security, Subject:
     "Crimes Reporting and Other Referrals by Office of Personnel Security to the Office of Inspector
     General." The memorandum eliminated the requirement for OPS to routinely notify OIG of certain
     specific investigative matters in which it is engaged. Included as one of the nine categories of
     investigative issues identified in the memorandum was the following: "Mishandling of classified
     information that is or could be a possible violation of 18 U.S.C. 1924, 'Unauthorized removal and
     retention of classified documents or material.'"

                                                 76
                                            UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 161 of
                                 UNCLASSIFIED
                                     178



     Deutch appointees Slatkin and O’Neil were involved in the review
     process. Hitz stated that it was the responsibility of OIG “to
     support the institution.”

           ♦ What steps were taken by OIG after opening its
             investigation?

           224. IG Counsel remembered advising the Deputy Associate
     IG for Investigations that the allegation had to be referred to DoJ as
     a possible crimes report. The IG Counsel also remembers a
     discussion about the relevance of the Independent Counsel statute
     since Deutch was a “covered person.”

           225. On March 19, 1998, OIG referred the allegations to DoJ.
     The crimes report letter noted that at the time of the alleged
     violations, Deutch was a “covered person” under the Independent
     Counsel statute. DoJ advised they would review the allegations for
     applicability to the Independent Counsel statute and further OIG
     investigation was not authorized until completion of DoJ’s review.
     In May 1998, DoJ informed OIG that the Independent Counsel
     statute would not apply because DoJ was not notified of the alleged
     violations until more than one year after Deutch left his position.
     As such, Deutch’s status as a “covered person” had expired.

            226. On May 8, 1998, OIG informed the Chairman of the
     Intelligence Oversight Board by letter of the criminal investigation
     of Deutch pursuant to E.O. 12863.

            227. On June 2 and 3, 1998, the House Permanent Select
     Committee on Intelligence and the Senate Select Committee on
     Intelligence were notified by DCI Tenet that the OIG was
     conducting an investigation of former DCI Deutch and the manner
     in which the matter was originally handled by CIA officials.


     WHAT IS DEUTCH ’S CURRENT STATUS WITH THE CIA?



                                      77
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 162 of
                                 UNCLASSIFIED
                                     178



           228. Deutch’s no-fee, December 1996 consulting contract was
     renewed in January 1998 and December 1998. The latest renewal
     covers the period December 16, 1998 until December 15, 1999. This
     contract provides Deutch with staff-like access to the Agency, its
     computer system, and a Top Secret clearance. Deutch’s contract for
     the Proliferation Commission will expire when the commission
     finishes its work. That contract does not contain any information
     regarding access to classified information.


     WHAT WAS THE DISPOSITION OF OIG’S CRIMES REPORT TO THE
     DEPARTMENT OF JUSTICE?

            229. On April 14, 1999, Attorney General Janet Reno sent a
     letter to DCI Tenet [declining prosecution.] [The letter stated in
     part:]

                  The results of that [OIG] investigation have been reviewed
              for prosecutive merit and that prosecution has been declined.
              As I understand that Mr. Deutch currently holds a Top Secret
              security clearance, I suggest that the appropriate security
              officials at the Central Intelligence Agency review the results of
              this investigation to determine Mr. Deutch’s continued
              suitability for access to national security information.



                                 CONCLUSIONS

          230. Former DCI John Deutch was specifically informed that
     he was not authorized to process classified information on
     government computers configured for unclassified use.

          231. Throughout his tenure as DCI, Deutch intentionally
     processed on those computers large volumes of highly classified
     information to include Top Secret Codeword material.

          232. Because Deutch’s computers configured for unclassified
     use had connections to the Internet, all classified information on

                                          78
                                     UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 163 of
                                 UNCLASSIFIED
                                     178



     those computers was at risk of compromise. Whether any of the
     information was stolen or compromised remains unknown.

           233. On August 1, 1995, Deutch was made aware that
     computers with Internet connectivity were vulnerable to attack.
     Despite this knowledge, Deutch continued his practice of processing
     highly classified material on unclassified computers connected to
     the Internet.

           234. Information developed during this investigation
     supports the conclusion that Deutch knew classified information
     remained on the hard drives of his computers even after he saved
     text to external storage devices and deleted the information.

           235. Deutch misused U.S. Government computers by making
     extensive personal use of them. Further, he took no steps to restrict
     unauthorized persons from using government computers located at
     his residences.

           236. The normal process for determining Deutch's continued
     suitability for access to classified information, to include placing the
     results of the SIB investigation in Deutch's security file, was not
     followed in this case, and no alternative process was utilized. The
     standards that the Agency applies to other employees' and
     contractors' ability to access classified information were not applied
     in this case.

            237. Because there was a reasonable basis to believe that
     Deutch’s mishandling of classified information violated the
     standards prescribed by the applicable crimes reporting statute,
     Executive Order and Memorandum of Understanding, OGC
     officials Michael O’Neil and the PDGC should have submitted a
     crimes report to the Department of Justice.

          238. The actions of former Executive Director Nora Slatkin
     and former General Counsel Michael O'Neil had the effect of
     delaying a prompt and thorough investigation of this matter.

                                      79
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 164 of
                                 UNCLASSIFIED
                                     178




          239. DDA Richard Calder should have ensured the
     completion of a more thorough investigation, in particular, by
     arranging for an interview of Deutch and a subsequent
     documentation of that interview in accordance with established
     Agency procedures. Calder should also have ensured that the
     matter was brought to a conclusion rather than permitting it to
     languish unresolved.

           240. Former Inspector General Frederick Hitz should have
     involved himself more forcefully to ascertain whether the Deutch
     matter raised issues for the Office of the Inspector General as well
     as to ensure the timely and definitive resolution of the matter.

           241. DCI George Tenet should have involved himself more
     forcefully to ensure a proper resolution of this matter.

           242. The application of the Independent Counsel statute was
     not adequately considered by CIA officials and, given the failure to
     report to DoJ on a timely basis, this in effect avoided the potential
     application of the statute.

            243. The Congressional oversight committees and the
     Intelligence Oversight Board should have been promptly notified of
     Deutch’s improper handling of classified information.



                                              Daniel S. Seikaly




                                      80
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 165 of
                                 UNCLASSIFIED
                                     178



                          RECOMMENDATIONS

          1. John Deutch’s continued suitability for access to classified
     information should be reviewed immediately.

           2. The accountability of current and former Agency officials,
     including Deutch, for their actions and performance in connection
     with this matter should be determined by an appropriate panel.

          3. All appropriate Agency and Intelligence Community
     components should be informed in writing of the sensitive
     information Deutch stored in his unclassified computers so that
     responsible authorities can take any actions that would minimize
     damage from possible compromise of those materials.

     CONCUR:



     L. Britt Snider                                Date
     Inspector General




                                      81
                                 UNCLASSIFIED
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 166 of
                                     178




        EXHIBIT 11
2/20/24,Case   9:23-cr-80101-AMC
        10:38 PM                              Document     508 onEntered
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                                                                                         Security by                  Page 167 of
                                                                                                     Dr. John M. Deutch
                                                                  178
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                                                   DEPARTMENT OF DEFENSE
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                                                    REPORT OF INVESTIGATION

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                                   ALLEGATIONS OF BREACHES OF SECURITY:
                          DR. JOHN M. DEUTCH, FORMER DEPUTY SECRETARY OF DEFENSE
                                                    AND
                                  FORMER UNDER SECRETARY OF DEFENSE FOR
                                        ACQUISITION AND TECHNOLOGY


                                              ALLEGATIONS OF BREACHES OF SECURITY
                                                               BY
                                                      DR. JOHN M. DEUTCH,
                                              FORMER DEPUTY SECRETARY OF DEFENSE
                                                              AND
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                                                              FOR
                                                  ACQUISITION AND TECHNOLOGY

        I. INTRODUCTION

        On February 9, 2000, the Secretary of Defense requested the Deputy Inspector General and the Acting General Counsel,
        Department of Defense (DoD), conduct a review of material obtained by the Office of Inspector General, Central Intelligence
        Agency (OIG, CIA), during its investigation into allegations of breaches of securitY. bY. Dr. John M. Deutch. Specifically, the
        Secretary of Defense requested that we review a journal that Dr. Deutch maintained on a computer while he served as the
        Under Secretary of Defense (Acquisition and Technology) (USD(A&T)), the Deputy Secretary of Defense (DEPSECDEF) and
        the Director, Central Intelligence (DCI). The Secretary of Defense also requested that we obtain from the CIA any other
        information or documents relating to potential matters of concern to the DoD.

        Subsequently, the former DEPSECDEF, Dr. John Hamre directed the Assistant Secretary of Defense (Command, Control,
        Communications and Intelligence) (ASD(C3I)) to conduct a damage assessment of Dr. Deutch's journal as well as of any other
        potentially classified material maintained by Dr. Deutch on unclassified computers or computer media during his tenure with
        the DoD. A complete analysis of that information and final damage assessment will be reported by the ASD(C3I).l

               1 During the course of our inquiry, the President's Foreign Intelligence and Advisory Board (PFIAB) and the Department
               of Justice (DOJ) also initiated separate inquiries into the actions of Dr. Deutch. Upon request, the Deputy Inspector
               General, DoD, briefed the PFIAB on two occasions concerning the scope of our inquiry and provided preliminary
               findings. In May 2000, the PFIAB completed their work and provided their report to the President. The review by the
               DOJ is not yet complete.

        With the concurrence of the Acting General Counsel, DoD, the scope of the OIG, DoD, review was to:

             • determine the disposition of computers used by Dr. Deutch during his tenure as the USD(A&T) and as the DEPSECDEF;

             • determine what information Dr. Deutch stored on computers while he served as the USD(A&T) and the DEPSECDEF;
               and,

             • recover all information and documents relating to potential matters of concern to the DoD.
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                                                                                    of Breaches            05/02/2024
                                                                                                 Security by                  Page 168 of
                                                                                                             Dr. John M. Deutch
                                                                          178
        As initiallY- re12orted bY. the CIA IG, during the period that Dr. Deutch served as the USD(A&T) and as the DEPSECDEF, he
        routinely entered data on Government-owned computers, at his office and home not designated to process classified
        information. In particular, Dr. Deutch maintained a daily journal containing classified information that was almost 1,000 pages
        in length, on computer memory cards, that he reportedly transported in his shirt pocket. In addition, the OIG, CIA, determined
        that Dr. Deutch and members of his family acccessed his America Online (AOL) account using the same Government-owned
        computers at his home that he used to process his journal. Dr. Deutch's practice of using computers in this manner was
        extremely risky in that a computer "hacker" could have gained on-line access to Dr. Deutch's computer and the information
        stored in temporary files on the hard drive, including the journal.

        We find his conduct in this regard particularly egregious in light of existing DoD policy directives addressing the safeguarding
        of classified information. This situation was exacerbated because Dr. Deutch, while serving as the DEPSECDEF, declined
        departmental requests that he allow security systems to be installed in his residence. Dr. Deutch, the second highest-ranking
        individual in the Department, personally addressed the need to properly safeguard information in a memorandum he signed in
        February 1995. In part, the memorandum states that only "properly reviewed and cleared" information be placed on electronic
        systems accessible to the public. The evidence we obtained clearly establishes that Dr. Deutch failed to follow even the most
        basic security precautions.

        There are also several other concerns that warrant comment. For example, accurate property accountability practices and
        procedures for the disposition of computers were lacking within the Office of the Secretary of Defense (OSD). During our
        inquiry we identified computers that Dr. Deutch used or could have used during his time with the Department. Several of the
        computers that we recovered contained a significant amount of DoD information. These computers were either donated or sold
        to private entities through the reutilization process. Security personnel at the ASD(C3I) have determined that none of the
        information remaining on the hard drives of these computers was classified. This determination, however, does not negate the
        Department's potential exposure to the improper release and use of classified or sensitive information. Several witnesses told us
        that they believed that the Department had an existing policy which required that the hard drives used to process classified
        information must be removed from the computer and destroyed. However, the witnesses were not able to produce and we were
        unable to document such a policy. Current policy on what is required to dispose of these types of hard drives is not clear. We
        recommend that the Department implement policy that requires the destruction of all computer hard drives, classified and
        unclassified, before the computer is disposed of outside the DoD.

        Il.SUMMARY

        Although poor property accountability practices within OSD hindered our investigation, we were able to identify the computers
        used by Dr. Deutch. Specifically, we found that during his tenure as the USD(A&T) and DEPSECDEF, Dr. Deutch used at least
        seven different Government-owned computers, all of which were Macintosh. He used a Quadra 800, two Quadra 650s, a Power
        PC 7100 and three Powerbook laptops: a 180, a 180c, and a 540c. We believe the Quadra 800 and the 180 laptop were later sent
        to the Defense Reutilization and Marketing Office (DRMO), for destruction as scrap. Our review indicates that after he left the
        DoD one of the Quadra 650s was reissued and eventually excessed and sent to the DRMO. We could not determine the final
        disposition of the other Quadra 650. There are indications however, the CIA may have recovered it from Dr. Deutch's residence
        in [deleted] in 1995. The Power PC 7100 was transferred to the CIA when Dr. Deutch became the DCI. The 180c and 540c
        Powerbook laptops were eventually excessed by the DoD and transferred to Florida A&M University as part of the Educational
        Institutions Partnership Program. We recovered both of these laptops from Florida A&M and sent them to the National Security
        Agency (NSA) and the Defense Computer Forensics Laboratory (DCFL) for data recovery.

        We also found that during Dr. Deutch's tenure with the Department his email, including "dial-in" access, was processed by a
        Macintosh Quadra 800 and backed-up by a Macintosh 8150. When Dr. Deutch left his position as the DEPSECDEF to become
        the DCI, personnel at the CIA made arrangements with DoD personnel which allowed Dr. Deutch to obtain "dial-in" access to
        the OSD electronic mail (email) server which he used from May 10, 1995, until January 27, 1996. Media analysis of the hard
        drive of the backup server resulted in the recovery of 1,089 pages of email. Personnel from the ASD(C3I) have determined that
        none of the emails contained classified information. A description of the DoD computers that were issued to Dr. Deutch during
        his tenure as the USD(A&T) and as the DEPSECDEF and the disposition of those computers is attached.

        Ill. BACKGROUND

        Dr. Deutch served as the USD(A&T) from April 2, 1993, to March 11, 1994, at which time he became the DEPSECDEF. He
        served in that capacity until May 10, 1995, when he became the DCI, a position he held until December 16, 1996. While in the
        USD(A&T) position, Dr. Deutch received computer support from USD(A&T) Executive Support, Information Technology
        Branch (1TB). Contractor personnel from Advanced Systems Development, Incorporated of Shirlington, Virginia, augmented
        the permanent 1TB staff. [Deleted] was an employee of this firm and a key witness in this matter. [Deleted] provided support to
        Dr. Deutch while he was the USD(A&T) and, on occasion, after Dr. Deutch became the DEPSECDEF. In June 1995, [deleted]
        became a member of a computer support group at the CIA and continued to provide computer support to Dr. Deutch.

        IV.SCOPE

        During our inquiry, Special Agents of the Defense Criminal Investigative Service (DCIS), the criminal investigative arm of this
        office, interviewed several former and current OSD employees and DoD contractors that we believed were knowledgeable of
        Dr. Deutch's use of computers while with the DoD. We attempted to interview Dr. Deutch during the course of our review,
        however, based on the advice of his counsel, he declined. The DCIS Special Agents also reviewed pertinent procurement and
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                                                                              of Breaches           05/02/2024
                                                                                          Security by                  Page 169 of
                                                                                                      Dr. John M. Deutch
                                                                   178
        other inventory records at the Washington Headquarters Services (WHS), the DRMO, the Defense Supply Service-Washington
        (DSS-W), and the Defense Information Systems Agency (DISA).

        We conducted extensive coordination with the OIG, CIA, and the ASD(C3I) to ensure that all documents relating to potential
        matters of concern to the DoD, including Dr. Deutch's journal, were reviewed. We also coordinated with the NSA and the
        DCFL to facilitate analysis of the recovered computers we believe Dr. Deutch used while he served as the USD(A&T) and
        DEPSECDEF.

        While conducting our fieldwork we recognized that our findings, to a large extent, would be based primarily on the recollection
        of witnesses about property transfers that occurred five to six years earlier. In addition, some property transfer and procurement
        records within the OSD at the time that Dr. Deutch served as the USD(A&T) and the DEPSECDEF (1993-1995) were already
        destroyed when we initiated our inquiry and the few existing records were often inaccurate or incomplete.

        The findings in Section V (below) provide details concerning the computers that we believe were used by Dr. Deutch. We also
        expended substantial investigative resources in an attempt to identify, locate, and recover other computers within the offices of
        the USD(A&T) and the DEPSECDEF. As a result ofthis investigative approach, we identified several additional computers
        that Dr. Deutch could reasonably have used and we recovered them accordingly for analysis.

        The following sets forth the results of our inquiry:

        V.FINDINGS

        A. What computers did Dr. Deutch use during his tenure as the USD(A&T) and where were those computers located?

               Com12uters that Dr. Deutch used in his USD(A&T) office

        Based on witness interviews and the limited documents available, we established that on April 1, 1993, Dr. Deutch received a
        Macintosh Quadra 800 computer for his office use. The computer was one of two such computers (serial numbers
        F33080NRCC7 and XB403H0X2D6) assigned to the USD(A&T) front office. No records were retained as to the specific
        assignment of each computer.2 During the course of our inquiry, we interviewed the Chief, USD(A&T) Executive Support, and
        three contractor personnel that were hired to provide support for Macintosh computers within USD(A&T). All of these
        witnesses told us that, to the best of their recollection, none of the computers in question were of the type designated to process
        or store classified information. Dr. Deutch used the Quadra 800 computer as a desktop workstation. The other Quadra 800
        computer was used as a file server for the USD(A&T) front office.

               2 Two witnesses told us that Dr. Deutch could have received a Quadra 800, an 840 or an 840AV, but they were not
               positive. Several other witnesses told us that although they could not recall the exact model of the 800 series that Dr.
               Deutch used, they were certain it was a "tower configuration." Meaning, that the size of the computer's case was large
               and upright which would indicate that this computer was a Quadra 800. In addition, we found no inventory records
               indicating that the USD(A&T) received the 840 or the 840AV when Dr. Deutch became the USD (A&T).

        In January 1994, the USD(A&T) front office began to utilize Macintosh Quadra 650 computers. During a period of about a
        year beginning in January 1994, USD(A&T) also received approximately 75 Macintosh Quadra 650 computers. Based
        primarily on witness statements, our review indicates that of the 75 computers obtained by USD(A&T), Dr. Deutch received
        two Quadra 650s, one for his office and one for his residence. We could not determine by serial number which of the Quadra
        650s were assigned to Dr. Deutch. However, based on witness statements and documents, we believe that the most likely serial
        numbers were FC40606E209 and FC40006W2D9. One of the Quadra 650s replaced the Quadra 800 that Dr. Deutch had been
        using as a desktop workstation. That Quadra 800 computer was then reconfigured for use as a file server within USD(A&T).

        We could not establish with any degree of certainty the final disposition of either Quadra 800 computer. However, inasmuch as
        both computers were deleted from the USD(A&T) inventory at the same time in 1998, it appears that both were sent to the
        DRMO for disposal. Records indicate that one of the computers was sent to the DRMO at Fort Belvoir, Virginia, and later sent
        to the DRMO in Williamsburg, Virginia, for final disposal. During our fieldwork, we identified a contractor, Port Royal Metals,
        Inc., from Sheldon, South Carolina, who was the exclusive contractor for electronic scrap disposal during the period that the
        Quadra 800s would have been sent to the DRMO ..3.

               3 Because Port Royal Metals, Inc., had the DRMO contract for electronic scrap, computers were initially sent to the
               DRMO at Fort Belvoir and then sent to the DRMO-Williamsburg for final disposal.

        The contractor advised us in writing that

               "... the DRMO Williamsburg demolished any equipment we picked up prior to loading. [Deleted] the crane
               operator was most diligent in destroying any material so that it would not have any commercial use except for
               scrap recovery. In fact, they so destroyed the material that we complained that their destruction of material made it
               most difficult to process at our plant."

               Com12uters that Dr. Deutch used in his residence during his tenure as USD(A&T).


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                                                                                         Security by                  Page 170 of
                                                                                                     Dr. John M. Deutch
                                                                  178
        In April 1993, Dr. Deutch was issued a Macintosh Powerbook 180 laptop computer, serial number FC325NJP796. [Deleted]
        told us that at some point before Dr. Deutch left this position he [deleted] inadvertently "shorted out" the computer's main
        board. However, because the hard drive was still functional, it was removed from the damaged computer and installed into a
        new Macintosh Powerbook 180c laptop, serial number FC325MYC796, that Dr. Deutch used well into his tenure as the
        DEPSECDEF.1 The damaged computer stayed within the USD(A&T) office until it was excessed to the DRMO on June 25,
        1997.

               4 Several witnesses told us that Dr. Deutch's first laptop computer was a 180c. However, based on a combination of other
               witness statements and documents we believe that Dr. Deutch's first computer as the OSD(A&T) was a 180. [Deleted]
               told us that he destroyed the main board of the 180. His statement to us was corroborated by another contractor and we
               were able to track the 180 through disposal records. Of greater significance is that any data that was on the 180 at the
               time the main board was damaged would have been transferred to the 180c which we ultimately retrieved from Florida
               A&M University.

        Documents and witness statements established that Dr. Deutch used the 180c laptop computer until approximately August
        1994, when he received a new Macintosh 540c laptop computer, serial number FC37N5J2T0. At that time the 180c was
        returned to the OSD Help Desk and used by other OSD personnel. Dr. Deutch used the 540c until he left his position as the
        DEPSECDEF. This computer was also returned to the OSD Help Desk and used by other personnel. In July 1998, the 180c and
        540c laptop computers became excess property and were donated to Florida A&M University as part of the Educational
        Institutions Partnership Program. Under this program, DoD transfers used DoD computers to educational institutions. DoD
        regulations provided that all commercial off-the-shelf operating systems and any sensitive or personal data contained in
        computers being excessed in this manner be removed before the computer is donated. [Deleted] told us that Dr. Deutch used
        these two computers to store his journal, which was later found to contain classified information.

        [Deleted] also told us that in January 1994 when the USD(A&T) front office began to receive the Quadra 650 computers, he
        installed a Quadra 650 in Dr. Deutch's personal residence in [deleted]. This computer was in addition to the computer that Dr.
        Deutch used in the office.

        B. What computers did Dr. Deutch use during his tenure as DEPSECDEF and where were the computers located?

               Computers used bY. Dr. Deutch in his office

        When Dr. Deutch became the DEPSECDEF, he took USD(A&T) computers with him to his new position. The Quadra 650 Dr.
        Deutch was already using as a desktop workstation in his USD(A&T) office was simply moved to his new office and used by
        him until he left the DoD. Another computer that transferred with him was the 180c laptop. According to [deleted] another
        computer, a Quadra 650, which had been previously installed in his residence, was allowed to transfer when he became
        DEPSECDEF. Dr. Deutch used the 180c laptop until August 1994 when a new Powerbook 540c was procured for his use. The
        Quadra 650 was believed to have been retrieved from Dr. Deutch's residence in September 1995 and placed in storage at the
        CIA.

               Disposition of com12uters Dr. Deutch used at his DEPSECDEF office

        We found no documentation reflecting the exact disposition of the Quadra 650. However, a witness told us that the subject
        Quadra 650 was "wiped" of data, applications reloaded and reissued within OSD. No records were located to confirm or refute
        this witness's statement. In the summer of 1998, the 180c and the 540c that Dr. Deutch used were transferred to Florida A&M
        under the Educational Institutions Partnership Program. We subsequently recovered those computers and sent them to NSA and
        DCFL for data recovery.

               Disposition of com12uters that Dr. Deutch used at his residence while DEPSECDEF

        As mentioned previously, in January 1994, Dr. Deutch, while still USD(A&T), was issued a Quadra 650 for use at his
        residence. In January 1995, Dr. Deutch was issued a Macintosh Power PC 7100 serial number FC4521W944H, for use at his
        personal residence. When Dr. Deutch left his DEPSECDEF position to become the DCI, the Power PC 7100 remained at his
        residence. Property records maintained by the WHS reflect that the DoD transferred ownership of the Power PC 7100 to the
        CIA in March 1996. [Deleted] told us that in September 1995, after Dr. Deutch became the DCI, he was at Dr. Deutch's
        residence performing computer maintenance on the Power PC 7100 when Dr. Deutch [deleted] asked him to remove the "old
        system" because Dr. Deutch no longer used it. [Deleted] told us that he believes that the "old system" was actually the DoD-
        purchased Quadra 650 that he installed in Dr. Deutch's residence in January 1994. [Deleted) told us that he distinctly recalls
        retrieving the computer, taking it to the CIA computer storage room, and labeling it as belonging to Dr. Deutch. This statement
        however is inconsistent with information provided by the Chief, USD(A&T) Executive Support, 1TB. The Chief told us that he
        did not recall a Quadra 650 ever being installed in Dr. Deutch's residence. We were unable to resolve this discrepancy and
        determine whether a DoD-owned Quadra 650 was or was not installed in Dr. Deutch's residence.

        C. Did Dr. Deutch store classified information on unclassified computers while serving as the USD(A&T) or as the
        DEPSECDEF?

        In this section we address the storage media used by Dr. Deutch while with the Department and as the DCI, the procedures that
        were in place to ensure that sensitive or classified data were not inadvertently released; and whether the NSA and the DCFL

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                                                                            of Breaches           05/02/2024
                                                                                        Security by                  Page 171 of
                                                                                                    Dr. John M. Deutch
        recovered data from the computers he used.               178
        Several witnesses told us that none of the computers that Dr. Deutch used during his tenure with the Department were
        designated to store classified data. Witnesses also told us that Dr. Deutch kept a detailed journal of his daily activities during his
        tenure with the DoD. This journal formed the basis for several issues previously investigated by the OIG, CIA and was found to
        contain classified information. While Dr. Deutch was the USD(A&T) and the DEPSECDEF, he maintained the journal on
        floppy disks. As mentioned previously Dr. Deutch was known to transport these floppy disks in his shirt pocket. [Deleted] told
        us that while Dr. Deutch was still with the DoD he began to experience a number of disk "problems." As a result, after he
        became the DCI, Dr. Deutch changed from using floppy disks to store his journal to using Personal Computer Memory Card
        International Association (PCMCIA) cards that were provided to him by the CIA. The OIG, CIA, investigation revealed that
        Dr. Deutch had four PCMCIA cards that contained nearly 100,000 pages of information, including the daily journal covering
        the period of Dr. Deutch's service as the USD (A&T), DEPSECDEF, and the DCI.

        During his OIG, CIA, interview Dr. Deutch said that he became accustomed to exclusively using unclassified Macintosh
        computers while serving in the DoD. He also acknowledged that before becoming the DCI, he was aware of the security
        principle requiring physical separation of classified and unclassified computers. However, he also told the OIG, CIA, that he
        believed that when a file or document was deleted (i.e., placed in the trash folder) the information no longer resided on the
        magnetic media, nor was it recoverable. Dr. Deutch also said during his interview that it was his usual practice to create a
        document on his desktop computers, copy the document to an external storage device (i.e., floppy disk) and then delete the
        initial document.

        Computer experts have advised us that each time the journal was updated the computer automatically created a temporary file
        that would be stored on the hard drive of the computer in use. Of particular concern is the fact that the OIG, CIA, discovered
        that Dr. Deutch accessed the Internet via his America Online (AOL) account using the same computer at his home that he used
        to update his journal.~ Therefore, it is feasible that a computer "hacker" could have gained access to Dr. Deutch's computer and
        the information stored in temporary files on the hard drive, including the journal.

               5 During his interview with the OIG, CIA, Dr. Deutch said that [deleted] used the Government-owned computer in their
               [deleted] residence, as did [deleted].

        As mentioned previously, two computers (the 180c and the 540c) were donated to Florida A&M, and several computers and
        hard drives went to other private entities. In addition, the OIG, CIA, during its investigation of Dr. Deutch recovered the Power
        PC 7l00 from Dr. Deutch's residence.

        According to [deleted] Dr. Deutch used the 180c and the 540c to store his journal. We recovered these computers from Florida
        A&M and interviewed the professor that ultimately received them for his use. The professor told us that the hard drive of the
        180c did not work and therefore he never used the computer. However, he did turn on the 540c, but could not get his email
        program to work on this computer. He then simply put the computer on a shelf, and never used it again.

        The Compromise and Computer Forensics Counterintelligence Services of the NSA and the DCFL performed forensic recovery
        examination of the hard drives of these two computers to determine whether the hard drives contained any data placed on them
        by Dr. Deutch. Both the NSA and the DCFL were able to recover a substantial amount of DoD information. Data analysis by
        the ASD(C3I) of the information recovered determined that the information was not classified. The ASD(C3I) will separately
        report his findings . The OIG, CIA, has advised us that Dr. Deutch processed classified information on the Power PC 7l00 that
        they recovered from his residence during their investigation.

        In addition to the aforementioned computers, we identified several other computers to which Dr. Deutch may have had access.
        Based on existing property accountability records, personnel within WHS generated a list of computers that Dr. Deutch may
        have used . All of these computers were found to have been sent to the DRMO for disposal. Subsequently, a private company,
        Olson Electronics of Baltimore, Maryland, purchased these and other DoD computers from the DRMO. Because the computers
        were purchased as "scrap," serial numbers were not always recorded as part of the transaction. However, we were able to trace
        and recover some of them. Contrary to the earlier practice of demolishing all computer hardware, the DRMOs at the time were
        selling computers intact.

        We found that one Quadra 650 had been resold to a computer store in Crofton, Maryland, while five other Quadra 650s were
        resold to a Mennonite School in Ephrata, Pennsylvania. Two of the Quadra 650s at the school did not have hard drives in them.
        Also located at the school were six loose hard drives, of which two came from the two Quadra 650s mentioned above.Q We
        retrieved all of the computers and the loose hard drives, which we sent to the DCFL for analyses. The DCFL has advised us that
        only one of the six hard drives that we recovered contains DoD-related information, and that information was not attributable to
        Dr. Deutch. The ASD(C3I) has determined that this information is not classified.

               6 We noted that inventory records for these computers were highly inaccurate.

        Although media analysis did not disclose storage of classified information, it does not necessarily mean that such information
        was not processed on the computers. Information is automatically stored as a temporary file and could have later been
        overwritten with other processing.


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                                                                               of Breaches            05/02/2024
                                                                                            Security by                  Page 172 of
                                                                                                        Dr. John M. Deutch
                                                                    178
        The overall standard for information security is DoD 5200.1-R. That regulation requires that classified information be
        destroyed so that it cannot be reconstructed. The ADP Security Manual, DoD 5200.28-M provides a number of ways to remove
        such classified information, depending on the medium and the condition of the equipment. Those methods include overwriting
        a minimum of three times, exposure to a permanent magnet, and setting the memory locations alternately to ones and zeros for
        1000 cycles.

        The Defense Material Disposal Manual, DoD 4160.21-M, provides that before material is accepted for disposal by a DRMO,
        an accountable officer must certify that any information remaining on the computer is unclassified or has been declassified and
        that the material does not contain data unauthorized for release. That certification is to ensure that classified media has been
        declassified under procedures in the ADP Security Manual and that any information exempt from release under FOIA (e.g.,
        proprietary, criminal investigation reports and personal data) has been removed. We found no certification documents for any of
        the computers used by Dr. Deutch during his tenure with the DoD.

        D. Did Dr. Deutch have access to an OSD email server during his tenure as the USD(A&T) and DEPSECDEF and which
        computers did he use?

        We found that in April 1993 the Chief, Information Technology Division, OSD, assisted Dr. Deutch in establishing what is
        referred to as "dial-up" scripts. According to this witness, he established three such "dial-up" scripts for Dr. Deutch which could
        be used on both office and home computers. One script enabled Dr. Deutch to have access to the Internet service provider at the
        Massachusetts Institute of Technology. The second script allowed Dr. Deutch "dial-up" service to [deleted] with respect to his
        personal banking services. The third script was for the Pentagon's dial-up service which allowed Dr. Deutch to "dial into" the
        OSD email server to receive and send email. Dr. Deutch's access continued during his tenure as the DEPSECDEF and was
        terminated on May 10, 1995, the day prior to becoming the DCI. As described later in this report, Dr. Deutch's access to the
        DoD email server was reinstated and continued until January 1996 when the CIA established "dial-in" capability to the CIA
        email server.

               The com12uters that Dr. Deutch used as an email/fileserver during his tenure as the USD(A&T) and DEPSECDEF

        In this section, we address two different OSD servers, a Macintosh 800 and a Macintosh 8150. The Macintosh 800 was the
        primary email/fileserver. The 8150 serial number XB5 l 80 l 84UK, was used to create backups of email. We were unable to
        determine the type of computer that was used as the USD(A&T) front office primary email/fileserver for the period of April
        1993 to January 1994. However, we believe that when the USD(A&T) front office converted from using Quadra 800 computers
        to the Quadra 650 computers in January 1994, one of the two previously mentioned Macintosh Quadra 800s that was assigned
        to the USD(A&T) front office was reconfigured to become the primary email/fileserver. As mentioned above, we were not able
        to determine the final disposition of the Quadra 800, but we believe that this computer was sent to the DRMO for disposal.

        We determined that the primary 800 email/fileserver supported the Macintosh computers within OSD. The 800 automatically
        retained a copy of all email traffic from the DEPSECDEF email accounts. The 800 continued to support OSD until OSD
        converted from using Macintosh computers to a Microsoft based email system.

        The 8150 created incremental backups of the email/fileserver. There were three copies of email traffic, with the oldest copy
        being overwritten each time a backup was made. A witness told us that after the Microsoft based email system was in place for
        some time he deleted the archive of emails in order to free space on the hard drive of the 8150. In 1998, OIG, CIA, as part of
        their investigation, requested that the Department recover any data remaining on the hard drive of the 8150 which may have
        contained archived emails sent or received by Dr. Deutch while the DCI. As part of their investigation, the OIG, CIA, request
        focused on the 8150 because by this time the Quadra 800s had already been sent to the DRMO. During the resulting analysis,
        approximately 1,089 pages of email were recovered. Information recovered from the 8150 was subsequently copied onto
        several disks and retained. The server itself was also retained for about eight months and then, ultimately turned in to WHS for
        disposal. The computer disks containing the email information were turned over to ASD(C31) security personnel for review. We
        have been advised that none of the recovered email documents were classified.

        During our inquiry, it was determined that WHS had not disposed of the 8150. The 8150 was recovered and provided to the
        NSA and subsequently to the DCFL to determine whether any additional data remained on the hard drive. The NSA advised us
        that no additional data could be recovered from the 8150 as it had been properly "clean-swiped."

        E. Did Dr. Deutch have access to the OSD email/fileserver after he became the DC/ and which file server did he use?

        When Dr. Deutch transferred to the CIA, his access was terminated to the OSD email/fileserver. However, the next day, May
        11, 1995, Dr. Deutch asked [deleted] who, by this time was a CIA employee, to restore his access. [Deleted] coordinated Dr.
        Deutch's request with the Chief, OSD Computer Support Branch and Dr. Deutch's access was reinstated. His access to the OSD
        email/fileserver continued until January 1996 when the CIA established "dial-in" capability for the CIA email server.1
        According to [deleted] Dr. Deutch only used the OSD email server and did not have access to other files.

               7 There is a conflict between two witnesses regarding the dates that Dr. Deutch was granted access to the OSD email
               server. One witness believes that Dr. Deutch was granted access the day after he became the DCI. Another witness
               believes that Dr. Deutch did not receive access until several months after he became the DCI. We do not view this
               discrepancy as significant as the issue is whether Dr. Deutch transmitted classified information using the OSD email
               server at any time during his tenure with the Department.
https://sgp.fas.org/othergov/ig_deutch.html                                                                                                   6/7
2/20/24,Case   9:23-cr-80101-AMC
        10:38 PM                              Document     508 onEntered
                                               Pentagon IG Report Allegationson  FLSDofDocket
                                                                             of Breaches           05/02/2024
                                                                                         Security by                  Page 173 of
                                                                                                     Dr. John M. Deutch
                                                                  178
        VI. CONCLUSIONS

        A. Dr. Deutch used at least seven different Government-owned Macintosh computers while with the DoD. He used a Quadra
        800, two Quadra 650s, and a Power PC 7100. He also used three Macintosh Powerbook laptops: a 180, a 180c, and 540c. The
        Power PC 7100 was transferred to the CIA when Dr. Deutch became the DCI.

        B. Dr. Deutch processed his journal that contained classified information on unclassified computers both at his residence and
        his office.

        C. Dr. Deutch obtained access to and used the OSD email server after he left the Department.

        D. Dr. Deutch's Government-owned computers were used by Dr. Deutch and his family to access his AOL account.

        E. Several computers used by Dr. Deutch while he was with the Department were not adequately "clean-swiped.

        VII. RECOMMENDATIONS

        A. Implement policy requiring that all hard drives of computers to be disposed of outside the DoD be destroyed.

        B. Reemphasize the prohibitions of placing classified material on computers not designated to store such information.

        C Reissue warnings advising DoD personnel of the dangers of using the Internet while operating Government computers.

        D. Examine property accountability practices for computers within OSD including computer hardware and software
        applications.

        E. Review the procedures for granting access to the OSD email server to ensure that such access is granted to only those
        personnel that have a requirement to conduct departmental business.

  Source: Hardcopy
  Original Classification: Unclassified, For Official Use Only
  HTML by Steven Aftergood


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https://sgp.fas.org/othergov/ig_deutch.html                                                                                             7/7
Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 174 of
                                     178




        EXHIBIT 12
       Case  9:23-cr-80101-AMC
         From:            GaryM Stem
                                     Document 508 Entered@nara.gov>
                                           @nara.gov>
                                                          on FLSD Docket 05/02/2024 Page 175 of
                                                      178
          Sent time:                09/06/2021 11:59:47 AM
          To:                       Per. 38                      @gmail.com>
          Subject:                  Re: Need for Assistance re Presidential Records
         P. 38 fyi, I spoke with Jonathan Su after we talked on Friday.    I'm not sure if you've connected with him yet as well, but he
          suggested that the three of us talk first early this week, before we try to set up the meeting that you had in mind. I can follow up
          set up a call.

          Also, here's additional background on the social media issues we discussed. On page 2 of the Archivist's March 30. 2017.
          response to queries from Senators McCaskill and Carper, he stated that "NARA has advised the White House that it should
          capture and preserve all tweets that the President posts in the course of his official duties, including those that are subsequently
          deleted, as Presidential records, and NARA has been informed by White House officials that they are, in fact, doing so." The
          letter was vetted and cleared by your predecessors in the Counsel's Office.

                • No steps were taken to capture deleted content from any Trump Administration social media records other than
                  @realDonaldTrump until the Administration procured a third party social media archiving tool in February 2018. After that,
                  use of the tool was widespread but not timely. For example, most accounts were eventually enrolled but may have been
                  active for weeks, months, or years prior to enrollment, during which time deleted content was not captured.

                • At the end of the administration, NARA learned that the White House stopped using the social media archiving tool to
                  capture deleted Tweets in April 2020, and Twitter was unable to provide the deleted Tweets to us after the fact.
                  Accordingly, NARA was unable to obtain a complete set of these Presidential records from the White House. NARA is
                  considering utilizing what was collected by non-governmental sources as an adjunct to our archival collection.

                • The third party tool used to capture social media content from Twitter, Instagram, and Facebook included the ability to
                  capture direct messages on the platforms. The Administration opted not to enable capture of direct messages, but was
                  unable to report whether direct messaging was used on any of the platforms by the account holders.

                • NARA identified seven Twitter accounts that we believe contain PRA records but were not captured by the Trump
                  Administration. NARA obtained the publicly available tweets at the end of the administration through a third party to
                  supplement its archival collection. These include accounts from Andrew Giuliani, Chad Gilmartin, Ivanka Trump, Kayleigh
                  McEnany, Kellyanne Conway, Mark Meadows, and Peter Navarro.

                • In its last weeks, the Trump Administration advised NARA that two social media accounts it believed should be treated as
                  containing PRA content were not enrolled in their third party archiving tool and could not be retroactively enrolled. These
                  accounts were Donald J. Trump on Facebook and @realDonaldTrump on Instagram. NARA endeavored to work with
                  Facebook to obtain access to the accounts but was never able to do so.

                • SnapChat was used by the Trump Administration (realdonaldtrump and whitehouse), and NARA was advised that they were capturing
                  content posted to the platform. NARA reviewed the transferred social media records and has not located any SnapChat content. SnapChat
                  ultimately banned President Trump from the platform and it is not possible to see any previous content. SnapChat advised NARA that the
                  Trump administration used the White House account approximately five times during four years. However, the realdonaldtrump account was
                  used regularly. News reports indicate the account had 1.5 million followers on the platform. It is not known whether direct messaging was
                  enabled on the account.

          Finally, on a separate but related note, we are arranging to pick up the PRA materials from Dr. Birx on Tuesday (tomorrow). As I mentioned to you
          before, her attorney has asked for assurances that Dr. Birx will be allowed access to these documents at the Archives so she can be prepared in the
          future for questions she may be asked about the period when she was coordinating the Coronavirus task force. You had indicated that this should
          not be a problem. Please confirm that we can provide such access to Dr. Birx.

          Thanks,
          Gary

          Gary M. Stem
          General Counsel
          National Archives and Records Administration
          8601 Adelphi Road
          College Park, MD 20740




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Case 9:23-cr-80101-AMC Document 508 Entered on FLSD Docket 05/02/2024 Page 176 of
                                     178




        EXHIBIT 13
       Case  9:23-cr-80101-AMC Document 508    Entered on FLSD Docket 05/02/2024 Page 177 of
         From:                Person 21   @nara.gov>
                                                 178
          Sent time:                      09/16/2021 09:56:09 AM
          To:                               Per. 48                @nara.gov>
          Cc:                                                       @nara.gov>
          Subject:                        LW Update 09/15/2021

          P. 48

          Here are a few things I wanted to alert you to. None of this has to due with the upcoming meeting.

          1) Gary and I have a meeting at the White House tomorrow. We don't know what it is about; we just know we are meeting in a
          SCIF. Looking at the guest list, I'm guessing this is routine and not anything out of the ordinary. I'll let you know.

          2) The White House has requested P. 40 and      Per. 39       deputy) folders related to the 24 Trump boxes that were in the
          Residence. Per. 38 has signed off. We will get those over there today. This is in prep for what will likely be a meeting
          involving the Trump reps, P. 40 White House Counsel, and maybe GMS and me. The Trump folks still say that they only have 12
          boxes and they are full of newspaper clippings. I'll keep you posted.

          3) It looks like the plan is to decouple the 24 box issue from the missing social media issue. I believe this is happening for two
          reasons First, until the P. 40 /Trump/WH meeting happens, David isn't planning on going to DOJ. Second, the 1/6 Committee has
          asked for tweets from @realDonaldTrump that we don't have because the White House failed to keep the account enrolled. It's
          fuzzy how all of this is going to play out, though. It also ties in to us beginning to offer what we do have (@RDT and other Trump
          accounts not still on their native platform for download). That is tentatively scheduled for 10/4. All the language has been
          approved for updating the Trump Library webpage, and Natalie and Innovation are testing all of the links.

          4) Stephannie, Hannah, and I have Gary convinced that trying to supplement/fill in the missing gaps of @RDT is not the way to
          go. GMS thought this was a good idea, and according to GMS, David asked what we were going to do to get a complete
          record. I'm happy to provide more info as to why we think this is a bad idea.

          5) N/A has set up a 15 minute meeting today to address his question of how do we know that we got everything, re: Trump
          electronic records. The attendees are mostly his IT staff, but Jay has been added to this one. Gary has already explained to him
          that we only know what we know and as with any transfer or accession on the Federal side, we go by what they tell us. This
          particular issue, as best I can tell, was sparked by a question about the photos. But I am unsure. I don't think anything will come
          from this other than Jay and N/A thinking that we should do a better job.

          6) On (I think) the other photo issue that I mentioned in our last update, WHOA is still trying to track down the issue. But it
          looks as if there isn't a major glitch. But they are still looking into it.

          7) I thought Abigail and I would be able to get all these classified pages numbered (per the NARA 202 "Sandy Berger" rules). I
          don't think that is going to happen. So I'm going to look into asking for a waiver.

          8)    Per. 58      and I continue to try to piece together what is going on with the calligraphy binders. I owe her a call. We'll see
          what she says.

          9) Scanning N/A correspondence has slowed because they found a classified document in the mix. So they are having
          cleared staff screen everything. Also, they have agreed to scan the other six boxes. When we realized that all the material was
          responsive and that it was just a straight copy job, Denise and company (with Ann's approval) agreed to take that on as well.

          Per. 21




           Per. 21
          Director,
          National Archives and Records Administration
          700 Pennsylvania Avenue, NW
          Washington, DC 20408-0001


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       Case 9:23-cr-80101-AMC
                      (c)     Document 508 Entered on FLSD Docket 05/02/2024 Page 178 of
                r@nara.gov                  178




Subject to Protective Order                                                      USA-01284401
